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              PSJ3
            Exhibit 501
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Key Stakeholders in the Pain Market



Reference Number: 10222

March 19, 2009




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completeness of the information selected. .
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Methodology and Analyst Commentary

Methodology
Objectives
• To identify the key professional and patient pain associations and map out each organization in terms of:
      Key objectives and activities
      Key target audience such as healthcare professionals, patients, and their families
      Healthcare companies with whom they currently partner and partnership type
      Their relationships with and influence on Primary Care Physicians (PCP’s)
      Key messages
      Communication activities targeted towards members such as newsletters, e-mails, and website
           Number of people each of these mediums reach out to
Search Methodology
• A thorough search was conducted within the public domain, using search engines such as Google to identify key
   professional and patient associations focused on pain.
• The comprehensive search of association websites
Sources Accessed
• Association websites
• Public domains such as Google




                                                                                                                  2
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Methodology and Analyst Commentary

Analyst Commentary
• The key healthcare partners for some of the associations were not found. Type of sponsorship was available only for some
  associations.
• The relationship of some of the associations with PCP’s was not found.
• Wherever available the type of professionals targeted by the associations has been provided.
• No relevant information was found on National Chronic Pain Outreach Association.
• No information was found on the following associations requested by the client:
     National Chronic Pain Society
     Pain Policy Foundation
     National Back Pain Association (based in UK)




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Methodology and Analyst Commentary

Ranking Mechanism
• Pain associations have been ranked on the basis of four broad parameters:
     Focus of association’s mission on pain treatment
     History of successful advocacy
     Willingness to partner
     Media savviness
     Geographic presence
• Each parameter has been given a weight in parentheses, on the basis of which a final score for the association has been
  calculated. This would rate its attractiveness as a potential partner.
• Each parameter carries a maximum score of ‘3’. The score awarded for the respective parameters (before the
  multiplication with the respective weights) has been displayed. For example, if the score for a parameter with a weight of
  ‘0.3’ is ‘2’, the number ‘2’ is displayed, and not the calculated score, which is 0.6 (2* 0.3 = 0.6).
• In the extreme right column, where total scores are shown, the total calculated score (out of a maximum of ‘3’) has been
  displayed.
• The parameter, focus of mission on pain treatment, has been assigned the highest weight of 30% as it states the intent of
  the association. History of successful advocacy, willingness to partner, and media saviness, have been given weights of
  20% each. All four parameters have been assigned high weight as they will collectively enable PriCara to ascertain
  partnership and public relations opportunities.
• Geographic presence has been assigned a weight of 10%.




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Methodology and Analyst Commentary

                                                            Ranking Mechanism
        Parameters                                             Rating Type                                   Rating Score
                            High focus on pain treatment                                                                    3
                            Moderate focus on pain treatment                                                                2
Focus of Mission on Pain
Treatment                   Low focus on pain treatment                                                                     1
                            Highly active in advocacy                                                                       3
                            Moderately active in advocacy                                                                   2
History of Successful
Advocacy                    Less active in advocacy                                                                         1

                            High number of partners and history of partnering for several programs                          3


                            Moderate number of partners and history of partnering for some programs                         2
Willingness to Partner      Less number of partners and history of partnering for a few programs                            1
                            Highly media savvy – Organizes several events, such as conferences and
                            seminars, and regularly issues press releases                                                   3
                            Moderately media savvy – Organizes some events such as conferences, and,
                            seminars, and sporadically issues press releases                                                2
                            Low Media Savvy – Organizes few events, such as conferences and seminars,
Media Savviness             and rarely issues press releases                                                                1
                            International presence or national presence with high number of regional/local
                            chapters                                                                                        3

                            National presence with moderate number of regional/local chapters                               2
Geographic Presence         Only national presence                                                                          1




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                                    Executive Summary
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Executive Summary

                                                                                               Geographic
Pain Association                  Focus of Mission                     Website   Newsletter                     Number of Members
                                                                                                Presence

                    High Focus on Pain Treatment                                                               Over 3,000 (including
American Pain                                                                                 National (six
Society             • To increase knowledge of pain and                                                        health professionals,
                                                                                              regional
                       transform public policy and clinical practice                                           basic scientists, policy
                                                                                              sections)
                       to reduce pain-related suffering.                                                       makers, and lawyers)

                    High Focus on Pain Treatment                                                               80,000 (including
American Pain
                    • To improve the quality of life of people with                           National         patients, families and
Foundation
                       pain                                                                                    healthcare providers)

                    High Focus on Pain Treatment
                    • To facilitate peer support and education for
                       individuals with chronic pain and their
American                                                                                      International
                       families.
Chronic Pain                                                                                  (more than       NA
Association         • To raise awareness among the health care                                800 chapters)
                       community, policy makers, and the public
                       at large about issues of living with chronic
                       pain.
                    High Focus on Pain Treatment
American                                                                                      National (four
Academy of          • To advance the specialty of Pain Medicine                               state            Over 1,300
Pain Medicine          and the comprehensive care of patients                                 Chapters)
                       with pain.
                    High Focus on Pain Treatment                                              National (19
Alliance of State                                                                                              NA
                    • To ensure that peoples’ lives are not                                   state pain
Pain Initiatives
                       overpowered by pain.                                                   initiatives)




  Source: SmartAnalyst
                                                                                                                                          9
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Executive Summary

                                                                                          Geographic
Pain Association                 Focus of Mission                 Website   Newsletter                       Number of Members
                                                                                           Presence

                 High Focus on Pain Treatment
American Board
                                                                                         National          NA
of Pain Medicine • To serve the public by improving the quality
                    of Pain Medicine.

                   High Focus on Pain Treatment
National Pain
                   • To improve the quality of life for people                           National          NA
Foundation
                      living with pain.

                 High Focus on Pain Treatment
                 • To accomplish major changes in the
National
                    national treatment of acute, chronic,
Foundation for
                    intractable, malignant and non-malignant                             National          ~ 5,000 patients
the Treatment of
                    pain.
Pain
                 • To guarantee adequate and effective
                    medical care to legitimate pain patients.


                High Focus on Pain Treatment                                                               ~ 6,000 (includes
American
                                                                                                           individuals, healthcare
Academy of Pain • To educate clinicians about pain                                       National
                                                                                                           practitioner and clinics,
Management         management.                                                                             and corporations)


American           High Focus on Pain Treatment
Society for Pain   • To advance and promote optimal nursing                              National (30
                                                                                                           NA
Management            care for people affected by pain through                           local chapters)
Nursing               best nursing practices.




   Source: SmartAnalyst
                                                                                                                                       10
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Executive Summary

                                                                                               Geographic
Pain Association                  Focus of Mission                     Website   Newsletter                    Number of Members
                                                                                                Presence
                   High Focus on Pain Treatment
International      • To bring together scientists, clinicians,                                                Over 6,500 (includes all
                                                                                              International
Association for       healthcare providers, and policy makers to                                              professionals involved in
                                                                                              (77 national
the Study of          stimulate and support the study of pain and                                             research, diagnosis or
                                                                                              chapters)
Pain                  to translate that knowledge into improved                                               treatment of pain)
                      pain relief worldwide.
                   High Focus on Pain Treatment
                   • To educate physicians and patients in pain
World Institute       medicine
                                                                                              International   NA
of Pain            • To develop guidelines and standards for
                      training and examining competency in pain
                      physicians all over the world.
                   High Focus on Pain Treatment
American
                   • To improve the standards of clinical pain
Society of Pain                                                                               National        NA
                      practice and to enhance the health and
Educators
                      quality of life of pain sufferers.
                   High Focus on Pain Treatment -
                   • To “balance” international, national and
                      state policies to ensure adequate
Pain & Policy         availability of pain medications for patient
                                                                                              International   NA
Studies Group         care while minimizing diversion and abuse.
                   • To support a global communications
                      program to improve access to information
                      about pain relief, palliative care and policy.
American                                                                                                      ~36,000 (including
                   Low Focus on Pain Treatment
Occupational                                                                                                  occupational therapists,
                   • To advance the quality, availability, use,                               National
Therapy                                                                                                       and occupational therapy
                      and support of occupational therapy.
Association                                                                                                   assistants, and students)


   Source: SmartAnalyst
                                                                                                                                          11
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Executive Summary

                                                                                             Geographic
Pain Association                 Focus of Mission                    Website   Newsletter                       Number of Members
                                                                                              Presence
American
College of
                   Low Focus on Pain Treatment                                              International 5000 (physicians and
Occupational
                   • To promote optimal health and safety of                                (30 component other healthcare
and
                      workers, workplaces, and environments.                                societies)    professionals)
Environmental
Medicine
                 High Focus on Pain Treatment
                 • To provide information about various
American Back       options available such as drugs, and
                                                                                            National           NA
Pain Association    surgeries with focus on spinal
                    decompression as an option for back pain
                    relief.
                   Moderate Focus on Pain Treatment
                                                                                            National (46
Arthritis          • To improve lives through leadership in the
                                                                                            local offices in   NA
Foundation           prevention, control and cure of arthritis and
                                                                                            the US)
                     related diseases.
                   High Focus on Pain Treatment
                   • To actively support people with neuropathic
Neuropathic           pain, by enabling them to better cope with
                                                                                            International      NA
Pain Network          their pain, obtain the best treatment and
                      ultimately to improve the quality of their
                      lives.
                                                                                            National (13
                   Moderate Focus on Pain Treatment                                         chartered
American
                   • To eliminate cancer as a major health                                  divisions and      NA
Cancer Society
                     problem.                                                               3400 local
                                                                                            offices)



  Source: SmartAnalyst
                                                                                                                                    12
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Executive Summary

                                                                                               Geographic
 Pain Association                    Focus of Mission                  Website   Newsletter                     Number of Members
                                                                                                Presence
Southern California      High Focus on Pain Treatment                                                          ~3,000 (individual
                                                                                              National (five
Cancer Pain              • To promote optimum pain relief for all                                              members and three
                                                                                              offices)
Initiative                  cancer patients.                                                                   active committees)
Association for
Repetitive Motion        Low Focus on Pain Treatment                                          International    NA
Syndromes
                         High Focus on Pain Treatment                                                          Over 7,000 members
                         • To promote public and professional                                                  (patients, family and
Reflex Sympathetic
                            awareness of CRPS and to educate                                                   friends, healthcare
Dystrophy
                            those afflicted with the syndrome, their                          National         professionals, attorneys,
Syndrome
                            families, friends, insurance and                                                   and businesspeople who
Association
                            healthcare providers on the disabling                                              understand the effects of
                            pain it causes.                                                                    CRPS. )
                                                                                                               ~43,000 (healthcare
                    High Focus on Pain Treatment
                                                                                                               professionals engaged or
American Society of • To elevate the standards of the                                                          especially interested in
                       specialty by fostering and encouraging                                 National         the medical specialty of
Anesthesiologists
                       education, research and scientific                                                      anesthesiology)
                       progress in anesthesiology.




  Source: SmartAnalyst
                                                                                                                                           13
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Executive Summary

                                                                                            Geographic
Pain Association                 Focus of Mission                   Website   Newsletter                      Number of Members
                                                                                             Presence
                   Low Focus on Pain Treatment
                   • To promote the appropriate role of the
                      physician in the care of patients with
American
                      addiction.
Society of
                   • To establish addiction medicine as a                                  National          NA
Addiction
Medicine              specialty recognized by professional
                      organizations, governments, physicians,
                      purchasers and consumers of healthcare
                      services, and the general public.
                   Moderate Focus on Pain Treatment
American                                                                                   National (with    Over 94,000 (includes
Academy of         • To improve the health of patients, families,                          53 local          family physicians, family
Family               and communities by serving the needs of                               chapters in the   medicine residents, and
Physicians           members with professionalism and                                      US)               medical students)
                     creativity.
                                                                                                             Over 7,500 (includes
American           Low Focus on Pain Treatment
                                                                                                             physiatrists and their
Academy of         • To serve its member physicians by                                                       patients, and other
Physical              advancing the specialty of physical                                  International     healthcare
Medicine and          medicine and rehabilitation and promoting                                              professionals.)
Rehabilitation        excellence in physiatric practice

                   Moderate Focus on Pain Treatment                                                          60,000 (includes
                                                                                                             practicing pharmacists,
American           • To provide information, education, and                                                  pharmaceutical
Pharmacist           advocacy to empower its members to                                    National
                                                                                                             scientists, student
Association          improve medication use and advance                                                      pharmacists, and
                     patient care.                                                                           pharmacy technicians)


  Source: SmartAnalyst
                                                                                                                                         14
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Executive Summary

                                                        Ranking of Associations
                                                                  History of
                                                   Focus of                        Willingness     Media     Geographic     Total
                                                                  Successful
Rank*            General Associations           Mission on Pain                    to Partner    Savviness    Presence     Score
                                                                  Advocacy
                                                Treatment (0.3)                        (0.2)       (0.2)        (0.1)     (Max = 3)
                                                                     (0.2)
            American Academy of Pain
        1                                                     3                3             3           3            2         2.9
            Medicine
        2 Alliance of State Pain Initiatives                  3                3             3           3            2         2.9
        3 American Pain Society                               3                3             3           3            2         2.9
            American Society of
        4                                                     3                3             3           3            1         2.8
            Anesthesiologists
            International Association for the
        5                                                     3                2             3           3            3         2.8
            Study of Pain
        6 Arthritis Foundation                                2                3             3           3            3         2.7
            American Academy of Family
        7                                                     2                3             3           3            3         2.7
            Physicians
        8 American Pain Foundation                            3                3             3           2            1         2.6
            American Chronic Pain
        9                                                     3                2             3           2            3         2.6
            Association
            American Pharmacist
      10                                                      2                3             3           3            1         2.5
            Association
      11 American Cancer Society                              2                3             2           3            3         2.5



*Associations arranged in descending order of scores

  Source: SmartAnalyst
                                                                                                                                      15
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Executive Summary

                                                         Ranking of Associations
                                                                 History of
                                                  Focus of                         Willingness     Media   Geographic
                                                                 Successful                                           Total Score
Rank*          General Associations            Mission on Pain                     to Partner    Savviness Presence
                                                                 Advocacy                                              (Max = 3)
                                               Treatment (0.3)                         (0.2)       (0.2)      (0.1)
                                                                    (0.2)
      12 World Institute of Pain                             3                1              2           3          3         2.4
      13 National Pain Foundation                            3                2              3           2          1         2.4
           National Foundation for the
      14                                                     3                3              2           2          1         2.4
           Treatment of Pain
           American Academy of Pain
      15                                                     3                2              2           3          1         2.4
           Management
           Reflex Sympathetic Dystrophy
      16                                                     3                2              2           3          1         2.4
           Syndrome Association
           American Society for Pain
      17                                                     3                3              2           1          2         2.3
           Management Nursing
           American Academy of Physical
      18                                                     1                3              1           3          3           2
           Medicine and Rehabilitation
           Southern California Cancer
      19                                                     3                2              1           2          1           2
           Pain Initiative
           American Occupational
      20                                                     1                3              2           2          1         1.8
           Therapy Association




*Associations arranged in descending order of scores

  Source: SmartAnalyst
                                                                                                                                    16
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Executive Summary

                                                        Ranking of Associations
                                                   Focus of      History of
                                                                                  Willingness     Media         Geographic     Total
                                                  Mission on     Successful
Rank*           General Associations                                              to Partner    Savviness        Presence     Score
                                                Pain Treatment   Advocacy
                                                                                      (0.2)       (0.2)            (0.1)     (Max = 3)
                                                     (0.3)          (0.2)
           American Society of Pain
      21                                                     3                1             1               2            1         1.8
           Educators
      22 Pain & Policy Studies Group                         3                1             1               1            3         1.8
      23 Neuropathic Pain Network                            3                1             1               1            3         1.8
           American Society of Addiction
      24                                                     1                3             1               2            1         1.6
           Medicine
           American Board of Pain
      25                                                     3                1             1               1            1         1.6
           Medicine
      26 American Back Pain Association                      3                1             1               1            1         1.6
         American College of
      27 Occupational and Environmental                      1                1             1               2            3         1.4
         Medicine
           Association for Repetitive Motion
      28                                                     1                1             1               2            3         1.4
           Syndromes




* Associations arranged in descending order of scores

  Source: SmartAnalyst
                                                                                                                                         17
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                                  American Pain Society
The American    Pain Society Doc
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the science of pain

Overview           •   The American Pain Society (APS) claims to be the first national society to dedicate itself solely to the
                       science of pain and is the only such organization to establish a multidisciplinary, evidence-based
                       approach to both research and clinical treatment.
                   •   Founded in 1977, APS is a professional membership organization and a national chapter of the
                       International Association for the Study of Pain (IASP).
                            Founded in 1973, the IASP is a multidisciplinary international association in the field of pain,
                              bringing together scientists, clinicians, health care providers, and policy makers.
Vision             •   Envisions a world where pain prevention and relief are available to all people.
Mission            •   To bring together a diverse group of scientists, clinicians, and other professionals to increase the
                       knowledge of pain and transform public policy and clinical practice in order to reduce pain-related
                       suffering.
Key                •   Be recognized as the most credible and effective advocate for the prevention or relief of useless pain.
Objectives         •   To ensure useless pain is viewed as a major health problem.
                   •   Promote interdisciplinary/multidisciplinary research to increase knowledge of pain and pain relief
                       mechanisms.
                   •   Promote research that translates knowledge about pain relief mechanisms into improvements in practice.
                   •   Increase interdisciplinary communication, understanding and appreciation of the respective knowledge
                       domains of researchers, clinicians and other professionals.
                   •   Continually improve the knowledge base of current and future professionals who care for persons in pain.
                   •   Increase access to appropriate care.
                   •   Improve pain care in primary care practice.
Key Activities     •   To advance pain-related research, education, treatment, and professional practice.




  Source: Key Activities; APS 2008 Annual Report; Company Website;
                                                                                                                                  19
The APS has  over
          Case:       3,000 members
                1:17-md-02804-DAP            that
                                  Doc #: 2364-56     include
                                                 Filed: 08/14/19 health
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professionals, basic scientists, policy makers, and lawyers

Number of          •   Over 3,000 members including health professionals (physicians, psychologists, nurses, physical
Members and            therapists, pharmacists), basic scientists, policy makers, lawyers, and others with interest in the study
Key Target             and treatment of pain.
Audience
Geographic         •   Across the US.
Presence           •   It has six regional sections affiliated by membership and bylaws with the national organization:
                            Southern Pain Society
                            Eastern Pain Association
                            Greater Philadelphia Pain Society
                            Midwest Pain Society
                            New England Pain Association
                            Western USA Pain Society
                   •   Regional sections offer members in most areas in the US the option to participate in local or regional
                       activities organized by these groups.
Headquarters       4700 W. Lake Ave.
                   Glenview, IL 60025




 Source: Key Activities; APS 2008 Annual Report; Company Website
                                                                                                                                   20
Membership    categories
          Case:               include
                1:17-md-02804-DAP         regular,
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student/trainee, and corporate members

                                                     Membership Criteria
•   Regular Members: Includes health professionals and scientists working in the US, its territories, or its government services.
•   Affiliate Member: Individuals interested in APS but do not qualify for regular membership (professionals outside the US)
•   Student/Resident/Fellow Member: Individuals in the training phases of the health and related sciences
•   Corporate Member: Organizations that support the goals and mission of APS, provide products used in the diagnosis and
    treatment of pain, and are approved by the Board of Directors. A non-voting membership extended to a single corporate
    designated representative.




    Source: Membership
                                                                                                                                    21
Benefits ofCase:
            APS     membership
                 1:17-md-02804-DAP Docincludes      access
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Journal on Pain and scientific publications

                                                     Membership Benefits
•    The APS provides peer-reviewed scientific and clinical publications and continuing education programs which examine
     pain from many perspectives. Members also regularly receive:
       The Journal of Pain, a monthly that provides a forum for scholarly presentation and commentaries on issues and
          controversies. It is cited in Index Medicus (IM).
       APS Bulletin, published bimonthly, offers articles on clinical, policy and basic science topics, organizational news and
          a calendar of events
       Membership Directory, published annually, lists all APS members alphabetically, geographically and by specialty.
       Principles of Analgesic Use in the Treatment of Acute Pain and Cancer Pain, a regularly updated reference guide
          offering concise descriptions of appropriate drug selection, variations in dosage among patients, rapid treatment of
          breakthrough pain and minimization of side effects
•    Membership also provides:
       Continuing Education Opportunities at the annual scientific meeting, which routinely offers more than 30 symposia,
          plenary lectures, breakfast sessions, posters and exhibits, for a wide spectrum of specialists and interests.
       Professional Development Courses: half-day in-depth sessions on the latest in pain research and practice issues.
       The APS Annual Meeting offers continuing education credit in medicine, nursing, psychology, and pharmacy.
       Special Interest Groups have been formed to allow members from all disciplines to gather, study and exchange views
          on areas of common interest, especially at the Annual Scientific Meeting. All members can participate.
       Regional Sections offer members in the US the option to participate in local or regional activities of APS's affiliates.
       Regional Sections offer continuing education and networking opportunities and most also offer a regional newsletter.
          Membership in Regional Sections is separate from national membership and dues are charged by individual Regional
          affiliates.
       Networking Opportunities abound at the annual meeting, in regional activities, committees, task forces, and other
          informal gatherings.




    Source: Membership Benefits
                                                                                                                                   22
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Key Partners/Sponsors

        Key
 Partners/Sponsors                                                      Description
Abbott Laboratories         •   Abbott is a global, broad-based health care company devoted to discovering new medicines,
                                new technologies, and new ways to manage health.



Alpharma                    •   Alpharma Inc. is a global specialty pharmaceutical company that provides products for humans
                                and animals.



Ameritox                    •   Ameritox is a company involved in pain prescription monitoring.




Anesiva, Inc.               •   Anesiva is a late-stage biopharmaceutical company focused on the development and
                                commercialization of novel therapeutics for pain.



Cephalon, Inc.              •   Cephalon's Pain Care Franchise includes therapies for breakthrough pain and muscle spasms.



Durect Corporation          •   DURECT Corporation, an emerging specialty pharmaceutical company, is focused on the
                                development of pharmaceutical systems based on its proprietary drug delivery platform
                                technologies to treat chronic debilitating diseases and enable biotechnology products.



  Source: Partners
                                                                                                                               23
                     Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 25 of 279. PageID #: 385186

Key Partners/Sponsors

        Key
 Partners/Sponsors                                                      Description
Endo                        •   Endo Pharmaceuticals, a specialty pharmaceutical company, is engaged in the research,
Pharmaceuticals Inc.            development, sale and marketing of branded and generic prescription pharmaceuticals used
                                primarily to treat and manage pain.



Forest Laboratories,        •   Forest Laboratories is a US-based pharmaceutical company that identifies, develops, and
Inc.                            delivers pharmaceutical products. Forest has well-established franchises in the therapeutic areas
                                of the central nervous and cardiovascular systems.


GlaxoSmithKline             •   GlaxoSmithKline, is one of the world's leading research-based pharmaceutical and healthcare
                                companies. The company claims that it is committed to improving the quality of human life by
                                enabling people to do more, feel better and live longer.

InSet Technologies          •   InSet Technologies (www.insetinc.com) is focused on developing better treatment options for
Incorporated                    chronic pain.


King                        •   King Pharmaceuticals, Inc., headquartered in Bristol, Tennessee, US, is a vertically integrated
Pharmaceuticals, Inc.           company that develops, manufactures, markets and sells branded prescription pharmaceutical
                                products.


Eli Lilly and               •   Headquartered in in Indianapolis, Indiana, US, the company is a leading innovation-driven
Company                         pharmaceutical corporation.



  Source: Partners
                                                                                                                                    24
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Key Partners/Sponsors

        Key
 Partners/Sponsors                                                      Description
Meda                        •   Meda Pharmaceuticals, a global specialty pharmaceutical company, develops, markets, and
Pharmaceuticals                 promotes branded prescription products in the respiratory and pain therapeutic areas.



Medtronic                   •   Medtronic is a medical technology company providing solutions for people with chronic pain.



Merck & Co., Inc.           •   Merck & Co., Inc. with corporate headquarters in Whitehouse Station, NJ, in the US, is a leading
                                research-driven pharmaceutical products and services company. Merck discovers, develops,
                                manufactures, and markets a broad range of innovative products to improve human and animal
                                health.
NeurogesX, Inc              •   NeurogesX is a biopharmaceutical company based in the San Francisco Bay Area. The
                                company focuses on the development of effective treatments that relieve chronic pain.

Neuromed                    •   Neuromed Pharmaceuticals is a biopharmaceutical company developing and commercializing
Pharmaceuticals                 new and improved pain therapies.



Pain Therapeutics,          •   Pain Therapeutics, Inc. is a biopharmaceutical company located in the San Francisco Bay Area.
Inc                             The company develops novel drugs for pain management and hematology/oncology.




  Source: Partners
                                                                                                                                   25
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Key Partners/Sponsors

        Key
 Partners/Sponsors                                                      Description
Pfizer Inc.                 •   Pfizer, a research-based pharmaceutical company, discovers and develops innovative medicines
                                to treat and help prevent disease for both people and animals.




Premier Research            •   Premier Research, is a full service global Clinical Research Organization (CRO), recognized for
                                its clinical research for acute and chronic pain, having managed more than 350 analgesia trials
                                treating more than 90,000 patients.


PriCara, Unit of            •   PriCara, Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc is dedicated to Primary Care -
Ortho-McNeil, Inc.              helping healthcare professionals meet their patients' needs.




Purdue Pharma L.P.          •   Purdue Pharma L.P. is dedicated to finding, developing, and bringing to market new medicines
                                and related products that improve health outcomes. The company has developed sustained-
                                release medications to manage pain and provide meaningful benefits for patients.


Solstice                    •   Solstice Neurosciences, Inc., a specialty biopharmaceutical company, is focused on the
Neurosciences, Inc.             development, manufacturing, sales and marketing of specialty biopharmaceutical products.




  Source: Partners
                                                                                                                                  26
                    Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 28 of 279. PageID #: 385189

Key Partners/Sponsors

                                                           Description
•    The APS’s “Dream No Small Dreams” Campaign (under the campaign, the APS seeks financial assistance to support the
     research priorities and initiatives of the society and its members) and Clinical Centers of Excellence in Pain Management
     Awards Program (the program awards US-based multidisciplinary healthcare teams who provide distinguished,
     comprehensive pain care) Donors (2008):
         Platinum Star Partner: Corporate giving of $500,000
                Endo Pharmaceuticals
         Bronze star partner: Corporate giving of $200,000
                Abbott Laboratories
         Copper star partner: Corporate giving of $100,000
                Cephalon Inc.
                Pfizer Inc.
                PriCara, Unit of Ortho-McNeil, Inc.
         Corporate star partner: Corporate giving below $100,000
                Alpharma Pharmaceuticals
                Anesiva, Inc.
                Association Management Center
                D oris & Martin Hoffman Family
                Foundation Inc.
                Eli Lilly & Company
                International Research
                Services Inc.
                King Pharmaceuticals
                Merck & Co., Inc.
                Purdue Pharma, L.P.
                Wyeth Pharmaceuticals


    Source: The American Pain Society 2008 Annual Report
                                                                                                                                 27
The APS has  developed
          Case:               booklets
                1:17-md-02804-DAP          and Filed:
                                  Doc #: 2364-56 guidelines
                                                      08/14/19 29targeted
                                                                  of 279. PageID #: 385190
at Primary Care Physicians

                               Relationship with/Influence on Primary Care Physicians (PCPs)

‘Pain Control in the Primary Care Setting’ Handbook
• The APS in collaboration with The Greater Philadelphia Pain Society, a regional section of the American Pain Society,
   developed the ‘Pain Control in the Primary Care Setting’ handbook.
       This handbook targets healthcare professionals interested in improving the management of chronic non-cancer pain
         in the primary care setting.
       The main focus of this guide is chronic non-cancer pain and includes: .
              Principles of pain care
              Pain assessment and diagnosis
              Pain types and disorders
              Pain treatments
              Case studies
              Professional resources
              Patient education and resources
              Medication tables
       Special topics covered: Knowing when and how to refer patients to specialists; changing or discontinuing ineffective
         treatments; and reducing the risk of opioid abuse and diversion.


Continuing Medical Education (CME) Program Targeted at the Physician Community
• The CME program is designed to assess, plan, implement, and evaluate high quality professional education.




  Source: Booklet; Guideline
                                                                                                                               28
The APS inCase:
           partnership        withDocthe
                1:17-md-02804-DAP          American
                                      #: 2364-56          College
                                                 Filed: 08/14/19        of PageID #: 385191
                                                                 30 of 279.
Physicians published a guideline for low back pain in 2007

                               Relationship with/Influence on Primary Care Physicians (PCPs)

Clinical Practice Guideline for Low Back Pain Launched by the APS in Collaboration with the American College of
Physicians
• Sponsored by the APS, in collaboration with the American College of Physicians (ACP), an evidence-based, clinical
   practice guideline, was published in the Annals of Internal Medicine for low-back pain patients and their doctors in 2007.
       The ACP is a US-based organization of internists — physicians who specialize in the prevention, detection and
          treatment of illnesses in adults.
       The guideline is based on a multidisciplinary panel’s review and analysis of volumes of evidence related to
          diagnosis and treatment of low-back pain in the primary care setting, according to Roger Chou, MD, director of the
          APS’s Clinical Practice Guideline Program and associate professor, Oregon Health and Science University.
       The Annals article covered low-back-pain treatment in primary care settings only, and does not make
          recommendations regarding specialized, invasive procedures to treat the condition.


The APS in Collaboration with The American Association of Physicists in Medicine (AAPM), and the American
Association for the Study of Headache formally organized the Pain Care Coalition (PCC) in 1998
• The APS, the American Association of Physicists in Medicine (AAPM), and the American Association for the Study of
   Headache formally organized the Pain Care Coalition (PCC) in June 1998.
      The mission of the PCC is to work to influence federal healthcare policy via legislative, regulatory, and research
         avenues on behalf of people with pain by addressing quality-of-care and access-to-care issues.




  Source: Booklet; Guideline
                                                                                                                                29
The CME Program      offers information
         Case: 1:17-md-02804-DAP                on the
                                 Doc #: 2364-56 Filed:      diagnosis,
                                                       08/14/19 31 of 279. PageID #: 385192
treatment, and management of pain

Key Message: The Society seeks financial assistance to raise public and professional awareness of pain, advocate
for public policy change, and foster a comprehensive research agenda.

Awareness Initiative
• Through its “Dream No Small Dreams” Campaign Fund, the APS seeks financial assistance from foundations, industry,
  and its members to increase public and professional awareness of pain, advocate for public policy change, and foster a
  comprehensive research agenda.


Key Message: The Society ensures that its CME Program, enhance professional competence through current
findings from pain research and the clinical applications related to these findings.
Education Initiatives
• The American Pain Society's CME program is designed to assess, plan, implement, and evaluate high quality professional
  education.
• The concern of the CME program of the Society is to provide continuing medical education to the physician community in
  general.
• The APS provides continuing medical education in a variety of formats including, lectures, symposia, workshops, clinical
  skills' applications, panel discussions, poster presentations, and enduring materials.
• In 2008, at the American Pain Society's 27th Annual Scientific Meeting:
       Interactive workshops explored issues more deeply surrounding pediatric pain, chronic opioid therapy, and voltage-
           gated sodium and calcium channels.
       Many APS members shared their expertise with 100 young trainees representing medicine, nursing, psychology,
           physical therapy, and dentistry.
       A new feature of the meeting in 2008 was the availability of the entire course (CME Program) online for APS
           members to view and to potentially use in their own teaching efforts.
• The 28th Annual Scientific Meeting of the APS to be held in May 2009, will offer current information about the diagnosis,
  treatment, and management of acute pain, chronic cancer and non-cancer pain, and recurrent pain.

  Source: Education
                                                                                                                              30
The Society seeks
          Case:       financialDoc
                1:17-md-02804-DAP assistance      to 08/14/19
                                    #: 2364-56 Filed: raise public
                                                              32 of 279. and
                                                                         PageID #: 385193
professional awareness of pain

Key Message: The APS undertakes various research initiatives to advance the science of pain

Research Initiatives
• In late 2000, the Congress passed into law a provision, that declared the ten-year period (from January 1, 2001) as the
  Decade of Pain Control and Research. The APS has actively supported this and has been a focal point for the
  development of numerous programs to advance awareness and treatment of pain and funding for research.
       National Pain Care Policy Act: Working in collaboration with its partners in the Pain Care Coalition (American
          Academy of Pain Medicine, American Headache Society, and American Society of Anesthesiology) APS has been
          active in advocating for the passage of the National Pain Care Policy Act for establishing six regional pain centers.
       Annual Lectureship: APS has established an annual Decade of Pain Control and Research Lecture at its annual
          scientific meeting.
       Journalism Award: To recognize and promote better reporting on pain issues, APS established the Kathleen Foley
          Journalist Award for Excellence in Pain Reporting. This award is presented annually at the APS annual meeting.
       Small Grants Program: APS has developed its Future Leaders in Pain Research Small Grants Program to fund
          research projects on pain.
       In 2008, at the American Pain Society's 27th Annual Scientific Meeting:
               The Future Leaders in Pain Management Small Grants Research Program provided $20,000 to five
                  researchers.
               APS awarded travel support to 47 trainees to allow them to attend the annual meeting.
               APS advocated for increased National Institutes of Health (NIH) funding for pain research.
               Several executive committee members met with NIH Pain Consortium’s co-chairs in March 2008, an annual
                  meeting to maintain open dialogue about mutual interests and concerns.




  Source: Campaign Fund; APS 2008 Annual Report
                                                                                                                                  31
APS publications    offer recommendations
           Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed:for  pain
                                                         08/14/19 33 of 279. PageID #: 385194
management through scientific evidence and expert judgment

 Key Message: The Society provides information focused on pain management through its publications

 Initiatives Targeted at Professionals - Publications
 • The APS publications are developed by interdisciplinary panels of experts who combine scientific evidence and expert
     judgment to develop recommendations for pain management. APS publishes three periodicals, The Journal of Pain, APS
     Bulletin, and APS E-News, which are benefits of membership in the society.
          Published bimonthly, The Journal of Pain is a publication in the field of pain.
          The quarterly APS Bulletin provides a forum to explore areas of interest related to the field of pain as well as
            information about the society.
          The monthly APS E-News provides updates on society news and events as well as timely information of general
            interest to members such as funding opportunities and legislative updates.
 • The society also publishes clinical practice guidelines and other resources that are intended for use by physicians, nurses,
     psychologists, and other healthcare professionals.
 • Since 1999, the APS has published as series of evidence-based guidelines, which in some cases provide the only
     available evidence-based recommendations on their topics.

 Key Message: The Society promotes discussions on several health-related topics including pain through its special
 interest groups
 Special Interest Groups (SIG)
 • APS permits the establishment of multidisciplinary Special Interest Groups, which are a forum for interested members to
   meet and discuss a field or topic of common interest such as:
        Genetics and Pain Special Interest Group
        Geriatric Pain Special Interest Group
        Measurement of Pain and Its Impact Special Interest Group
        Nursing Issues Special Interest Group
 • APS SIGs are multidisciplinary and are open to participation by any APS member.

   Source: Publications; Special Interest Groups
                                                                                                                                  32
The APS makes      pain treatment
          Case: 1:17-md-02804-DAP        accessible
                                  Doc #: 2364-56          by removing
                                                 Filed: 08/14/19 34 of 279. PageID #: 385195
regulatory barriers and educating practitioners

Key Message: The Society provides professionals with evidence-based reviews on pain management

Initiatives For Treatment of Pain
• Evidence-based reviews on diagnosis and treatment of pain are being published in high-impact journals targeting a large
    number of clinicians.
• In 2008, at the American Pain Society's 27th Annual Scientific Meeting, APS presented six centers with the Clinical Centers
    of Excellence Awards.
         Those programs were selected that embody the attributes of a true interdisciplinary pain program.

Key Message: The APS aims to advance the treatment of pain by ensuring access to treatment, removing regulatory
barriers, and educating practitioners and policy makers about the economics of effective pain treatment
Advocacy Program
• APS has identified a broad agenda of pain issues and advocates in numerous arenas to improve the care of patients with
  pain.
• The society's goals in this activity are to advance the treatment of people in pain by ensuring access to treatment,
  removing regulatory barriers, and educating practitioners and policy makers in all settings about advances and economics
  of effective pain treatment. The APS strategic goals include:
       Establishing pain as a major health problem.
       Advocating for the prevention or relief of useless pain.
       Promoting multidisciplinary research to increase knowledge of pain and pain relief mechanisms.
• Some components of APS’s advocacy program include:
       NIH Advocacy: APS is in active dialog with the NIH Pain Consortium around issues of pain research and funding.
       Pain Care Coalition: APS, The American Association of Physicists in Medicine (AAPM), and the American
         Association for the Study of Headache formally organized the Pain Care Coalition (PCC) in June 1998. The mission
         of the PCC is to work to influence federal healthcare policy via legislative, regulatory, and research avenues on
         behalf of people with pain by addressing quality-of-care and access-to-care issues.


  Source: Advocacy
                                                                                                                                33
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                              American Pain Foundation
The American    Pain Foundation,
          Case: 1:17-md-02804-DAP         a nonprofit
                                  Doc #: 2364-56            group,
                                                 Filed: 08/14/19        serves
                                                                 36 of 279. PageID #: 385197
people in pain through information, advocacy, and support

Overview                •   Founded in 1997, the American Pain Foundation (APF) is an independent nonprofit 501(c)3
                            organization serving people with pain.
Mission                 •   To improve the quality of life of people with pain by raising public awareness, providing practical
                            information, promoting research, and advocating to remove barriers and increase access to effective
                            pain management.
Key Objective           •   To improve the quality of life of people living with pain, which includes a growing number of active
                            military and veterans.

Key Activities          •   The foundation serves people in pain through information, advocacy, and support.
Number of               •   80,000 members in 2007 (patients suffering from a wide variety of pain conditions, their families,
Members And Key             and healthcare providers).
Target Audience         •   The APF accepts contributions for specific programs as well as undesignated donations from
                            individuals, Corporates, foundations, and other nonprofit organizations.
Geographic              •   US.
Presence
Headquarters            201 North Charles Street, Suite 710
                        Baltimore, MD 21201-4111




  Source: Foundation Overview; 2007 Annual Report
                                                                                                                                   35
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Key Partners/Sponsors

                                                    List of Key Partners/Sponsors
Corporations     •     Abbott Laboratories          •   Discount Nutrition, Inc.    •   Jeffrey A. Rabin &       •   Researched
                 •     Advanced                     •   Elan Pharmaceuticals            Associates, LTD              Programs, Inc.
                       Neuromodulation Systems      •   Endeavor Express            •   King Pharmaceuticals     •   Rite Aid
                 •     Alliant Techsystems Inc.     •   Endo Pharmaceuticals Inc.   •   Medtronic Neurological       Corporation
                 •     Alpharma                     •   Forest Pharmaceuticals,     •   Merck and Co.            •   Shelly Rosenfeld
                 •     Anesiva, Inc.                    Inc.                        •   Novartis                     LTD.
                 •     Biotechnology Industry       •   GlaxoSmithKline                 Pharmaceuticals          •   SunTrust Bank
                       Organization                 •   Gulfshore Hypnosis              Corporation              •   Trans-Matic
                 •     Canastota Publishing, Inc.       Associates                  •   Ortho-McNeil             •   Travel Destinations
                 •     Cephalon, Inc.               •   Impact Health                   Pharmaceutical           •   United Backcare,
                                                        Communications, LLC         •   Pain Management              Inc.
                                                    •   Iron and Glass Bancorp          Associates, LLC          •   Wyeth
                                                                                    •   Pfizer Pharmaceuticals       Pharmaceuticals
                                                                                        Group
                                                                                    •   Purdue Pharma L.P.
Foundations      •     Anderson Family Living       •   Gess Donor Fund             •   Milbank Foundation for
                       Trust                        •   The Herb Block Foundation       Rehabilitation
                 •     California Community         •   Kamish Living Trust         •   Nathan Bruckenthal
                       Foundation                   •   Mary R. and Joseph R.           Memorial Trust
                 •     Disabled American                Payden Foundation           •   Reflex Sympathetic
                       Veterans Charitable          •   Medtronic Foundation            Dystrophy Hope Group
                       Service Trust                                                •   William and Joanne
                 •     Emmert Hobbs Foundation                                          Moeller Foundation




  Source: 2007 Annual Report
                                                                                                                                       36
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Key Partners/Sponsors

                                               List of Key Partners/Sponsors
•   The APF celebrated its 10-year anniversary of service in 2007. The 2007 gala sponsors were:
•   Platinum Level
        Cephalon, Inc.
        Elan Pharmaceuticals
        Endo Pharmaceuticals, Inc.
•   Gold Level
         Alpharma, Inc.
         Johns Hopkins Medicine &
         Johns Hopkins Neurosurgery
         Medtronic, Inc.
•   Silver Level
         Abbott Laboratories
         Advanced Neuromodulation Systems
         Anesvia, Inc.
         Forest Pharmaceuticals, Inc.
         The Health Central Network
         Novartis Pharmaceuticals Corporation
         Ortho-McNeil/PriCara
         Pfizer Pharmaceuticals Group
         Purdue Pharma, LP
         Wyeth Pharmaceuticals
•   Bronze Level
         Biotechnology Industry Organization



    Source: 2007 American Pain Foundation
                                                                                                         37
The Foundation     conducts surveys
          Case: 1:17-md-02804-DAP            among
                                  Doc #: 2364-56         primary
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                                                                       279. PageID #: 385200

physicians to provide better pain care to patients

                             Relationship with/Influence on Primary Care Physicians

Online Survey of Pain Patients and Physicians in the US via the Let’s Talk Pain’ Coalition
• In 2008, The Let’s Talk Pain Coalition commissioned a national, Internet-based survey of 500 pain patients and 275
  physicians treating pain, including primary care physicians, oncologists, pain specialists, neurologists, rheumatologists,
  surgeons, and psychiatrists.
• The Let’s Talk Pain Coalition unites the perspectives of patients, caregivers, and healthcare professionals to encourage
  people to talk more about pain, listen actively, and act in ways that improve care for people with pain.
• The Coalition’s lead organization, the American Pain Foundation (APF) along with the American Academy of Pain
  Management and the American Society for Pain Management Nursing (ASPMN) founded the coalition. PriCara, Division of
  Ortho-McNeil-Janssen Pharmaceuticals, Inc. is the sponsor of the Coalition.

Online Survey by the APF Conducted among Primary Care Physicians
• In 2007, an online survey was fielded by the APF to gain an in-depth understanding of provider prescribing patterns,
  attitudes and perceptions around opioid therapy for non-cancer chronic pain.
• The survey was conducted among 150 Primary Care Physicians, 32 Rheumatologists, 26 Physiatrists, 26 Nurse
  Practitioners, and 4 Physician Assistants.




  Source: Survey; 2007 Online Survey
                                                                                                                               38
The APF provides      educationDocand
          Case: 1:17-md-02804-DAP       support
                                   #: 2364-56        to people
                                              Filed: 08/14/19        living
                                                              40 of 279. PageID #: 385201

with pain and their caregivers

Key Message: The Foundation supports patients by providing education, advocacy and support

Advocacy and Support Initiatives
• The Pain Community Advisory Council (PCAC) performs as an advisory group to the APF.
        The mission of the PCAC is to provide the APF with counsel as it strives to improve the quality of life for people of
           the pain community.
        This is accomplished by having the PCAC members speak directly to the APF about personal pain experiences,
           providing inputs on APF initiatives, participating in research and advocating for all constituents on issues affecting
           the pain community as in keeping with the APF mission.
        The association also has a Military/Veterans and Pain Initiative Advisory Group.
• Through the Power Over Pain Action Network (POPAN), the APF continues to inform, motivate and harness the voices of
  people affected by pain. POPAN, is a grassroots network of people living with pain, caregivers and healthcare providers,
  working in collaboration with other advocates, professionals and organizations, including the Alliance of State Pain
  Initiatives, the American Society for Pain Management Nursing and the American Cancer Society.
        The Network gives a face to those suffering with pain by delivering messages to the public and legislators, and
           spearheading targeted outreach in communities to raise awareness and inspire action.
• The APF website also provides various resources (such as the phone number of a mental health counselor, or a suicide
  prevention/crisis hot line) to help people in a crisis to find emotional support and help for their pain.

Specific Education Initiatives
• The APF's Pain Monitor, provides a monthly eNews of interest to people affected by pain, other publications, and news
  alerts.
• The foundation’s website has a ‘Pain Information Library’ that provides information for educational purposes only.
       The website provides links to various other websites that include information on various pain conditions.
• The APF’s Resource Locator, is a tool designed to link patients with disease-specific organizations that can provide them
  with the information, support, and resources needed to manage their pain.


  Source: Initiatives;Education
                                                                                                                                    39
The Foundation    offers various
         Case: 1:17-md-02804-DAP Doc #:alternatives        to patients
                                        2364-56 Filed: 08/14/19             to #: 385202
                                                                41 of 279. PageID
help them manage their pain

Key Message: The APF carries out several activities to help people manage pain

Initiatives to Help Manage Pain
• In collaboration with HealthCentral Network, the APF offers a powerful, private way to help people cope with pain.
    Caregivers, help individuals create their own CareCentral site, start a journal or guestbook, share photos, get organized,
    maintain a calendar, create a wish list, make announcements and more.
• The APF’s Let's Talk Pain Coalition, encourages people to talk more about pain, listen actively and act in ways that improve
    care for people who live with pain. An interactive website provides visitors with comprehensive information and tools to
    enhance the dialogue between those affected by pain and healthcare professionals.
• The foundation collaborates with Life Love & Health to provide a series of brief messages about pain. Life Love & Health is
    a daily health and lifestyle program, reaching listeners via XM, CNN, Fox, ESPN, Sirius, www.HealthRadio.net Internet
    radio, Public Radio affiliates, Wal-Mart Radio and the Voice of America.
• Making Sense of Pain Relief is an educational campaign by the APF designed to help clarify new, and sometimes
    confusing, information about pain relief for arthritis or chronic joint symptoms.
• The Military/Veterans and Pain initiative reaches out to active military and veterans who are in pain to provide educational
    information and support to improve their pain care, decrease their sense of isolation, and encourage them in their pursuit of
    a better quality of life for themselves and their families.
• The Foundation encourages people in pain to submit poetry, prose, digital photograph or video to the APF's online Pain
    and Creativity Center, provided in collaboration with its project partner, the HealthCentral Network.
• The APF has also collaborated with SBTV.com - Small Business Television - to raise awareness about the importance of
    addressing pain in the workplace and removing barriers preventing people in pain from reaching their full potential.
• ‘Pain Management For The End of Life’, an online initiative by the APF, is a resource center for consumers, caregivers and
    healthcare professionals. It includes information about hospice care, palliative care, advance directives, emotional and
    financial concerns, pediatric pain, ethics, end of life organizations and professional practice tools.
• The APF in partnership with HealthMark Multimedia, produced the Cancer Pain: Your Guide to Relief, an interactive CD, to
    help cancer patients and caregivers understand and manage pain.



  Source: Manage Pain
                                                                                                                                    40
The APF informs       about pain,
           Case: 1:17-md-02804-DAP Doctreatment
                                       #: 2364-56 Filed:options
                                                         08/14/19 42and
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offers tips to support patients with better care

Key Message: The APF provides resources for treatment of pain

Initiatives for Treatment of Pain
• The APF’s booklet, ‘Pain Resource Guide: Getting the Help You Need’, is designed to help patients take charge of their
    pain care. It provides important information about pain and tips to assist patients in getting quality pain care.
• ‘Treatment Options: A Guide for People Living with Pain’ is written and reviewed by leading pain specialists. This guide
    provides information about medications, psychosocial interventions, complementary approaches, rehabilitation therapies,
    and, surgical interventions.
• Target Chronic Pain publications are easy-to-use practical tools for pain assessment, management and communication.
• PainAid, is the APF’s interactive online community. Topics range from illness-specific pain, traditional and complementary
    treatments, to depression and family matters, to financial issues such as disability and workers compensation.


Key Message: The Foundation carries out several initiatives to raise public awareness about different pain
conditions
Initiatives to Raise Public Awareness
• “A Reporter’s Guide: Covering Pain and its Management,” by APF is a guide on pain and pain management that is
    designed to help meet the informational needs of busy reporters. APF offers various other guides targeted at reporters.
• APF also offers interview access to an array of pain experts throughout the US, including healthcare providers and people
    living in pain.
          Specific areas of expertise include: acute and chronic pain, pain treatment options, military/veterans’ pain care,
            disparity issues and condition-specific pain such as fibromyalgia, cancer, and neuropathic pain.




  Source: Initiatives; Awareness
                                                                                                                                41
The Foundation     also promotes
          Case: 1:17-md-02804-DAP Doc #: pain
                                         2364-56research       for
                                                 Filed: 08/14/19 43 health
                                                                    of 279. PageID #: 385204

professionals and the patient community

Key Message: The APF provides clinical research information trials to help patients manage their pain

Research Initiatives
• In partnership with Thomson CenterWatch, a publisher of information on clinical research for patients and their advocates
  and healthcare professionals, the foundation’s Clinical Trials Center is a popular feature of its website. It offers
       Information about the latest pain-related clinical trials, listings of pain studies at the National Institutes of Health,
         FDA medication and device approvals, new medical therapies trials results, research headlines and more.
       Researchers to post their trials on the website. Listings on the CenterWatch Clinical Trials Listing Service will also
         appear on more than 40 other websites and in publications and services for health professionals and patients.




  Source: Initiatives
                                                                                                                                    42
In 2007, the
          Case:AFP   sold 17,200
                1:17-md-02804-DAP     copies
                                  Doc #: 2364-56 of  ‘Treatment
                                                 Filed:                 Options:
                                                        08/14/19 44 of 279. PageID #: 385205
A Guide for People Living with Pain’

Accomplishments        •      Nearly 100 advocates attended the second annual media and advocacy training in Baltimore to
                              share success stories and take part in panel presentations and interactive workshops to build and
                              hone their skills to more effectively work with the media, educate and engage communities, build
                              their network and reach out to legislators about national and state policy related to pain.
                       •      APF’s active Online Advocacy Center continues to be the central resource for information and
                              advocacy alerts to all APF members and collaborating organizations. In 2007, AFP had 23 Alerts,
                              yielding more than 15,000 actions.
                       •      Over 150 organizations co-signed and endorsed APF’s Consensus Statement for the National Pain
                              Care Policy Act of 2007 (a comprehensive pain policy, including a dedicated research program).
                       •      POPAN leadership has grown to 60 leaders in 38 states.
                       •      AFP also held, 10 weekly online chats, more than 200 discussion boards (including Ask the Experts
                              section, Military/Veterans Community and International Boards), special topic chats during the year,
                              and special webinar educational series.
                       •      In 2007, AFP sold, 17,200 print copies of Treatment Options: A Guide for People Living with Pain
                              and 11,000 copies of the Pain Resource Guide were distributed.




 Source: 2007 Annual Report
                                                                                                                                     43
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 45 of 279. PageID #: 385206




                     American Chronic Pain Association
The ACPA Case:
           provides    a support
               1:17-md-02804-DAP Doc system      to professionals
                                     #: 2364-56 Filed:                     and #: 385207
                                                       08/14/19 46 of 279. PageID

patients for better management of chronic pain

Overview                 •   The American Chronic Pain Association (ACPA), a nonprofit organization, was founded in 1980 by
                             Penney Cowan in Pittsburgh, Pennsylvania .
                         •   It provides a support system for those suffering from chronic pain that persists for over 6 months.
                         •   Also helps individuals with chronic pain learn to deal with the pain in a positive manner and
                             become active participants in their own recovery.
Mission                  •   To facilitate peer support and education for individuals with chronic pain and their families so that
                             these individuals may live more fully in spite of their pain.
                         •   To raise awareness among the health care community, policy makers, and the public at large about
                             issues of living with chronic pain.
Key Activities           •   The ACPA offers services and materials for better management of chronic pain through:
                                 Peer support groups.
                                 A guide for establishing a support group if none is available in your area.
                                 The ACPA Chronicle, a quarterly newsletter written by and for ACPA members.
                                 Workbooks which provide step-by-step help in learning to live more fully with chronic pain
                                 Other materials that reinforce positive attitudes and skills.
                                 The Family Manual, a guide for those who live with and love someone with chronic pain.
                                 The Writing Connection, a pen-pal network that allows people who cannot attend a group to
                                   support and encourage each other.
                                 Relaxation tapes and CDs.
                                 Patient to Person, a video that discusses basic pain management skills.
                                 The ACPA national conference, which brings together members and others with an interest
                                   in chronic pain management to learn, share, and support one another.
Key Target               •   Patients with pain
Audience                 •   Professionals



 Source: ACPA Overview, Mission, Healthfinder
                                                                                                                                     45
The ACPA Case:
          has 1:17-md-02804-DAP
               ~800 chapters,   Doc #:offering     services
                                       2364-56 Filed:           and
                                                      08/14/19 47 of 279.                  PageID #: 385208
materials for better management of chronic pain

Geographic               •   The association has more than 800 chapters in the US, Canada, Mexico, Ireland, Russia, Australia,
Presence                     and New Zealand.
Contact Address          PO Box 850
                         Rocklin, CA 95677
                         Phone: 1-800-533-3231
                         Fax: (916) 632-3208
                         Email: ACPA@pacbell.net




 Source: ACPA Activities, ACPA Overview, Healthfinder
                                                                                                                                 46
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 48 of 279. PageID #: 385209

Key Partners/Sponsors

      Key Partners/Sponsors                                                         Description
Purdue Pharma L.P.                         •   Purdue Pharma L.P., a privately held pharmaceutical company, is founded by
                                               physicians and is focused on meeting the needs of healthcare providers and the
                                               patients in their care.



Cephalon, Inc.                             •   Cephalon, Inc., an international biopharmaceutical company, is dedicated to the
                                               discovery, development, and commercialization of products in four core therapeutic
                                               areas: central nervous system, inflammatory diseases, pain, and oncology.


Endo Pharmaceuticals Inc.                  •   Endo Pharmaceuticals Inc. is a specialty pharmaceutical company with a broad
                                               portfolio of branded and generic prescription products focused on providing relief
                                               from pain.



Novartis AG                                •   Novartis AG is a provider of healthcare solutions and offers a diversified portfolio
                                               of innovative medicines, preventive vaccines, diagnostic tools, cost-saving generic
                                               pharmaceuticals, and consumer health products.
Janssen-Ortho Inc.                         •   Janssen-Ortho Inc. is a pharmaceutical company offering a broad range of
                                               medications used in psychiatry, neurology, dementia, attention deficit hyperactivity
                                               disorder, pain management, women’s health, gastroenterology, infectious disease
                                               and urology.




  Source: ACPA Partners, ACPA Sponsors, Purdue, Cephalon, Endo Pharmaceuticals, Novartis, Janssen-Ortho
                                                                                                                                      47
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 49 of 279. PageID #: 385210

Key Partners/Sponsors

      Key Partners/Sponsors                                                         Description
King Pharmaceuticals                       •   King Pharmaceuticals, a vertically integrated branded pharmaceutical company,
                                               performs basic research and develops, manufactures, markets and sells branded
                                               prescription pharmaceutical products and animal health products.




Pfizer Inc.                                •   Pfizer is the leading research-based biomedical and pharmaceutical company. The
                                               company discovers, develops, manufactures and delivers quality, safe and effective
                                               prescription medicines to patients.



Ligand Pharmaceuticals                     •   Ligand Pharmaceuticals is a royalty-driven biotechnology company with strong
                                               research and drug discovery capabilities.




GlaxoSmithKline                            •   GlaxoSmithKline is one of the leading research-based pharmaceutical and
                                               healthcare companies.




  Source: ACPA Partners, ACPA Sponsors, Pfizer, Ligand, GSK, King Pharmaceuticals
                                                                                                                                    48
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 50 of 279. PageID #: 385211

Key Partners/Sponsors

      Key Partners/Sponsors                                                           Description
Alpharma Inc.                               •   Alpharma Inc. is a multinational pharmaceutical company that develops,
                                                manufactures and markets specialty generic and proprietary human
                                                pharmaceutical and animal health products.



Medtronic, Inc.                             •   Medtronic develops, manufactures, and markets medical technologies and
                                                provides device-based medical therapies.


Abbott Laboratories                         •   Abbott is a global, broad-based health care company devoted to the discovery,
                                                development, manufacture and marketing of pharmaceuticals and medical
                                                products, including nutritional, devices and diagnostics.



Elan Corporation, plc                       •   Elan Corporation, plc is a neuroscience-based biotechnology company that is
                                                focused on discovering, developing, manufacturing and marketing advanced
                                                therapies in neurology, autoimmune diseases, and severe pain.



Forest Laboratories, Inc.                   •   Forest Laboratories is a US-based pharmaceutical company and has a well-
                                                established franchises in therapeutic areas of the central nervous and
                                                cardiovascular systems.




  Source: ACPA Partners, ACPA Sponsors, Alpharma, Medtronic, Abbott, Elan, Forest Laboratories
                                                                                                                                49
The ACPA Case:
          supports     a program
               1:17-md-02804-DAP Doc #:to  serve
                                        2364-56     patients
                                                Filed: 08/14/19 51 of 279.              PageID #: 385212
with chronic pain

Key Message: To provide support to patients through monetary funding for treatment of various types of pain

Patient Advocate Foundation’s Co-Pay Relief Program (CPR)
• On February 1, 2009, the ACPA launched Patient Advocate Foundation’s Co-Pay Relief Program (CPR), a pain fund to
   serve patients suffering with chronic pain.
• The list of diseases included in the program are silos, breast, lung, kidney, colon, pancreatic, head and neck and/or
   prostate cancers, malignant brain tumor, lymphoma, multiple myeloma, myelodsyplastic syndrome, osteoporosis, sarcoma,
   diabetes, autoimmune disorders and chemo induced anemia and neutropenia.
• The patients registered for the program must financially and medically qualify to access co-payment assistance.
• Patients and providers can contact the Co-Pay Relief Program toll-free at 1-866-512-3861 to initiate a request for
   assistance.
• In addition, the CPR also offers providers the opportunity to enroll patients into the program through a secure web-based
   application service.
• The insured patients in the program who are deemed medically and financially eligible for assistance, are provided with
   funds directly to’ medical and/or pharmaceutical providers.




  Source: CPR
                                                                                                                              50
Pain QuickAlert,    a coalitionDoc
          Case: 1:17-md-02804-DAP of#:pain   experts,
                                       2364-56             offers
                                               Filed: 08/14/19       guidance
                                                               52 of 279. PageID #: 385213
to prevent misuse of medications

Key Message: To strengthen support for chronic pain and address the growing problem of misuse and abuse of pain
medications

Pain QuickAlert
• Pain QuickAlert is an ad hoc coalition of leading pain specialists and representatives from key clinical and patient advocacy
   organizations convened in November 2008.
• The program includes representatives from primary care and specialty medicine, nursing, nurse practitioners, and
   physician assistants, as well as representatives from the American Academy of Pain Medicine, the American Pain Society,
   the American Chronic Pain Association, National Pain Foundation, the American Pain Foundation, and other leaders in the
   pain community.
• The program was formed to:
       address the growing problem of misuse and abuse of pain medications
       strengthen support for recognizing chronic pain as a distinct disease state for improving the diagnosis and treatment
          of patients with pain.




  Source: Pain QuickAlert
                                                                                                                                  51
The ACPA Case:
          publishes     an annual
               1:17-md-02804-DAP Doc #:consumer        guide53toof deal
                                       2364-56 Filed: 08/14/19     279. PageID #: 385214

with several types of pain, pain medication and treatment

Key Message: To provide information to patients with various pain medications and treatment methods

Annual ACPA Consumer Guide to Pain Medication & Treatment
• The ACPA Consumer Guide to Pain Medication & Treatment is updated yearly and includes web links for certain
  medications and treatments and relevant Internet sites of interest.
• This Guide is not meant to serve as medical advice for an individual’s condition or regarding an individual’s treatment
  needs and it primarily covers medications with various other treatments.
• The information in the ACPA Consumer Guide to Pain Medication & Treatment is not unique or original and parts are
  borrowed, paraphrased, restructured and simplified from multiple sources.
Annual ACPA Chronic Pain Medications Supplement
• The ACPA Chronic Pain Medications Supplement is also updated yearly and includes web links for certain medications and
  relevant Internet sites of interest.
• The supplement only deals with medications and does not mention the many other important treatment approaches to
  chronic pain.




  Source: ACPA Consumer Guide, ACPA Supplement
                                                                                                                            52
The ACPA Case:
          has 1:17-md-02804-DAP
               designed communication
                                Doc #: 2364-56 Filed:tools
                                                      08/14/19to
                                                               54manage
                                                                 of 279. PageID #: 385215
chronic pain for people with pain and their families

Key Message: To provide communication tools for patients with pain

Quality of Life Scale
• This considers an individual’s ability to participate in work, family, and social activities and is useful as a way to track an
   individual's own progress and as a communication tool with family, care givers, and others.
• The scale is provided in two formats, graphical and text.
Pain Log
• The ACPA has designed a Pain Log for patients with pain on the basis of some general conditions and encourages the
   patient to fill out a chart out at the end of each day or several times a week.
• The patient can also take his/her “log book” to doctor visit which can help them talk more openly with their healthcare
   provider.
CARE Card
• ACPA has also designed a CARE Card which is a graphical tool and helps a patient to understand how pain medication
   should be taken, what things should be avoided while taking it as well as possible side effects of those medication.
Follow-Up From Your Visit
• The ACPA Follow-Up tool provides with a simple guide to ensure that a pain patient completes all the
   treatments/advice/recommendations.




  Source: ACPA Communication Tools
                                                                                                                                    53
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 55 of 279. PageID #: 385216




                   American Academy of Pain Medicine
The American     Academy of Pain
           Case: 1:17-md-02804-DAP        Medicine
                                   Doc #: 2364-56        is an organization
                                                  Filed: 08/14/19 56 of 279. PageID #: 385217
for physicians practicing the specialty of Pain Medicine

Overview          •   Founded in 1983 as the American Academy of Algology, the American Academy of Pain Medicine
                      (AAPM) is the medical specialty society representing physicians practicing pain medicine in the US.
                  •   Pain Medicine is recognized as a discrete specialty by the American Medical Association (AMA). AAPM
                      is the only pain organization with representation in the AMA House of Delegates.
Vision            •   To be the recognized authority on the evaluation and care of patients with pain as a symptom of disease
                      (eudynia) and primary pain diseases (maldynia). AAPM is an influential participant in policy making for
                      Pain Medicine services and is responsive to the needs of its members.
Mission           •   To advance the specialty of Pain Medicine and the comprehensive care of patients with pain through
                      promotion of best clinical practices, research, advocacy, and continuing medical education.

Key Activities    •   Education, training, advocacy, and research in the specialty of Pain Medicine.




  Source: Academy Overview
                                                                                                                                55
The AAPM Case:
          has1:17-md-02804-DAP
               over 1300 members            including
                               Doc #: 2364-56               physicians,
                                              Filed: 08/14/19 57 of 279. PageID #: 385218
researchers, and allied health professionals

Number of       • In 2007, it had more than 1,300 members.
Members
Geographic      •   The AAPM is present throughout the US.
Presence        •   The four state Chapters (California, Colorado, Idaho, and Utah) provide networking opportunities and
                    allow for both a local and national focus on pain management and the Pain Medicine field.
                         Greater influence in the AAPM is afforded through Chapter representation.
Headquarters    4700 W. Lake
                Glenview, IL 60025




 Source: Members; Membership
                                                                                                                           56
Its membership      groups include
          Case: 1:17-md-02804-DAP         active
                                  Doc #: 2364-56    physician,
                                                 Filed: 08/14/19 58 of 279. PageID #: 385219
international, resident, student, trainee & affiliate members

                                                      Membership Criteria
•    It offers membership to:
          Active Physician Members: Physicians (i.e., doctors of medicine or doctors of osteopathy) who practice medicine
             in the US or Canada. These members spend a significant portion of their time treating pain patients and studying
             pain disorders.
          International Members: Physicians who have a license to practice medicine within their country of origin outside of
             the US and Canada.
          Resident Members: Enrolled and in good standing in a residency program in an institution within the US approved
             by the American Board of Pain Medicine, the Accreditation Council on Graduate medical Education, or the American
             Osteopathic Association.
          Student Members: Enrolled and in good standing in a curriculum of allopathic or osteopathic medicine in an
             institution within the US approved by the Association of American Medical colleges or the American Osteopathic
             Association.
          Trainee Members: The AAPM provides graduated dues structure for members enrolled and in good standing in a
             fellowship program in an institution within the US that are approved by the American Board of Pain Medicine, the
             Accreditation Council on Graduate Medical Education or the American Osteopathic Association.
          Affiliate Members/Allied Health Professionals: Non-physician healthcare professionals who are registered or
             eligible to be registered or licensed by a regulatory agency in the US. Affiliate members can be Registered Nurses,
             Nurse Practitioners, Physician Assistants, Physical Therapists, Psychologists, or Pharmacists that play a significant
             role in the care of pain patients. They must be sponsored by an Active member of the AAPM.




    Source: Members; Membership
                                                                                                                                     57
                       Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 59 of 279. PageID #: 385220

Key Partners/Sponsors

                                                 List of Key Partners/Sponsors
•    Corporate Members of the AAPM are partners seeking new advances in the specialty of pain medicine and optimum
     quality of life for pain patients. They receive premiere status at AAPM's Annual Meeting and other networking events.
     AAPM’s key partners include:
         Abbott Laboratories
         Ameritox Ltd.
         Cadence Pharmaceuticals Inc.
         Cephalon, Inc.
         Codman & Shurtleff, Inc
         Dominion Diagnostics
         Endo Pharmaceuticals Inc.
         Forest Laboratories, Inc.
         GlaxoSmithKline
         InSet Technologies Inc.
         King Pharmaceuticals, Inc.
         Eli Lilly & Company
         MEDA Pharmaceuticals
         Medtronic
         Merck & Co., Inc.
         NeurogesX, Inc.
         Neuromed Pharmaceuticals
         Pfizer Inc.
         PriCara, Unit of Ortho-McNeil Inc.
         Purdue Pharma L.P.
         Wyeth Pharmaceuticals
         Xanodyne Pharmaceuticals, Inc.


    Source: Partners
                                                                                                                             58
The AAPM Case:
            website    offers practical
               1:17-md-02804-DAP             tools
                                 Doc #: 2364-56 Filed: for  pain
                                                        08/14/19    physicians
                                                                 60 of 279. PageID #: 385221

to use in their practice

                                Relationship with/Influence on Primary Care Physicians (PCPs)

Practice Management – The AAPM Offers Practical Tools and Resources for Pain Physicians to Use in their Pain
Practice
• The academy’s website offers practical tools and resources for pain physicians to use in their pain practice.
        Coding, policies, patient education and other helpful information are provided to support their daily practice
          decisions and business needs.
• The internet resources section of the website provides links to various pain foundations, associations and other health-
   related websites.

Member Committees Provide Members an Opportunity to Interface with Physicians
• The AAPM remains progressive in the practice of pain medicine through the consistent input from its members. The
  members also get an opportunity to interface with other physicians in many other specialty areas. Members can serve on
  these committees:
      Annual Meeting Program Committee; Awards; Bylaws; CME; Coding and Reimbursement; Communications;
        Education; Education Publication and Enduring Materials; Ethics; External Affairs Committee; Legislative and
        Regulatory Affairs Committee (LRAC); Membership; Nominations; Physicians-in-Training Committee; and Scientific
        Review Committee.




  Source: Member Committee; Practice Management; Internet Resources ; Membership
                                                                                                                             59
Its liaison Case:
            activities     with the
                  1:17-md-02804-DAP DocABPM
                                       #: 2364-56provides      certification
                                                  Filed: 08/14/19 61 of 279. PageID #: 385222
for physicians in Pain Medicine

                               Relationship with/Influence on Primary Care Physicians (PCPs)

The AAPM Carries Out Liaison Activities with Other Organizations for Physicians
• The AAPM provides its members with many opportunities for service through liaison activities with other organizations.
   Committee and liaison activities are currently carried out with the following organizations:
      American Board of Pain Medicine (ABPM): The AAPM maintains a liaison on the board of directors of ABPM.
        ABPM was established in 1991 as a scientific and educational not-for-profit corporation that conducts examinations
        and provides certification for physicians in Pain Medicine.
      American Medical Association (AMA): The AAPM holds a seat in the AMA House of Delegates and speaks for its
        members concerning issues critical to their practices. The AAPM is the only Pain Medicine organization for
        physicians that is recognized by the AMA. The AAPM members are encouraged to maintain an AMA membership.




  Source: Liaison Activities
                                                                                                                             60
Its CME initiatives,    and clinical
          Case: 1:17-md-02804-DAP        practices
                                  Doc #: 2364-56        offer information
                                                 Filed: 08/14/19 62 of 279. PageID #: 385223
on the diagnosis and treatment of pain

Key Message: The Academy ensures that its CME Program facilitates a knowledge exchange among Pain Medicine
clinicians

Continuing Medical Education (CME) Initiatives
• AAPM's Annual Meeting and other CME sponsored workshops facilitate a knowledge exchange among Pain Medicine
  clinicians that will help professionals stay current on:
       Developments that have occurred in the science of pain medicine
       New concepts in pain medicine
       Best methodologies for delivery of pain medicine services


Key Message: The AAPM provides professionals with clinical information to diagnose and treat patients with pain

Clinical Practices
• The Clinical Information Center on the AAPM website is dedicated to helping professionals find the relevant information
   and resources they need to diagnose and treat their pain patients. The center also provides links to websites to search for
   clinical information:
        Clinical Guidelines endorsed by AAPM
        Clinical Reference resources
        Pain Medicine Network Newsletter
        Pain Medicine - The Official Journal of the AAPM
        Clinical Presentations from the 2007 Annual Meeting
        Clinical Trials that are currently being conducted
        Medline - PubMed is a service of the US National Library of Medicine that includes over 17 million citations from
           MEDLINE and other life science journals for biomedical articles back to the 1950s. PubMed includes links to full text
           articles and other related resources.



  Source: CME; Clinical Practices;
                                                                                                                                   61
The AAPM Case:
          offers    professionals
               1:17-md-02804-DAP Doc #: networking
                                        2364-56 Filed: 08/14/19 63 of 279.                PageID #: 385224
and educational opportunities for pain management

Key Message: The Academy offers professionals practical information on pain management and also provides
networking opportunities with other pain clinicians

Initiatives Targeted at Professionals
• Pain Medicine is the official journal of the AAPM, the Faculty of Pain Medicine of the Australian and New Zealand College
    of Anaesthetists (FPMANZCA), and the International Spine Intervention Society (ISIS).
         It provides peer reviewed research and commentary on matters relevant to the multidisciplinary clinical practice of
           pain medicine.
         Pain Medicine is provided to AAPM members as a benefit of membership eight times each year through AAPM's
           publishing partner, Blackwell Science, Inc.
• The AAPM offers its membership to Allied Health Professionals (such as Psychologists, Nurse Practitioners, Pharmacists,
    Physical Therapists, Nurses, Physician Assistants, and Occupational Therapists) that are involved in pain treatment teams.
    Allied Health Professionals/Affiliate Members enjoy many AAPM resources, networking and educational opportunities,
    including:
         Electronic access to Pain Medicine, the official journal of the AAPM
         Pain Medicine Network newsletter, a quarterly newsletter that presents both association information and clinical
           information.
         AAPMail e-newsletters, that provides breaking news in pain medicine and other Academy information.
         Inclusion on AAPM's Web site and its "Find a Pain Clinician" search.
         Discounts for its Annual Meeting offering networking opportunities with some of the most highly regarded pain
           clinicians in the world.
         Ongoing professional development through Continuing Education Department.




  Source: Publications; Allied Health Professionals
                                                                                                                                 62
The AAPM’s  advocacy
         Case:             activities
               1:17-md-02804-DAP         assistFiled: 08/14/19 64 of 279.
                                 Doc #: 2364-56                                             PageID #: 385225

pain medicine physicians to work with legislators

Key Message: The Academy offers patients useful information to help them in pain management
Patient Portal
• AAPM has a patient portal. The goal of this public portal is to help patients find:
       General information about pain
       A dedicated pain specialist in their area from AAPM's active membership
       Links to the National Pain Foundation and the American Pain Foundation
Key Message: The AAPM’s advocacy activities and resources assists pain medicine physicians to working with
legislators
Advocacy Program
• The AAPM supports pain patients and pain medicine clinicians by advocating for a balanced approach to safe and effective
  treatment of pain.
       It recognizes the need for policies that support effective control of drug abuse without harming the appropriate
        treatment of pain and works with members and other pain societies to establish programs and to educate public
        along those lines.
       Its Advocacy Center offers information on the AAPM’s advocacy activities and resources to assist pain medicine
        physicians in working with legislators.
• The AAPM provides its members with opportunities for service through liaison activities with other organizations such as:
       American Pain Society (APS): The AAPM maintains a relationship with the APS, a national chapter of the
        International Association for the Study of Pain. The APS is a multidisciplinary not-for-profit organization of clinicians
        and researchers.
       Pain Care Coalition (PCC): Along with the APS and the American Association for the Study of Headache (AASH),
        the AAPM, as a member of the PCC, works hard to make its issues heard in Washington, DC. The PCC keeps
        abreast of the current political climate by networking with key political officials and providing input on legislation.
       Commission on Accreditation of Rehabilitation Facilities (CARF): The AAPM is an associate member of CARF,
        an organization that develops and maintains standards to measure performance in providing rehabilitation services
        and strengthening programs. CARF provides an accreditation system for organizations that serves as an
        independent, impartial, and objective system for total organizational review and as a mechanism for program
        accountability.

  Source: Advocacy; Patient Portal;
                                                                                                                                    63
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 65 of 279. PageID #: 385226




                       Alliance of State Pain Initiatives
The ASPI provides      resources
          Case: 1:17-md-02804-DAP Docand   guidance
                                     #: 2364-56            to individual
                                                Filed: 08/14/19 66 of 279. PageID #: 385227

State Pain Initiatives

Overview            •   The Alliance of State Pain Initiatives (ASPI) (formerly American Alliance of Cancer Pain Initiatives) is a
                        national network of state-based Pain Initiatives dedicated to promoting pain relief.
                    •   State Pain Initiatives (SPIs) exist in nearly every state of the US and are interdisciplinary organizations
                        comprising healthcare professionals, researchers, educators, patient advocates and others who work to
                        remove the barriers to effective pain control through professional and patient education, advocacy, and
                        improvements to the healthcare system.
                    •   The national office of the ASPI is part of the Paul P. Carbone Comprehensive Cancer Center at the
                        University of Wisconsin, Madison.
                    •   The national office facilitates the sharing of resources among SPIs, develops innovative pain
                        management improvement programs, organizes an annual national meeting, and serves as the collective
                        voice for the SPIs on national issues.
Mission             •   To ensure that peoples’ lives are not overpowered by pain is a priority for the ASPI.
Key                 •   To support the primacy of clinical decision-making between healthcare providers and their patients.
Objectives          •   To oppose policies that unduly limit the types or amounts of pain medications that can be prescribed or
                        dispensed.
Key Activities      •   Provides resources and guidance to the individual State Pain Initiatives and serves as the national voice
                        for the Pain Initiative movement.
                    •   Sponsors a national meeting each year which brings together hundreds of healthcare professionals,
                        advocates, policy makers, and others to share ideas, best practices, and innovative strategies designed
                        to remove the barriers to effective pain relief.
                    •   Publishes a E-Newsletter, an e-mail update, on pain related issues and events and the activities of the
                        Alliance of State Pain Initiatives.




  Source: ASPI Factsheet, About ASPI, Mission & Objectives, ASPI E-Newsletter
                                                                                                                                      65
ASPI Members      include healthcare
           Case: 1:17-md-02804-DAP           professionals,
                                   Doc #: 2364-56 Filed: 08/14/19 67researchers,
                                                                    of 279. PageID #: 385228
educators, and patient advocates, among others

Key Target        •   The members of the various SPI’s include healthcare professionals, researchers, educators, patient
Audience              advocates and others who work to remove the barriers to effective pain control through professional and
                      patient education.
Geographic        •   There are 19 state pain initiatives throughout the US.
Presence
Headquarters      Rm 4720
                  1300 University Ave
                  Madison, WI 53706
                  Phone: (608) 265-4013
                  Fax: (608) 265-4014
                  Email: aspi@mailplus.wisc.edu




  Source: ASPI Factsheet
                                                                                                                                66
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 68 of 279. PageID #: 385229

Key Partners/Sponsors

The Annual Meeting of the ASPI a unique, interdisciplinary national forum which brings together leaders involved in efforts to
address the diverse challenges that impede effective pain control. The supporters of the 19th annual meeting held at Texas
between October 30 - November 1, 2008 were:
Platinum Sponsors
• Endo Pharmaceuticals
• American Cancer Society
Gold Sponsors
• Medtronic
• Cephalon
• Pfizer
Silver Sponsors
• Purdue Pharma LP
• Alpharma, Inc.
Bronze Sponsors
• Lance Armstrong Foundation




  Source: Annual Meeting Sponsors
                                                                                                                                 67
In 2001-03,  the
          Case:     ASPI implemented
                1:17-md-02804-DAP Doc #: 2364-56programs
                                                 Filed: 08/14/19to
                                                                 69 promote
                                                                    of 279. PageID #: 385230
changes in pain management practices

Key Message: To implement a program for promoting positive changes in pain management practices at an
institutional level
Institutional Change Programs
• In 2001-2003, the ASPI worked with 10 State Pain Initiatives (SPIs) to implement programs to promote positive changes in
   pain management practices at an institutional level.
• Each Initiative recruited 15-25 long term care facilities, home health agencies, or community hospitals.
• The programs required:
        Administrative commitment from the participating healthcare facilities.
        Assessment of the structures in place to support pain assessment and management.
        The formation and education of a pain quality improvement team.
        The development of a quality improvement plan.
        Assessment of the impact of quality improvement activities on system structures and patients’ pain experiences.
• At the end of the programs, there was a significant increase in the presence of structural elements that are critical to
   effective pain management, and a significant decrease in the percentage of patients who reported moderate to severe pain
   The largest changes occurred in long-term care facilities.




  Source: Institutional Change Program
                                                                                                                              68
The Resource   Center of theDoc
         Case: 1:17-md-02804-DAP ASPI   provides
                                  #: 2364-56           significant
                                             Filed: 08/14/19 70 of 279. PageID #: 385231
educational material on pain management

Key Message: To provide pain management tools for pain quality improvement, professional pain education, and
patient/public education

Resource Center
• The Resource Center of the ASPI provides various pain management tools for different purposes such as:
• Pain Quality improvement
      Building an Institutional Commitment to Pain Management: The Wisconsin Resource Manual, 2nd Edition
• Professional Pain Education
      Detecting Discomfort in Dementia: Focus on Behaviors – VHS and DVD
      Effective Pain Management Practices – DVD
      Pain Resource Nurse (PRN) Curriculum & Planning Guide
      Post-Operative Pain Management (POP) Project Lecture Series – CD
      Effective Pain Management Practices (7 Video Set)
      Video 1: Pain Assessment: Simplifying the Complex
      Video 2: Patient's Fears and Misconceptions About Pain and Opioids
      Video 3: That Extra Pain Medication Didn't Help! What to Do When Your Patient is Getting Opioids, but is Still in
        Pain
      Video 4: It Isn't Really Pain...Exactly: Treatment of Neuropathic Pain
      Video 5: Managing Opioid Side Effects
      Video 6: Pain Management Patient Education
      Video 7: How to Talk to Doctors About Pain Management
• Patient / Public Education Materials
      Cancer Pain Can Be Relieved, 2nd edition
      Children's Cancer Pain Can Be Relieved
      Eight Facts Everyone Should Know About Cancer Pain


  Source: Resource Center
                                                                                                                           69
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 71 of 279. PageID #: 385232




                      American Board of Pain Medicine
The American    Board of PainDoc
          Case: 1:17-md-02804-DAP Medicine’s
                                   #: 2364-56 Filed:mission
                                                     08/14/19 72is
                                                                 of to
                                                                    279.serve
                                                                         PageID #: 385233
the public by improving the quality of pain medicine

Overview          •    The American Board of Pain Medicine (ABPM) is committed to the certification of qualified physicians in the field
                       of Pain Medicine. ABPM has certified 2200 physicians as of February 2008.
Mission           •    To serve the public by improving the quality of pain medicine
Key Objectives    •    To determine whether or not candidates have received adequate preparation in accordance with educational
                       standards established by the American Board of Pain Medicine.
                  •    To conduct comprehensive examinations to evaluate the knowledge and experience of such candidates.
                  •    To issue certificates to candidates who qualify under the requirements of the American Board of Pain Medicine.
                  •    To develop standards and requirements for graduate medical education in Pain Medicine in collaboration with
                       other concerned organizations and agencies.
                  •    To approve programs and facilities for training physicians in the specialty of Pain Medicine.
                  •    To serve as a central registry for public information about the certification status of physicians certified in Pain
                       Medicine.
                  •    To provide the public and concerned agencies with the rationale for certification in Pain Medicine.
                  •    To serve as a forum for discussion with the public, professional organizations, healthcare agencies, and regulatory
                       authorities about the education, evaluation, and certification of Pain Medicine specialists.
Strategic Goals   •    To evaluate candidates who voluntarily appear for examination and to certify as Diplomats in Pain Medicine those
                       who are qualified.
                  •    To maintain and improve the quality of graduate medical education in the field of Pain Medicine by collaborating
                       with related organizations.
                  •    To provide information about pain medicine to the public.
Geographic        •    The Board operates in the US.
Presence
Headquarters      4700 W. Lake Avenue
                  Glenview, IL 60025




  Source: About ABPM
                                                                                                                                              71
The ABPM Case:
           conducts     a psychometrically
               1:17-md-02804-DAP Doc #: 2364-56 Filed:developed        andPageID #: 385234
                                                       08/14/19 73 of 279.
practice-related examination in the field of pain medicine

                                      Relationship with/Influence on Primary Care Physicians (PCPs)

Certification Examination in Pain Medicine
• Each year the American Board of Pain Medicine (ABPM) administers a psychometrically developed and practice-related
   examination in the field of Pain Medicine to qualified candidates.
• Physicians who have successfully completed the ABPM credentialing process and examination will be issued certificates
   as specialists in the field of Pain Medicine and designated as Diplomats of the ABPM.




  Source: Certification Examination
                                                                                                                          72
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 74 of 279. PageID #: 385235




                               National Pain Foundation
The NPF empowers         patients
          Case: 1:17-md-02804-DAP Docby   actively
                                      #: 2364-56 Filed:involving
                                                        08/14/19 75 of them    in #: 385236
                                                                       279. PageID
designing their treatment plan

Overview            •   The National Pain Foundation (NPF), a non-profit 501(c)(3) organization, was established in 1998 to
                        advance functional recovery of persons in pain through information, education and support.
                    •   It follows the belief that early intervention of pain conditions can enhance a person's life.
                    •   It was created to fill the gap in the understanding, awareness and accessibility of pain treatment options.
                    •   The Foundation’s website does not host or receive funding from advertising.
                    •   The website does not endorse any product or service promoted by their sponsors, and it also does not
                        allow sponsors to influence the health content on its site.
Mission             •   To improve the quality of life for those living with pain through information, education, and support that
                        connects persons with pain to each other and to those that can help.
Key                 •   To empower patients by helping them become actively involved in the design of their treatment plan,
Objectives              exploring both traditional and complementary approaches to pain management.
Key Activities      For Pain Patients and Their Families
                    • The Foundation provides an easy-to-use source of information and support for pain patients and their
                       families.
                    • The NPF provides education, materials and programs to erase the stigma associated with pain and pain
                       treatment.
                    • Its website provides access to an e-newsletter after registration, in addition to providing information on
                       different pain conditions. The information primarily relates to:
                            Pain conditions:
                                   Arthritis
                                   Back and neck pain
                                   Cancer Pain and Palliative Care
                                   Complex regional pain syndrome (CRPS), formerly known as Reflex Sympathetic
                                      Dystrophy (RSD)
                                   Headaches
                            Traditional approaches to pain management, such as medications, injections and surgery.

  Source: About NPF, Mission, Advertising Policy
                                                                                                                                      74
The NPF provides      healthcare
          Case: 1:17-md-02804-DAP Docproviders      with
                                     #: 2364-56 Filed:       the76latest
                                                       08/14/19    of 279. PageID #: 385237
insight and news on issues that affect pain patients

                       Complementary approaches to pain management, such as acupuncture, biofeedback, and
                         chiropractic.
                       Special needs of children in pain.
                       Physical therapy approaches to pain management.
                       Psychological factors related to pain.
                       Resources, including a library containing journal articles, news items, and book and video
                         suggestions.
                       Support, including links to other pain sites and support groups, and an opportunity for pain patients,
                         their families and friends to share experiences related to pain issues and management.
                       Opportunities to help other pain patients by participating in clinical trials and other studies on pain
                         management and treatment through the NPF.
                 For Healthcare Providers
                 • The NPF provides healthcare providers with valuable insights in terms of pain management and
                    treatment options for pain patients. In addition, the NPF also provides:
                       The latest scientific and peer-reviewed information on pain diagnoses, management and treatment.
                       Host special forums for health care providers at health-professional conventions and via
                         www.nationalpainfoundation.org to share information and findings about pain management.
                       The latest news to healthcare providers on issues that affect their pain patients.
Key Target       •   Pain patients, their families, and healthcare providers.
Audience
Geographic       •   The foundation operates in the US.
Presence
Headquarters     300 E Hampden Avenue, Suite 100
                 Englewood, CO 80113




 Source: About NPF
                                                                                                                                  75
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 77 of 279. PageID #: 385238

Key Partners/Sponsors

                                              List of Key Partners/Sponsors
  Platinum Sponsors               Gold Sponsors                    Silver Sponsors                    Bronze Sponsors
• Cephalon                  • Advanced Bionics, Inc.      •   Abbott Laboratories            •   Adolor Corp.
• Endo Pharmaceuticals      • ANS - A St. Jude Medical    •   Alpharma, Inc.                 •   Advanced Bionics
• Medtronic                   Company                     •   Barr Pharmaceuticals           •   Algos Clinical Development LLC
                            • Merck & Co.                 •   Burns McClellan, Inc.          •   Biosector 2
                            • Pfizer                      •   Elan Pharmaceuticals           •   Cooney/Waters Group
                                                          •   Eli Lilly and Company          •   Deutsche Bank
                                                          •   Endo Pharmaceuticals           •   Dorland Global Public Relations
                                                          •   GCI Group                      •   John A. Herring, MD
                                                          •   Health Science                 •   Integrated Communications
                                                              Communications                 •   King Pharmaceuticals, Inc.
                                                          •   King & Spalding, LLP           •   Oris E. Kirk
                                                          •   The McGinn Group               •   Richard & Kathy Lieb
                                                          •   McNeil - PPC                   •   Novartis Pharmaceuticals Corp.
                                                          •   Medtronic, Inc.                •   Pain Medicine News
                                                          •   Palio Communications           •   PPD Development
                                                          •   Precept Medical Comm.          •   PriceWaterhouseCoopers, LLP
                                                          •   PriCara                        •   Promotech
                                                          •   Sidley Austin Foundation       •   Purdue Pharma LP
                                                          •   Solstice Neurosciences, Inc.   •   Temel, Inc.
                                                          •   YM BioSciences, Inc.           •   Titan Health
                                                                                             •   Vox Medica, Inc.
                                                                                             •   WebMD
                                                                                             •   WilmerHale
                                                                                             •   Woodcock Washburn LLP



  Source: NPF Partners
                                                                                                                                   76
The NPF has   created
          Case:           a PainDoc
                1:17-md-02804-DAP Care   Provider
                                    #: 2364-56          Directory,
                                               Filed: 08/14/19 78 of 279.                PageID #: 385239

which is an online database of pain care providers

                                Relationship with/Influence on Primary Care Physicians (PCPs)

Pain Awareness Ambassador Program
• The Pain Awareness Ambassador Program is a membership program of the National Pain Awareness Campaign(NPAC)
   for pain-trained healthcare professionals who can further the vision of the NPAC through pain education and awareness.
• The program currently has more than 900 Pain Awareness Ambassadors in all 50 states of the US as well as 18 countries.
• Every pain-trained healthcare professional of the program reaches out to his or her local community and healthcare
   provider and ensures that those in pain are getting the help they need.


Pain Care Provider Directory
• The NPF’s Pain Care Provider Directory is an online database of pain care providers that are searchable by name,
   specialty, location, pain condition, and/or treatment options.
• The pain care specialist -- medical or non-medical can create an account to get listed in the Pain Care Directory of the
   NPF.
• The members of the directory are pain physicians and healthcare professionals (e.g. physical therapists or psychologists)
   and complementary pain care providers (e.g. acupuncturists or massage therapists).




  Source: Pain Awareness Ambassador Program, Pain Care Provider Directory
                                                                                                                              77
The NPF, in association
          Case:               with
                1:17-md-02804-DAP Docthe   AAPM,
                                      #: 2364-56 Filed:created
                                                        08/14/19 79aof campaign
                                                                       279. PageID #: 385240
to increase public awareness about pain

Key Message: To increase public awareness of pain conditions, treatments, education and advocacy

National Pain Awareness Campaign (NPAC)
• The National Pain Awareness Campaign (NPAC) is a collaboration of the National Pain Foundation (NPF) and the
   American Academy of Pain Medicine (AAPM) dedicated to increasing public awareness of pain conditions, treatments,
   education and advocacy.
• Key objectives of the NPAC:
       To increase public awareness that one in four Americans suffers from persistent pain.
       To increase public awareness that the medical specialty of pain medicine exists and is credible.
       To educate individuals in pain, their families, providers, insurers and others about new pain management therapies,
          as well as significant events and legislation concerning pain issues.
       To help connect pain sufferers with certified Pain Medicine specialists and improve patient access to reliable pain
          care.
       To provide an annual forum to showcase progress, innovations and leadership in the field of Pain Medicine.
       To create and grow pain education and advocacy through NPAC’s team of more than 900 Pain Awareness
          Ambassadors.
       To involve the entire medical community in the support and promotion of pain awareness.
• The NPAC depends on its network of Pain Awareness Ambassadors to increase awareness of pain conditions and the
   available treatments in their communities through ongoing information and education initiatives.




  Source: NPAC
                                                                                                                              78
The NPF has   created
          Case:           an online
                1:17-md-02804-DAP Doc #: community         for pain
                                         2364-56 Filed: 08/14/19        patients
                                                                 80 of 279. PageID #: 385241
to discuss and share their stories

Key Message: To provide an online discussion platform for people suffering from pain

My Community
• The NPF has created an online community titled ‘My Community’ for pain patients.
• The active participant of the community can take part in discussions, share their stories or can tell NPF about topics to
  include on the NPF site by contacting at aardrup@nationalpainfoundation.org.
• The participants can become an active contributor to the NPF Community by participating in My Community's monitored
  dialog which provides a platform to share creative and inspirational ideas and a chance to meet others with similar
  experiences.
• The participants can also take part in discussions ranging from insurance concerns to motivational stories.
• My Community discussions are monitored through NPF’s staff of moderators who review messages and remove those that
  do not meet the NPF guidelines.
• A National Pain Foundation employee is available to answer specific questions of participants in the community.




  Source: My Community
                                                                                                                              79
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                        The National Foundation for the
                              Treatment of Pain
The National
          Case:Foundation       for
                1:17-md-02804-DAP   the
                                  Doc      Treatment
                                      #: 2364-56            of Pain
                                                 Filed: 08/14/19         provides
                                                                 82 of 279. PageID #: 385243
support to patients suffering from intractable pain

Overview                •   The National Foundation for the Treatment of Pain (NFTP) is a not-for-profit organization dedicated to
                            providing support for patients who are suffering from intractable pain, their families, friends and the
                            physicians who treat them.
                        •   The foundation is also a resource for medical professionals and attorneys concerned with legal
                            issues regarding the legitimate treatment of pain.
Mission                 •   The NFTP exists to accomplish major changes in the national treatment of acute, chronic, intractable,
                            malignant and non-malignant pain. Most importantly, it exists to guarantee that no legitimate pain
                            patient is denied adequate and effective medical care.
Key Activities          •   Provides a forum for patients
                        •   Plays the role of a representative for its chronic pain patient members
                        •   Intervenes for individuals in need of pain treatment and refers them to treating pain specialists
                            throughout the US
                        •   Provides Certification of intractable pain patients, which identifies them officially to all physicians,
                            agencies, pharmacists and regulatory entities.
                        •   Provides a model, intensive, in-patient chronic Pain Treatment Program, which establishes a
                            definitive diagnosis, determines the type and level of pain medication required for adequate pain
                            management, tests and adjusts this regimen, initiates intensive physical therapy and to achieve a
                            return to function and a life with a quality of living, summarizes the case, and provides a local
                            physician with an ironclad documentation to protect him/her from regulatory prosecution.
                        •   Maintains a comprehensive library of pain related information.
                        •   Monitors all laws, regulations, cases, pleadings and findings of pain related legal activities.




  Source: Foundation Overview; Mission; Foundation's Goals; Key Activities
                                                                                                                                       81
The NFTP supports      patientsDoc
         Case: 1:17-md-02804-DAP who     actively
                                   #: 2364-56         require
                                              Filed: 08/14/19 83 of 279. PageID #: 385244
continued assistance in finding legitimate pain treatment

Key Objectives         •   To make legitimate, comprehensive, caring and state of the art pain treatment universally available to
                           every pain patient, using all modalities of care.
                       •   To provide a nation-wide resource for individual pain patients who find themselves denied legitimate
                           medical care, through referral of these patients to qualified physicians.
                       •   To educate professionals, the people and government about the reality of pain, and how common it
                           really is, by bringing pain and hurt out of the closet using "spokespersons" who are well known to the
                           public. These include athletes, movie personalities, musicians, and success stories from many other
                           professions.
                       •   To demystify pain medication at the local level, and debunk the fear of "addiction", which causes
                           immeasurable and needless suffering and disability; to use spokespersons to tell a factual and
                           pragmatic story of the realities of pain and its management.
                       •   To identify areas of need for change in public policy from direct patient calls, and to organize local
                           colloquia, throughout the states, in collaboration with the State Medical Societies.
                       •   To disseminate the latest medical information through the mass media, including wide-audience
                           daytime television shows, to support the holistic treatment of pain with every appropriate modality of
                           care, and to promote the correct use of pain medications in chronic pain, and demonstrate that
                           treatment is entirely safe and morally imperative when legitimately provided.
                       •   To create a network of support to all in the group – through local chapters, a nation-wide physician
                           referral registry for patients, an association for professional support for the doctors, and a worldwide
                           website for all.
                       •   To support a website that will provide several resources, including chat rooms, meet the expert
                           sessions, a National Physician Registry to assist patients in finding qualified and expert medical help
                           throughout the nation, a Registry-network of legal specialists with a case law and Intractable Pain Act
                           database, and electronic connections to numerous other net-available resources.
                       •   To create a nation-wide system of identifying legitimate pain patients.




 Source: Foundation's Goals;
                                                                                                                                      82
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 84 of 279. PageID #: 385245
The NFTP’s membership comprises ~5,000 patients

Number of             •   The Foundation now has a membership of almost 5,000 patients, from virtually every state in the
Members And               union and 19 foreign nations and principalities.
Key Target            •   Patients, their families, the doctors who treat them, the pharmacists who fill their prescriptions, the
Audience                  manufacturers who produced the drugs and the insurance companies and agencies which pay for it
                          all, are the target population for membership.
Geographic            •   The foundation has presence in the US.
Presence
Headquarters          P.O. Box 70045
                      Houston, TX 77270-0045




 Source: Foundation Overview; Mission;
                                                                                                                                    83
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 85 of 279. PageID #: 385246

Key Partners/Sponsors

  Key Partners/Sponsors                                                       Description
Christopher Reeve                  •   The Christopher Reeve Paralysis Foundation (CRPF) encourages and supports research to
Paralysis Foundation                   develop effective treatments and a cure for paralysis caused by spinal cord injury and other
                                       central nervous system disorders.


Purdue Pharma L.P.                 •   Purdue Pharma L.P. is a research oriented pharmaceutical company which seeks to provide
                                       a benefit to patients by providing new and improved treatments for diseases and their
                                       symptoms.


PainRxperts                        •   PainRxperts is the only national pharmacy service that specializes in pain and palliative care
                                       for people with chronic pain. Their services extend to physicians and their staff as well as to
                                       caregivers with questions concerning pain medications.


Bristol-Myers Squibb               •     Bristol-Myers Squibb is a leading diversified worldwide health and personal care company.




  Source: The National Foundation for the Treatment of Pain
                                                                                                                                         84
The NFTP targets      physicians
          Case: 1:17-md-02804-DAP Docfor   membership,
                                      #: 2364-56 Filed: 08/14/19 and    hasPageID
                                                                  86 of 279. an #: 385247
online chat room for people to correspond with physicians

                                 Relationship with/Influence on Primary Care Physicians

Physicians Are One of the Key Member Groups of the Foundation
• The Foundation seeks physicians committed to assist those who suffer from relentless pain. The Foundation’s criteria for a
  physicians inclusion in its National Registry of Pain Treatment Specialists are:
       Membership as a medical professional in the National Foundation
       Possession of an active and unrestricted license to practice medicine
       Board certification or Board eligibility in their area of medical practice
       At least two years of experience in the comprehensive treatment of intractable pain
       Comprehensive experience in the treatment of pain, including referral for indicated ancillary treatments, and the
         willingness to employ whatever analgesic medication required to accomplish the effective relief of the patient’s
         suffering
       Commitment to the goal of assisting the patient to function at the highest level of their abilities.
• The foundation also has a Paincare Chat Room on its website. The chat room allows people to correspond with Members,
  Pain Patients, Experts, and Physicians.




  Source: Physician Membership
                                                                                                                               85
The NFTP supports       and advocates
          Case: 1:17-md-02804-DAP             forFiled:
                                  Doc #: 2364-56   its 08/14/19
                                                        patients87 of by
                                                                      279.             PageID #: 385248
providing chat rooms and a database of physicians

Key Message: The Foundation advocates for patients who require relief from pain, in addition to support services.

Advocacy and Support Initiatives
• The Foundation provides a helpline for:
      Any matter involving direct patient care, referral to a physician member of the National Foundation, or immediate
        patient emergencies.
      People requiring NFTP to advocate on their behalf
      Registration in the Foundation's Pain treatment Program, Pain Patient Certification or Pain Patient Emergencies.
• The foundation provides The NFTP Pain Management Program, an intensive in-patient pain evaluation and treatment
  program, at the Houston Rehabilitation Institute.
• The website also has a correspondence and outreach section which includes a:
      Paincare Chat Room: The chat room allows people to correspond with Members, Pain Patients, Experts, and
        Physicians.
      New Law’s: The website also provides information on new laws that have been passed by the government such as
        California's new law Sb-402 - The Pain Patient'S Bill Of Rights.
      Patient Letter Archive: This is an archive of the letters the foundation has received from patients and families.
        These stories are true examples of why NFTP is trying to raise awareness for appropriate pain management.




  Source: Support; Outreach; Chronic Pain Certification Program
                                                                                                                           86
The NFTP provides       a Chronic
          Case: 1:17-md-02804-DAP DocPain   Certification
                                     #: 2364-56                  toof establish
                                                Filed: 08/14/19 88    279. PageID #: 385249
a professional means of identifying pain cases as legitimate

Key Message: The NFTP provides Chronic Pain Certification, which identifies patients officially to all physicians,
agencies, pharmacists and regulatory entities.
Advocacy and Support Initiatives
      Chronic Pain Certification Program:
            The purpose of the Chronic Pain Certification is to establish an authoritative and professional means of
              identifying and documenting pain cases as legitimate, so that the patients and/or their physicians can
              produce this certification document in the event that the Drug Enforcement Administration (DEA) challenges
              the legitimacy of their treatment or prescription.
            This document also serves as a patients certification for their outpatient care. In addition, NFTP maintains a
              30 day inpatient Pain Treatment Program should patients require it.
            When the certification is completed, an official and consistent medical record of the patients pain condition is
              placed in a permanent file at NFTP, and up-dated every other year. An official certificate is then issued to
              patients for their personal identification.
            This certificate identifies patients to physicians, emergency rooms, medical consultants, pharmacists, and
              regulatory personnel, as a patient whose pain condition has been completely diagnosed and summarized,
              and who requires ongoing treatment for pain.
            It is also the goal of to the NFTP enter into agreements with State Medical and Pharmacy Boards, and the
              DEA, to not only accept the certification as official, but also to safeguard pain patients by bringing regulatory
              actions against individuals and institutions who fail to acknowledge, treat professionally or treat adequately,
              holders of a chronic pain certification.




  Source: Support; Outreach; Chronic Pain Certification Program
                                                                                                                                  87
The Foundation     provides information
          Case: 1:17-md-02804-DAP                 on the
                                  Doc #: 2364-56 Filed:       diagnosis
                                                        08/14/19 89 of 279. PageID #: 385250
and treatment of intractable pain

Key Message: The Foundation maintains a comprehensive library of pain related information

Education Initiatives
• The Foundation provides information and perspectives in intractable pain management. This includes:
      Definitions and background information on intractable pain
      Governments' and State Medical Boards' Perspectives
      Healthcare Professionals' Perspective
      Intractable Pain Management Updates which includes weekly news and medical and legislative advancements in
         intractable pain management
• The foundation also provides information on essential considerations in the diagnosis and treatment of intractable pain.
• The foundation’s website provides a newsletter and links to the websites of various medical and legal associations and
  organizations.
• The NFTP website also provides information on migraine, its diagnosis, phases, prevention and treatment.
• According to NFTP, it’s website has received more than 14,000 hits a day, since inception.




  Source: Resources; Website Hits
                                                                                                                             88
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                             American Academy of Pain
                                   Management
The American     Academy of Pain
           Case: 1:17-md-02804-DAP        Management
                                   Doc #: 2364-56               educates
                                                  Filed: 08/14/19 91 of 279. PageID #: 385252
clinicians about pain and its management

Overview            •   Founded in 1988, the American Academy of Pain Management (AAPM) works to bring together the
                        many professionals who work with individuals in pain and to assist in the creation of quality services for
                        those individuals.
                    •   The intent of the AAPM is to be inclusionary and not restrictive to any specialty.
Vision              •   The Academy provides an open environment for clinicians to:
                            Receive education on the diagnosis, treatment, and management of pain from an interdisciplinary
                              perspective.
                            Establish open communication and referral networks with practitioners from a variety of disciplines.
                            Improve the availability, breadth, and quality of interdisciplinary healthcare for those in pain.
                            Learn to serve as advocates for their patients and others who suffer from pain.
Mission             •   To educate clinicians about pain and its management through an integrative interdisciplinary approach.
                    •   To provide an environment for clinicians from a variety of healthcare disciplines to network and share
                        knowledge for optimal patient care.
Key Activities      •   The key activities of the academy include:
                            General Membership
                            Credentialing
                            Programs to Assist Clinicians
                            Publications
                            Continuing Education Department
                            Annual Clinical Meeting




  Source: Overview, Key Activities, Mission & Vision
                                                                                                                                     90
The AAPM Case:
          has1:17-md-02804-DAP
               ~6,000 members,           including
                               Doc #: 2364-56            individuals,
                                              Filed: 08/14/19 92 of 279. PageID #: 385253
healthcare practitioners, and students

Number of        •   The Academy has approximately 6,000 members.
Members and      •   It targets individuals, healthcare practitioner and clinics, and corporations.
Key Target
Audience
Geographic       •   The Academy operates in the US.
Presence
Headquarters     13947 Mono Way #A
                 Sonora, CA 95370
                 Tel: (209) 533-9744
                 Fax: (209) 533-9750
                 Email: rosemary@aapainmanage.org




 Source: Members, Target Audience
                                                                                                      91
Its membersCase:are   classified Doc
                 1:17-md-02804-DAP as:#:General,
                                        2364-56 Filed:Student,     Health
                                                       08/14/19 93 of 279. PageID #: 385254

Care Facility, and Corporate

                                                        Membership Categories
•    It offers various types of membership such as:
          General Membership: It is open to all clinicians who treat people with pain and also includes special membership
             for credentialed members and students.
          Student Membership: It is open to all full-time students.
          Health Care Facility Membership: It is open to hospitals, clinics, practices, and other institutions that offer
             interdisciplinary pain management and support the goals and mission of the academy.
          Corporate Membership: It is open to businesses that support the goals and mission of the academy.




    Source: Partners, Corporate Membership; Members, Target Audience
                                                                                                                              92
The Academy
          Case: offers   severalDoc
                1:17-md-02804-DAP benefits     to its
                                    #: 2364-56 Filed:    members,
                                                      08/14/19 94 of 279.               PageID #: 385255

including visibility on the Academy's website

                                                   Membership Benefits
•    The American Academy of Pain Management Corporate Membership is open to organizations that support the goals and
     mission of the academy. To a Corporate Member the academy offers:
         Recognition of an organization by the Academy's 6,000 members.
         Visibility on the Academy's award-winning website, where one may include a 50-word description of their
           organization, logo, and contact information.
         Opportunity to participate in the Corporate Member advisory meeting, which is held annually.
         Exposure as a corporate member through a link to its website via its e-newsletter Currents: Pain Management News
           and Research, which reaches 65,000 readers every month.
         Acknowledgement in every issue of the Academy's quarterly magazine, The Pain Practitioner (reaching 10,000
           clinicians per quarter), and in the Annual Clinical Meeting Program Book.
         Recognition at the Annual Clinical Meeting Awards event where one will be presented with a Corporate Membership
           plaque.
         Preferential booth placement at the Annual Clinical Meeting.
         Complimentary registration and continuing education credit for one employee at the Annual Clinical Meeting.
         A yellow “Corporate Member” ribbon for each of the employees at exibitions.
         Promotion of the company as a Corporate Member on signage throughout the meeting, at its booth, and in the
           meeting program book.




    Source: Partners, Corporate Membership
                                                                                                                             93
                    Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 95 of 279. PageID #: 385256

Key Partners/Sponsors

                                               List of Key Partners/Sponsors
•    The key partners of the AAPM include:
         Cephalon, Inc.
         Endo Pharmaceuticals Inc.
         Forest Laboratories, Inc.
         King Pharmaceuticals, Inc.
         Eli Lilly & Company
         PriCara, Unit of Ortho-McNeil Inc.
         Purdue Pharma L.P.
         Physician Partner




    Source: Partners, Corporate Membership
                                                                                                         94
The AAPM Case:
          provides      CME programs
               1:17-md-02804-DAP              for
                                 Doc #: 2364-56    educating
                                                Filed:              pain
                                                       08/14/19 96 of 279. PageID #: 385257

professionals through several educational offerings on pain

                                 Relationship with/Influence on Primary Care Physicians (PCPs)

Credentialed Pain Practitioner Program – Provides pain practitioner recognition among their peers, patients and the
healthcare community
• The credentialed pain practitioner program provides practitioners with greater professional visibility and the opportunity to
   demonstrate their commitment to accountability, professional growth, and continued practice in the field of interdisciplinary
   pain management.
• The practitioners who become credentialed are also provided with:
       A certificate indicating their status as a Credentialed Pain Practitioner.
       The practitioners are listed in the searchable database on the Academy’s Web site, www.aapainmanage.org.
       The practitioners are also listed in the Academy’s quarterly magazine, The Pain Practitioner, at the time of
         credentialing.


CME Learning Center for Pain Professionals
• The continuing medical education activity is intended for members of the American Academy of Pain Management, primary
  care physicians, and other healthcare professionals who can take advantage of AMA PRA (American Medical Association
  Physician Recognition Award) Category 1 Credit™.
• The AAPM offers excellent opportunities for clinicians of all specialties to accomplish their educational requirement in a
  cost-effective and time-efficient manner.
• The Academy continually updates its educational offerings and some of its recent featured offerings include:
      Advanced Topics in Neuropathic Pain: Evaluation Strategies and Altered Central Nervous System Processing
      Update on Treatment Options in Neuropathic Pain with a Focus on Interventional Modalities
      Appropriate Prescribing of Opioids and Associated Risk Minimization
      Primary Cares: Triaging Joint Pain Through A Quality Improvement Approach



  Source: Credentialed Pain Program, CME Learning Center, CME Offerings
                                                                                                                                   95
Its Pain Program      Accreditation
           Case: 1:17-md-02804-DAP        process
                                   Doc #: 2364-56 Filed:recognizes       a
                                                         08/14/19 97 of 279.               PageID #: 385258
member’s pain program

Key Message: To provide accreditation to the various pain programs for recognition of accountability and
commitment

Pain Program Accreditation
• The Pain Program Accreditation (PPA) is a voluntary process that provides an individual pain management program an
   opportunity to demonstrate compliance with peer reviewed standards.
• Accreditation by the Academy signifies that the individuals program has satisfied the rigorous standards of PPA.
• The pain programs are surveyed on-site to assure compliance with the established criteria and are accredited by the
   academy so that the program meets defined administrative, personnel, and clinical operations.
• The Pain Program must be operational and have demonstrated compliance with the standards for a time period of at least
   six months and the estimated time for approved accreditation is five months from the date the application is received at the
   academy.
• The five categories of accredited pain programs are:
        Comprehensive Multidisciplinary: Capable of managing a variety of pain conditions staffed by four or more
         disciplines all operating within the same organization.
        Small Multidisciplinary: Capable of managing a variety of pain conditions staffed by two or three disciplines all
         operating within the same organization.
        Network Multidisciplinary: Involves several solo practitioners accomplishing a multidisciplinary treatment
         approach through the coordination of their professional activities.
        Syndrome Oriented: Involves specialized treatment of pain patients having a particular pain condition (i.e.,
         headache).
        Modality Oriented: Provides a single modality of treatment for the management of painful conditions (i.e.,
         biofeedback).




  Source: Pain Program Accreditation
                                                                                                                                  96
The AAPM Case:
          publishes      a quarterly
               1:17-md-02804-DAP          magazine
                                 Doc #: 2364-56           and 98
                                                Filed: 08/14/19 a ofmonthly
                                                                     279. PageID #: 385259
e-newsletter on pain management news and research

Key Message: The Academy ensures that its Publication for Clinicians, facilitates a knowledge exchange among Pain
Medicine clinicians

Publication for Clinicians
• The academy offers literature support for all of its programs, visitors, and members such as:
       The Pain Practitioner: It is academy's quarterly magazine which contains clinical articles, academy news, a
         classified section and calendar of pain meetings.
       Currents: Pain Management News and Research: It is academy's monthly e-newsletter providing the latest pain
         management news and research.
       Articles: Whenever one of the academy’s members writes an article of note and the academy is given the right to
         publish it on its website, it is placed here.
       Pain Management: A Practical Guide for Clinicians (Seventh Edition): This book presents a complete
         evaluation of multidisciplinary pain diagnosis, treatment and management including contributions from over 100 pain
         management experts.
       Tapes: Recordings of the annual clinical meeting sessions of the academy, education for physicians on end-of-life
         care, and more.




  Source: AAPM Publications
                                                                                                                               97
The Annual   Clinical
           Case:         MeetingDocof#: AAPM
                 1:17-md-02804-DAP               provides
                                        2364-56 Filed: 08/14/19 presentations
                                                                99 of 279. PageID #: 385260
by clinical experts in the field of pain management

Key Message: The Annual Clinical Meeting of AAPM offers educational opportunities in multidisciplinary pain
management

Annual Clinical Meeting
• The AAPM Annual Clinical Meeting offers specialized educational opportunities in the field of multidisciplinary pain
  management.
• During the annual meeting the academy provides state-of-the-art presentations by clinical experts in the field of pain
  management.
• The AAPM annual meeting covers the latest in treatment modalities including:
      Pharmacological management of pain
      Behavioral therapies
      Psychosocial and quality of life issues, along with current research related to pain management from both Eastern
        and Western medical traditions.




  Source: Annual Clinical Meeting
                                                                                                                           98
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 100 of 279. PageID #: 385261




                               American Society for Pain
                                Management Nursing
The key objective    of the American
           Case: 1:17-md-02804-DAP           Society
                                   Doc #: 2364-56        for Pain
                                                  Filed: 08/14/19 101 of 279. PageID #: 385262
Management Nursing is to promote optimal pain management

  Overview            •   In March 1990, seven registered nurses from six states met in Atlanta, Georgia, US, to discuss the
                          feasibility of establishing a national organization, the American Society for Pain Management Nursing
                          (ASPMN), for nurses who care for patients with pain.
                              The primary and immediate objective of the ASPMN when it was set up was to provide a
                                  network for nurses working in the new specialty of pain management.
  Vision              •   To be the leader whose preeminent voice and unparalleled resources catalyze the integration of pain
                          management nursing in all aspects of healthcare.
  Mission             •   To advance and promote optimal nursing care for people affected by pain by promoting best nursing
                          practice.
  Key Objectives      •   Access to quality care: All people will have access to healthcare services that provide quality pain
                          management care as defined in core values.
                      •   Public awareness: The public will demonstrate self-advocacy skills essential to their pain care
                          needs.
                      •   Professional resources: Members will have instant, easy and affordable access to current, best
                          practices, and evidence-based resources.
                      •   Education: All healthcare professionals and their patients will benefit from pain management
                          education.
                      •   Professional recognition: Nurses in pain management will be respected, valued and compensated
                          for their expertise as an integrated and indispensable member of the healthcare team.




    Source: ASPMN; Members; ASPMN Goals
                                                                                                                                 100
ASPMN members        include clinicians,
         Case: 1:17-md-02804-DAP Doc #: 2364-56 educators,       and
                                                Filed: 08/14/19 102 of 279.                     PageID #: 385263
researchers

Key Activities      •      The ASPMN’s mission is accomplished through education, standards, advocacy, and research.
Key Target          •      The society targets both individuals and Corporates for membership.
Audience            •      ASPMN members are clinicians, educators, and researchers with different educational preparation,
                           clinical roles and interest in practice issues who work in various roles including staff nurse, clinical
                           nurse specialist, and manager.
Geographic          •      The society has a national presence with 30 local chapters.
Presence
Headquarters        PO Box 15473
                    Lenexa, KS 66285-5473




  Source: ASPMN; Members
                                                                                                                                      101
Its members
         Case:are  classified Doc
              1:17-md-02804-DAP as #:Active,   International,
                                      2364-56 Filed: 08/14/19 103 of 279. PageID #: 385264
Associate, Student, Honorary, Lifetime, and Corporate

                                                     Membership Criteria
•   Active member: Any registered nurse that is licensed to practice in North America shall be eligible for active membership.
•   International member: Any registered nurse licensed to practice outside North America, and not licensed in the US, Mexico
    or Canada shall be eligible for international membership.
•   Associate member: Includes LPN/LVNs, and other healthcare professionals who are interested in the ASPMN’s goals
    (pharmacists, and social workers).
•   Student member: Any individual enrolled in an education program is eligible for student membership. This includes
    students enrolled in nursing education programs leading to eligibility for registered nurse licensure, BSN degree completion
    programs, and advanced nursing degree programs.
•   Retired member: Retired RN memberships are only available to retired nurses over 62 years of age who are not currently
    employed in nursing, and have been ASPMN members for 3 continuous years prior to status change from full member to
    retired member.
•   Honorary member: Any individual who has made distinguished contributions to pain management nursing or has furthered
    the objectives of the Society shall be eligible for honorary membership. Individuals shall be elected to honorary membership
    by unanimous vote of the Board of Directors.
•   Lifetime member: Any active member in good standing is eligible for lifetime membership. All past presidents of ASPMN
    shall be lifetime members. At the discretion of the Board of Directors and upon recommendation of the Membership
    Committee, lifetime membership may be conferred in special circumstances. A lifetime member has all rights and privileges
    of an active member, including one vote, but shall be exempted from paying dues.
•   Corporate member: Corporate members are organizations, corporations or individuals who have financially supported the
    ASPMN.




    Source: Membership
                                                                                                                              102
Member benefits      include access
         Case: 1:17-md-02804-DAP          to its
                                 Doc #: 2364-56    newsletter
                                                Filed: 08/14/19 104 of 279.              PageID #: 385265
and journal Pain Management Nursing

                                                  Benefits Received by Members
Member Benefits
• E-News
• Members Directory
• Special Event Notification
• Online Shopping such as certification materials (such as 2006 ASPMN Certification Review Course Slides Booklet),
  publications, wearables, and mugs.
• ASPMN members can join the The American Pain Society’s, APS Nursing Issues SIG Listserv. Members receive, via e-
  mail, information relating to pain management, as well as other information of interest to pain management professionals.
  This also includes the opportunity to network with subscribers of the listserv.
Benefits Received by Corporate Members
• Annual Corporate Spotlight in Pathways, ASPMN’s membership newsletter featuring ASPMN news, job opportunities, and a
  calendar of events.
• Recognition on the ASPMN’s website, newsletter and prominently at its national conference that is held every year
• 10% discount on one set of membership mailing labels annually
• Corporate Advertisement on its website
• Subscription to ASPMN’s Journal, Pain Management Nursing, a peer-reviewed journal offering a unique focus on the realm
  of pain management as it applies to nursing.
• Benefits received by members at the National Conference:
       Annual meeting with the society’s Board of Directors at the National Conference
       Logo recognition throughout the conference location and exhibit hall
       One complimentary conference registration
       Full page ad in its final program
       Right of first refusal for symposia and exhibit space
       Corporate Membership to ASPMN



  Source: Membership; Online Shopping; Shopping
                                                                                                                          103
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 105 of 279. PageID #: 385266

Corporate Members

                                               List of Corporate Members
•     Alpharma                                                •   Cardinal Health
•     Ameritox                                                •   Medtronic
•     Advanced Neuromodulation Systems                        •   Purdue Pharma L.P.
•     Baxter Healthcare Corporation




    Source: Membership; Corporate Members
                                                                                                         104
The ASPMN    conducts
          Case:             surveys
                1:17-md-02804-DAP Doc #:and   lists
                                         2364-56      upcoming
                                                 Filed: 08/14/19 106 ofevents
                                                                        279. PageID #: 385267
targeted at physicians on its website

                             Relationship with/Influence on Primary Care Physicians

The ASPMN Conducts an Online Survey among Physicians and Pain Patients
•   In 2008, The Let's Talk Pain Coalition was formed at the American Academy of Pain Management (the Academy) annual
    meeting in Nashville, Tennessee, US.
       The ASPMN and the Coalition's lead organization, the American Pain Foundation (APF), along with the American
          Academy of Pain Management are the founding members of the Coalition. One of the Coalition's first activities
          was a national online survey of pain patients and physicians.


The ASPMN Website Provides a List of Upcoming Events, which also Include Events Targeted at Primary Care
    Clinicians
•   In the “links“ section of its website, the ASPMN, provides a list of upcoming events. This section also includes details of
    conferences targeted at primary care physicians.
       For example, a conference titled, ‘War on Pain Conference’ is being held during April 5-8, 2009, in the US. The
            conference provides an update of pain & palliative medicines for specialists and primary care clinicians.




  Source: Online Survey; Upcoming Events
                                                                                                                                  105
The ASPMN   offers
         Case:        access to
               1:17-md-02804-DAP Docbest   practices
                                     #: 2364-56            and107
                                                Filed: 08/14/19 evidence-
                                                                  of 279. PageID #: 385268
based resources in pain management

Key Message: The Society promotes the nursing practice by rewarding high quality of work, and through education
and research
Standards, Education and Research Initiatives
• The Pain Management certification exam is a partnership venture between the American Nurses Credentialing Center
   (ANCC) and the ASPMN. The ASPMN members receive a discount rate for the pain management certification exam.
   Successful certificants will earn the credential RN-BC (Board Certified).
• Position Statements published by ASPMN provide guidelines for evidenced-based practice.
• The Pain Management Nursing, a peer-reviewed journal, by the ASPMN offers a unique focus on the realm of pain
   management as it applies to nursing. It includes original and review articles from experts in the field offering key insights in
   the areas of clinical practice, advocacy, education, administration, and research.
• The ASPMN also offers research grants:
        All applicants for project/research support have to submit a proposal following the process outlined for merit
          comparison of proposals.
        All applications are reviewed by the ASPMN Grant Review Subcommittee of the Research Committee of the
          ASPMN.
• The ASPMN also gives various awards such as the Chapter Award, Nurse Exemplar Award, Distinguished Service Award,
   Clinical Practice Award, Advocacy Award, and the Nurse Exemplar Award in Pain Management of the Older Adult. These
   awards are presented in recognition of development and activity for support of pain management.




  Source: Education; Research Grants
                                                                                                                                  106
Its advocacy
          Case:and   support activities
               1:17-md-02804-DAP Doc #: 2364-56serve     the pain
                                                Filed: 08/14/19 108 of care
                                                                       279. PageID #: 385269
needs of healthcare professionals and their patients

Key Message: The society supports patients and professionals by providing advocacy and support

Advocacy and Support Initiatives
• The ASPMN provides links on its website that provide up-to-date information concerning pain management which includes
  information on upcoming events and links to various organizations and associations that provide education, information,
  and support.
• The public information section on its website provides information on job opportunities that are available in the market
  place.
• The ASPMN is a member of, ‘The Americans for Nursing Shortage Relief (ANSR) Alliance’, which has developed a
  Consensus Document that ASPMN has endorsed.
        It seeks to have Congress enact and fund a comprehensive set of initiatives to address the nursing shortage to
           ensure that the nation has an adequate infrastructure of well-qualified nurses.
        It outlines programs and evidence-based, cost-effective best practices across the federal agencies that hold promise
           for the federal government to adequately address the issue.
• It is also requesting that Congress provide $215 million in funding for Nursing Workforce Development Programs under
  Title VIII of the Public Health Service Act at the Health Resources and Services Administration (HRSA) in FY 2010.
        As part of this funding, the Advanced Education Nursing training program (Sec. 811) should be funded at an
           increased level on par with the other Title VIII programs.
• The ASPMN Committees respond to the direction and charge of the Board of Directors, by deliberating the best way to
  accomplish a task; they explore options and make recommendations for Board action (through the Board liaison). These
  recommendations may take the form of requests for projects, programs, or expenditures. Committees do not expend funds
  on behalf of the organization.




  Source: Certification; Advocacy; Committees
                                                                                                                            107
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 109 of 279. PageID #: 385270




                       International Association for the
                                 Study of Pain
The IASP has  more
           Case:       than 6,500
                 1:17-md-02804-DAP Doc members,
                                       #: 2364-56 Filed:77   national
                                                         08/14/19          chapters
                                                                  110 of 279. PageID #: 385271
and 14 Special Interest Groups present in 118 countries

  Overview            •   The International Association for the Study of Pain (IASP) is the leading professional forum for science,
                          practice, and education in the field of pain.
                      •   Founded in 1973, IASP is governed by an international Council, made up of Officers and Councilors
                          elected by the membership.
  Mission             •   To bring together scientists, clinicians, healthcare providers, and policy makers to stimulate and support
                          the study of pain and to translate that knowledge into improved pain relief worldwide.
  Vision              •   To work together for pain relief throughout the world
  Number of           •   The IASP has more than 6,500 members, 77 national chapters, and 14 Special Interest Groups (SIGs).
  Members and         •   Membership is open to all professionals involved in research, diagnosis or treatment of pain.
  Key Target
  Audience
  Geographic          •   It has presence in the US and in other 117 countries.
  Presence
  Headquarters        111 Queen Anne Ave N, Suite 501
                      Seattle, WA 98109-4955
                      Telephone: +1-206-283-0311
                      Fax: +1-206-283-9403
                      Email: IASPdesk@iasp-pain.org




    Source: About IASP, Mission & Vision
                                                                                                                                       109
The IASP provides      its members
         Case: 1:17-md-02804-DAP         with Filed:
                                 Doc #: 2364-56 books,     journals,
                                                     08/14/19 111 of 279. and
                                                                          PageID #: 385272

newsletter subscriptions

                                                        IASP Membership Details

Membership Types
• The four classes of IASP membership:
       Regular Members: Scientists, physicians, health professionals and other interested in the mission of the
          Association. Regular members in good standing upon retirement from professional activities get transfer to Retired
          Member status within this category. Past Presidents of the Association shall automatically attain life member status
          within this category.
       Honorary Members: Persons who have made outstanding contributions in the fields of pain related to the mission
          of the Association are eligible for appointment as Honorary Members of the Association.
       Trainee Members: Scientists, physicians and other health professionals, in-training who are interested in the
          mission of the association.
       Affiliate Members: Organizations, including charitable or business corporations, interested in furthering the mission
          of the Association are eligible for appointment as Affiliated Members in the Association.
Membership Benefits
• A subscription to the journal PAIN® and Pain: Clinical Updates® published by IASP
• Discounts on books from IASP Press
• Reduced fees for IASP’s World Congress on Pain registration
• Eligibility for IASP grants
• A subscription of the quarterly IASP Newsletter containing feature articles
• Join a Special Interest Group (SIG) in area of interest. Available exclusively to IASP members, SIGs offer members a
  forum to discuss specific interests in depth.
• Provide input on international pain-related issues through IASP committee membership.




  Source: Types of Membership, Benefits of Membership
                                                                                                                             110
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 112 of 279. PageID #: 385273

Key Partners/Sponsors

•    The IASP organizes a World Congress on Pain and the sponsors of the IASP’s 12th World Congress on Pain held in 2008
     were:
                                                           List of Sponsors
       Diamond Level                     Platinum Level                  Silver Level                     Bronze Level
•   Mundipharma                  •   Linde Gas Therapeutics       • Endo Pharmaceuticals       •   Emerging Solutions in Pain
•   Cephalon                     •   Medtronic, Inc.              • Merck, Sharp & Dohme       •   EUSA Pharma
•   Pfizer                       •   Eisai                          (MSD)                      •   SonoSite Ltd.
•   Grunenthal                   •   Boston Scientfic             • Alpharma Pharmaceuticals   •   UCB Pharma sa
•   Boehringer Ingelheim         •   Sanofi Pasteur MSD                                        •   Purdue Pharma L.P.
•   Eli Lilly and Company        •   King Pharmaceuticals, Inc.                                •   Hospira Healthcare B.V.
                                                                                               •   Smith & Nephew
                                                                                               •   Wyeth Europa Limited
                                                                                               •   Allergan Inc.
                                                                                               •   Teikoku Pharma USA, Inc.
                                                                                               •   NeuroTherm Limited




    Source: World Congress Sponsors
                                                                                                                                111
The WorldCase:
           Congress      on Pain
               1:17-md-02804-DAP Docis  a scientific
                                     #: 2364-56           program
                                                Filed: 08/14/19         devoted
                                                                113 of 279. PageID #: 385274
to the research and treatment of pain

Key Message: To provide a platform for discussion on research and treatment of pain

IASP 13th World Congress on Pain – 2010
• The 13th World Congress will attract more than 5,000 pain specialists from all over the world.
• The Scientific Program will include plenary sessions, topical workshops, refresher courses, and poster sessions covering
   every aspect of acute and chronic pain, from basic science to clinical practice.
• Purpose and objective of the Congress :
       To benefit those just entering the field of pain research and treatment
       To benefit those interested in updating their skills and knowledge of promising research and treatment possibilities
• Intended audience for the Congress:
       Scientists, Physicians, Psychologists, Dentists, Nurses, Physical therapists, Pharmacists and Professors
       Researchers, Students, trainees and young professionals
       Other health professionals
• Learning objectives of the Congress:
       To deliver a state-of-the-art overview of a wide range of topics in the area of pain, enhancing the skills of IASP
          Congress delegates
       To provide practical reviews of current research and therapies in these areas
       To enable delegates to participate in formal and informal discussions with international experts on pain management
          and pain research, so they can incorporate those views into their practices




  Source: World Congress on Pain
                                                                                                                           112
The IASP’s 131:17-md-02804-DAP
         Case: th World Congress        on Pain
                               Doc #: 2364-56        offers 114
                                              Filed: 08/14/19 several
                                                                of 279. PageID #: 385275
sponsorship opportunities for corporates

Sponsorship Opportunities in IASP 13th World Congress on Pain – 2010
• Congress sponsors can gain Diamond, Platinum, Gold, Silver, or Bronze Contributor status and related benefits if their total
    sponsorship booking reaches a specific amount.
• Sponsors will be given the following benefits according to their total investment for various sponsorships such as:
Bronze (CAD$15,000* and over)
• Display sign in registration area
• Sponsor’s name on published materials including announcements and Official Congress Program
• Public acknowledgment of support at the Congress
Silver (CAD$30,000* and over)
• All of the above benefits, plus
• Commercial support ribbon for company representatives
• List of IASP members 6 months prior to the Congress
• List of Congress delegates registered prior to the Congress
• Recognition on IASP Congress website
• Recognition in IASP Congress bulletin
Gold (CAD$50,000* and over)
• All of the above benefits, plus
• Recognition in IASP newsletter
Platinum (CAD$80,000* and over)
• All of the above benefits, plus
• Corporate Member status for one year, which includes PAIN journal subscription
• List of Congress delegates registered after the Congress
Diamond (Over CAD$100,000*)
• All of the above benefits, plus
• Corporate Member status for two years, which includes PAIN journal subscription
• Sponsor logo on screens in plenary / meeting rooms (between sessions)
* Note: All amounts are given in Canadian Dollars

  Source: Sponsorship Opportunities
                                                                                                                             113
By sponsoring    the Global Year
          Case: 1:17-md-02804-DAP Doc #:Against      Pain,
                                         2364-56 Filed:      the115IASP
                                                        08/14/19    of 279. PageID #: 385276
focuses on raising awareness of the different aspects of pain

Key Message: To sponsor a yearlong initiative for raising awareness of the different aspects of pain worldwide

IASP Global Year Against Pain
• The IASP sponsors and promotes the Global Year Against Pain, a yearlong initiative designed to raise awareness of the
   different aspects of pain worldwide.
• The European Federation of IASP Chapters (EFIC) first launched the Global Day Against Pain when David Niv, IASP
   member and EFIC president (now deceased), conceived the idea in 2001.
• Following the success of this initiative, the IASP Council recognized the need to develop an even more powerful statement
   to raise the profile of pain worldwide.
• In 2004, supported by various IASP chapters and federations holding their own local events and activities across the globe,
   the IASP launched its first Global Year Against Pain.
• Each year, IASP focuses on raising awareness of a different aspect of pain that has global implications. The official launch
   day takes place on the third Monday of every October.
• The focus for the 2008–2009 Global Year campaign, which launched on October 20, 2008, is Cancer Pain.




  Source: Global Year Against Pain
                                                                                                                             114
The IASP Developing       Countries
           Case: 1:17-md-02804-DAP Doc #:Education
                                          2364-56 Filed: Fund
                                                         08/14/19 helps    inPageID #: 385277
                                                                  116 of 279.
improving the pain education in the IASP developing countries

  Key Message: To develop donation programs and funds for pain research

  IASP Programs and Funds
  Members of IASP contribute each year to the following programs and funds:
  • John J. Bonica Trainee Fellowship Fund: The John J. Bonica Trainee Fellowship supports trainees working in all
     aspects of pain research and awards are up to $35,000 each year.
  • Sponsor-A-Member Program: Donations to this program financially assist physicians and clinicians from developing
     countries to receive the full benefit of membership to the IASP.
  • Adopt-A-University Library Program: The IASP partners with libraries all over the world and the total money collected
     with this program is used to assist with sending copies of PAIN, Pain: Clinical Updates, and IASP Press books.
  • Developing Countries Education Fund: The donations to this fund is used to support the IASP Developing Countries
     Project: Initiative for Improving Pain Education and the goal of this grant project is to improve the scope and availability of
     essential education for pain clinicians of all disciplines, taking into account specific local needs. Awards are up to $10,000
     each year.
  • IASP General Fund: The money collected for this fund is used to support the general day-to-day activities of the IASP
     Secretariat.




    Source: Programs & Funds
                                                                                                                                       115
IASP’s clinical   newsletter, Doc
          Case: 1:17-md-02804-DAP Pain:  Clinical
                                    #: 2364-56 Filed: Updates,
                                                      08/14/19 117 ofprovides
                                                                      279. PageID #: 385278
details on special aspects of pain management

Key Message: To offer publications that address all aspects of pain research and treatment

Major IASP publications include:
PAIN®
• PAIN is the official journal of the IASP and is published 18 times per year.
• This peer-reviewed journal provides a forum for the dissemination of research in the basic and clinical sciences of
   multidisciplinary interest and is cited in Current Contents and Index Medicus.
Books from IASP Press®
• Its book publishing division produces timely, high-quality, low-cost publications relevant to the problem of pain.
Pain: Clinical Updates
• Pain: Clinical Updates is the IASP’s clinical newsletter and provides details on special aspects of pain management that
   are of interest to the frontline clinician.
Core Curriculum
• The IASP’s core curriculum is a guide for teaching courses on acute, chronic, and cancer pain at both the undergraduate
   and graduate levels.
IASP Newsletter
• A quarterly newsletter for IASP members with information about the activities of the IASP and the Chapters and Special
   Interest Groups.




  Source: Publications
                                                                                                                             116
The IASP Early      Career Research
           Case: 1:17-md-02804-DAP          Grants
                                   Doc #: 2364-56 Filed:support
                                                         08/14/19 118researchers
                                                                      of 279. PageID #: 385279
in their early career stage of pain investigations

Key Message: Developed an extensive grants and awards program for supporting investigators working in basic or
clinical research and to support education in developing countries
IASP Grants and Awards
• IASP John J. Bonica Trainee Fellowship Grant: Under this grant up to $50,000 is distributed to a selected trainee to
   support training in all aspects of pain research.
• IASP International Trainee Fellowship funded by Scan|Design by the Inger and Jens Bruun Foundation: Under this
   two grants of up to $50,000 each are distributed to selected trainees to support training in all aspects of pain research.
   This fellowship is open to trainees of all nationalities.
• IASP Early Career Research Grants: Under this 7 Grants of $20,000 each (including 2 funded by ScanDesign by Jens
   and Inger Bruun Foundation). The IASP Early Career Research Grants support researchers who are in the early career
   stage of pain investigations.
• IASP Developing Countries Project – Initiative for Improving Pain Education: Under this educational support grants
   for up to $10,000 are available to improve essential pain education for clinicians in developing countries.
• IASP Collaborative Research Grants: Under these grants of up to $15,000 is given to support collaborative research
   between two or more research groups located in different countries.
• IASP Research Grants funded by Scan|Design by the Inger and Jens Bruun Foundation: These awards sponsor
   collaboration between investigators in Scandinavia and the US. Under this two grants of up to $25,000 are available, one
   for clinical and one for basic research.
• IASP Research Symposia: Under this grants of up to $40,000 is used to support the costs of a symposium on a specific
   pain-related topic that is of interest to both basic scientists and clinical researchers.
• IASP Visiting Professor Grants: These grants are available to IASP’s chapters and cover the cost of airfare for a visiting
   professor to travel to and from a chapter event.




  Source: Grants & Awards
                                                                                                                            117
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 119 of 279. PageID #: 385280




                                  World Institute of Pain
The World Institute       of Pain develops
             Case: 1:17-md-02804-DAP Doc #: 2364-56guidelines
                                                    Filed: 08/14/19 and    standards
                                                                    120 of 279. PageID #: 385281
for training and examining competency in pain physicians

  Overview            •   The World Institute of Pain (WIP) was founded in 1993 as a worldwide organization that aims to promote
                          the best practices of pain medicine for the 21st century.
                      •   WIP helps promote consensus building among experts on the effectiveness of existing techniques and
                          avenues for advancement of therapeutic performances through educational initiatives, including the
                          World Congress, regional symposia and workshops on interventional pain practice.
  Mission             •   To educate physicians and patients in pain medicine, and to develop guidelines and standards for
                          training and examining competency in pain physicians all over the world.
  Key                 •   To educate and train personnel of member pain centers through local hands-on training, international
  Objectives              seminars, and exchange of clinicians.
                      •   Update pain centers with state-of-the-art pain information, including a newsletter, scientific seminars,
                          interlined telecommunications, and publication of a journal and books.
                      •   To develop common protocols for efficacy and outcome studies.
                      •   To communicate administrative and patient-related matters on a regular basis through newsletters,
                          telephone, world directory of pain centers, and video conferencing (including patient consultation).
                      •   To categorize pain centers by mail correspondence, local information, and medical representatives.
                      •   To develop an examination process for pain centers in testing trainees, and provide know-how on the
                          process.
                      •   To encourage interested industries to provide information on pain medicine worldwide; bring together
                          local pain physicians and industry, for education in new technology and training; and formulate a
                          fellowship-training program.
  Key Activities      •   Activities conducted by the WIP to achieve its aim and objectives:
                              Organizing the biannual World Institute of Pain Congress
                              Organizing practical workshops and scientific meetings
                              Publishing a journal Pain Practice
                              Providing a website, www.worldinstituteofpain.org
                              Establishing new bodies in relation with WIP activities for further promotion of WIP including new
                                  methods of promotion, education and training as they are available.


    Source: About WIP, Mission, Key Objectives, Key Activities
                                                                                                                                     119
The WIP has
          Case:a global presence
               1:17-md-02804-DAP         and targets
                                 Doc #: 2364-56             physicians
                                                Filed: 08/14/19              and #: 385282
                                                                121 of 279. PageID
pain patients

Key Target       •   The institute targets physicians and pain patients.
Audience
Geographic       •   The institute is based in the US and has a global presence.
Presence
Headquarters     145 Kimel Park Drive, Suite 310
                 Winston-Salem, NC 27103-6984
                 Toll-free: 1 877 PAIN 360 (877 724 6360)
                 Direct: 1 336 760 2933
                 Fax: 1 336 906 9140




 Source: About WIP
                                                                                             120
The WIP provides      its members
         Case: 1:17-md-02804-DAP         with professional
                                 Doc #: 2364-56 Filed: 08/14/19 122 of 279. PageID #: 385283

networking opportunities with pain specialists globally

                                                     Membership Benefits
•    WIP offers six types of memberships:
         Regular WIP Member: Any physician who has a Fellow of Interventional Pain Practice (FIPP) certificate is eligible
           to be a regular member. These members may establish Chapters in their country or region. The country chapters so
           formed are affiliated to the WIP and can be represented in the Council of WIP. A single Councillor will be nominated
           and appointed for this function by each approved Chapter.
         Associate WIP Member: Any physician engaged in pain management; who has not obtained FIPP certificate is
           eligible to the associate membership. Associate members shall not be eligible for membership on the WIP Boards or
           committees, but shall be eligible to be members of approved Chapters of WIP.
         Pain Clinic Membership: All Pain Clinics are eligible for this membership if the Director of the Clinic holds the FIPP
           certificate.
         Contributing Members: Any organization or person, who agrees to contribute financially or materially for a period
           of at least two years in a minimum amount as directed by the Executive Board, may become a contributing member,
           subject to the approval of the Executive Board and without voting rights.
         Honorary Members: Honorary membership (without voting rights) may be granted by the Council to those who
           have made exceptional contributions to WIP and the research and management of pain. To be elected as honorary
           member a person shall be proposed by at least two members of Council.
         Life Members: All founding members, Presidents and Vice presidents and Officers of the Executive Board who
           have served the WIP with distinction during their active duty on the Board. This category of membership has to be
           approved by the WIP Council.
•    The members are eligible and provided with following:
         Subscription to Pain Practice, The Official Journal of the World Institute of Pain
         Subscription to online edition of Pain Practice, including access to back issues
         Subscription to WIP Newsletter
         First Notification of WIP World Congress, sponsored and endorsed regional congresses and symposia, and
           limited-enrollment interventional pain conferences and workshops
         Professional networking opportunities with pain specialists around the world, and the opportunity to
           contribute in a meaningful way to the advancement of pain medicine as a recognized specialty worldwide.


    Source: Membership, Benefits of Membership
                                                                                                                               121
                 Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 123 of 279. PageID #: 385284

Key Partners/Sponsors

Supporters of the WIP 5th World Congress to be held at New York between March 13 -16, 2009 include:
Platinum Supporters
• Boston Scientific
• Mundipharma International Limited
Silvers Supporters
• Endo Pharmaceuticals
• MEDA Pharmaceuticals
• PriCara
• St. Jude Medical
Other Supporters
• Elan Pharmaceuticals
• Epimed
• Wyeth




  Source: World Congress Supporters
                                                                                                       122
The WIP’s World     Congress offers
           Case: 1:17-md-02804-DAP         physicians
                                   Doc #: 2364-56           a multi-disciplinary
                                                  Filed: 08/14/19 124 of 279. PageID #: 385285
perspective on pain syndromes and their management

                                 Relationship with/Influence on Primary Care Physicians (PCPs)
  WIP World Congress
  • The World Institute of Pain (WIP) will hold its 5th World Congress in New York, during March 13-16, 2009.
  • This Pain congress offers physicians an exciting, advanced, and multi-disciplinary look at pain syndromes and their
    management.
  • The WIP pain conference plenary program also affords attendees an exceptional opportunity to hear, meet and share the
    experiences of the world’s top lecturers in the field.
  • The 5th WIP World Pain Congress, themed “Better education, better relief,” aims to advance the management of pain
    centers to a level of excellence and to implement the knowledge continuously provided by various pain associations.
  • Highlights of the 5th World Pain Congress (WIP):
        Attended by over 2,000 physicians in the field of pain syndromes and management
        Display of novel techniques in interventional pain management
        Comprehensive pain management program with 30 topical pain seminars
        Presentations by 55 acclaimed pain experts from 16 countries
        Pain conference 2009 timetable features refresher course and case-based clinical discussions
        Sponsored satellite symposia
        Poster viewing with authors present
        CME Credits
               The CME Accreditation activity is jointly sponsored by Wake Forest University School of Medicine and the
                   World Institute of Pain.
               The Wake Forest University School of Medicine is accredited by the Accreditation Council for Continuing
                   Medical Education to provide continuing medical education for physicians.
               The Wake Forest University School of Medicine designates this education activity for a maximum of 16.75
                   AMA PRA Category 1 CreditsTM.




    Source: About World Congress, CME Accreditation, World Congress 2007
                                                                                                                            123
Pain Pathways,     the quarterly
         Case: 1:17-md-02804-DAP     magazine
                                 Doc #: 2364-56 Filed: of the WIP,
                                                       08/14/19          is PageID #: 385286
                                                                125 of 279.
designed to address the needs of people with pain

Key Message: To become a resource for chronic pain patients seeking current initiatives and therapies

Pain Pathways – Official Magazine of the WIP
• Pain Pathways is the quarterly magazine designed to address the needs and interests of people living with chronic, acute
   and cancer pain.
• The magazine is the resource for chronic pain patients seeking current initiatives and therapies.
• It is available in doctors' offices across the US and may be delivered directly to patient and caregiver homes.
• The profits from the magazine is used to fund pain medicine research and education; and will support the educational aims
   of the WIP.




  Source: Pain Pathways Magazine
                                                                                                                          124
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 126 of 279. PageID #: 385287




                    American Society of Pain Educators
The ASPE is dedicated      to improving
            Case: 1:17-md-02804-DAP           pain
                                    Doc #: 2364-56     management
                                                   Filed:                   through
                                                          08/14/19 127 of 279. PageID #: 385288
the education and training of healthcare professionals

   Overview            •   The American Society of Pain Educators (ASPE) is a 501(c)(3) nonprofit professional organization
                           dedicated to improving pain management through the education and training of healthcare professionals
                           to become Certified Pain Educators (CPEs).
                       •   A pain educator is a healthcare professional who provides education about pain assessment, evaluation,
                           and management through “curbside consults” within a clinical practice or via formal presentations and
                           direct contact with other healthcare professionals and/or patients.
                       •   Pain educators practice in a wide range of healthcare settings (eg, medical and dental practices,
                           hospitals, free-standing surgical centers, rehabilitation services, hospice and palliative-care facilities,
                           nursing homes, physical- and occupational-therapy practices, chiropractic offices, integrative medicine
                           practices) and focus on transferring knowledge to and teaching others about pain.
                       •   The ASPE is the only organization focused on training pain educators and is dedicated to providing
                           healthcare professionals with a path to become Certified Pain Educators (CPEs).
                       •   ASPE programs focus equally on best practices for pain management and on the most effective ways to
                           implement and transfer that knowledge from clinicians to their peers as well as to patients, families, and
                           caregivers.
   Mission             •   To improve the standards of clinical pain practice and to enhance the health and quality of life of pain
                           sufferers by providing educational activities that lead to better pain control.
   Key Activities      •   The activities of the ASPE include:
                               Certified Pain Educator (CPE) Program
                               PainView, the official newsletter of the ASPE
                               Copy of Guidelines Pocketcard™ - Managing: Diabetic Peripheral Neuropathic Pain
                               Pain Educators Forums and other ASPE-related meetings




     Source: About ASPE, Mission, Key Activities
                                                                                                                                      126
ASPE members       include healthcare
          Case: 1:17-md-02804-DAP              professionals,
                                  Doc #: 2364-56                     patients
                                                 Filed: 08/14/19 128 of 279. PageID #: 385289
and their families, and caregivers

Key Target       •   The ASPE is committed to educate healthcare professionals and, through them, patients, families, and
Audience             caregivers, about pain.
                 •   Membership benefits of the ASPE:
                       Access to the Certified Pain Educator (CPE) Program
                       Print subscription to PainView, the official newsletter of the ASPE
                       Copy of Guidelines Pocketcard™ - Managing: Diabetic Peripheral Neuropathic Pain
                       Personal paineducator.com e-mail address
                       Can order custom ASPE business cards
                       Discounted registration fees to Pain Educators Forums and other ASPE-related meetings
                       Negotiated member discounts on travel, entertainment, and more
Geographic       •   The Society operates in the US.
Presence
Headquarters     6 Erie Street
                 Montclair, NJ 07042
                 Main Tel: 973-233-5570
                 Main Fax: 973-453-8246
                 E-mail: info@paineducators.org




 Source: Target Audience, Member Benefits
                                                                                                                            127
                       Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 129 of 279. PageID #: 385290

Key Partners/Sponsors

                                                 List of Key Partners/Sponsors
•    Key partners of the ASPE include:
        PriCara, Unit of Ortho-McNeil Inc.
        Cephalon, Inc.
        Wyeth Pharmaceuticals
        GlaxoSmithKline
        Adolor Corporation




    Source: Partners
                                                                                                             128
The ASPE Case:
         organizes       a Pain Doc
               1:17-md-02804-DAP Educators       Forum;
                                    #: 2364-56 Filed: 08/14/19this
                                                               130 ofis a live
                                                                      279. PageID #: 385291

conference offering multiple courses for pain practitioners

                                     Relationship with/Influence on Pain Practitioner

ASPE's Pain Educators Forum (PEF)
• The ASPE's Pain Educators Forum (PEF) is a live conference offering multiple courses for frontline pain practitioners.
• The sessions of the conference cover best practices in pain management as well as ways to effectively teach, transfer, and
  communicate what’s been learned to other healthcare professionals and patients, families, and caregivers.
• The Forum provides between 10 and 30 hours of course content certified for CME, CE, and CPE credit.
• The next PEF will be held between September 9-13, 2009 in Las Vegas, as part of the PAINWeek 2009 National
  Conference.




  Source: Pain Educators Form
                                                                                                                           129
The CPE Examination         can be
          Case: 1:17-md-02804-DAP Doctaken
                                     #: 2364-56by   members
                                                Filed: 08/14/19 131of  thePageID #: 385292
                                                                    of 279.
ASPE; its credential is valid for five years

Key Message: To administer and provide certification examination for pain educators

Certified Pain Educator Examination
• The Certified Pain Educator (CPE) Examination is a certification exam for pain educators, which is administered by the
   ASPE.
• To take the Certified Pain Educator (CPE) Examination, a candidate must be a current member of the ASPE and be able to
   furnish documentation that the following eligibility criteria have been met:
        Licensure: Applicant must hold a current license as a healthcare professional.
        Clinical/Professional Experience: Applicant must have at least two years of full-time experience or four years of
          half-time experience in a position in which at least 10% of the applicant’s time is devoted to providing pain-related
          education to clinical peers and/or patients (eg, 400 hours of pain education experience).
        Certified Continuing Education Activities: Applicant must have completed at least 30 hours (credits) of pain-
          related educational activities certified for Category 1 CME, CPE, CE, or other professional credit.
• The Certified Pain Educator (CPE) credential is valid for five (5) years. To maintain the credential, CPEs must:
        Keep their American Society of Pain Educators (ASPE) membership current
        Remain a healthcare professional licensed by a recognized US jurisdiction (eg, state)




  Source: CPE Examination, CPE Eligibility, CPE Credential
                                                                                                                              130
The CME activities      of the ASPE
          Case: 1:17-md-02804-DAP        are designed
                                  Doc #: 2364-56               for
                                                 Filed: 08/14/19 132physicians,
                                                                     of 279. PageID #: 385293
nurses, and pharmacists treating pain patients

Key Message: To provide pain-related education to patients

Patient Education
• For patient education, the ASPE created a series of three educational Web casts for individuals living with chronic pain.
• The three web casts feature a leading health specialists and Olympic Games gold medalist and chronic pain sufferer, Nikki
   Stone.
• The series is co-sponsored and co-developed by PRICARA(R), Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc.



Key Message: To provide CME’s to pain practitioners through online and print medium

• The ASPE provides two types of CME activities such as:
Online Activities
• In June 2008, the ASPE released two online CME’s one titled ‘The Domains of Breakthrough Pain’ and other ‘Improving
   Pain Control and Preempting Opioid-Induced Adverse Events’ which will expire on June 20, 2009.
• Both CME’s were jointly sponsored by the Medical Education Collaborative, Inc. and Aventine HealthSciences.
• The first CME was supported by an educational grant from Cephalon, Inc. and the second CME was supported by an
   educational grant from Wyeth Pharmaceuticals.
• The CME activities have been designed for physicians, nurses, and pharmacists treating patients in pain.
Print Activity
• In June 2009, the ASPE released a print CME titled ‘Peripheral Opioid Antagonists: A Therapeutic Advance for Optimizing
   Opioid Gastrointestinal Tolerability’.
• The print CME is jointly sponsored by the University of Wisconsin School of Medicine and Public Health and the American
   Society of Pain Educators.
• It is supported by an educational grant from GlaxoSmithKline and Adolor Corporation.



  Source: Patient Education, Online Activities, Print Activity
                                                                                                                            131
PAINWeek,    a 1:17-md-02804-DAP
          Case: national painDoc conference,
                                   #: 2364-56 Filed: is organized
                                                      08/14/19 133 of 279.by the#: 385294
                                                                           PageID
ASPE for the educational needs of healthcare professionals

Key Message: To provide knowledge and tools to frontline clinicians for treating patients in pain

PAINWeek™
• PAINWeek is a national pain conference organized by the ASPE.
• The goal and vision of PAINWeek is to disseminate knowledge and tools to frontline clinicians who are faced with treating
   the majority of patients in pain.
• PAINWeek is the only national pain conference that has been developed to meet the educational needs of physicians,
   nursing professionals, physician assistants, dentists, pharmacists, psychologists, and podiatrists.
• PAINWeek offers opportunities for companies and also a platform to create awareness for their products and services
   through various events such as:
        Exhibiting
        Commercially Supported Events: PAINWeek allows both CME and non-CME events—from small Meet-the-Experts
         Briefings to Symposia with several hundred attendees to half-day Scientific Assemblies.
        Advertising
        Sponsorship Opportunities


Key Message: To provide a customized educational program for Pain Representative

Certified Pain Representative™ Training Program
• The Certified Pain Representative (CPR) Training Program is a nonbranded educational program whose format and
   content can be customized to meet the needs of different organizations and their sales forces.
• THE CPR program includes:
        Completion of 30 hours of ASPE-recognized educational curriculum (typically disseminated over 6-8 months)
        Participation in a 1- to 2-day live training session
        Administration of a comprehensive Certified Pain Representative Examination



  Source: About PAINWeek, Industry Opportunities, CPR Training Program
                                                                                                                              132
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 134 of 279. PageID #: 385295




                             Pain & Policy Studies Group
The PPSG Case:
           works    to ‘balance’
               1:17-md-02804-DAP Doc policies    to ensure
                                     #: 2364-56 Filed:           adequate
                                                       08/14/19 135 of 279. PageID #: 385296
availability of pain medication for patient care

Overview             •   The Pain & Policy Studies Group (PPSG) has been designated the World Health Organization (WHO)
                         Collaborating Center for Policy and Communications in Cancer Care since 1996.
                     •   It provides technical assistance to government and non-government organizations, and promotes
                         better understanding of the principle of balance that should guide national narcotics control policy to
                         ensure availability of opioid pain medications, and prevent abuse and diversion.
Vision               •   The PPSG’s vision is that people who suffer pain from Cancer, AIDS, surgery, accidents and chronic
                         conditions will have relief from their pain and a better quality of life; and that care giver will know
                         when and how to use opioid analgesics without fear of regulatory agencies.
Mission              •   Its mission is to “balance” international, national and state policies to ensure adequate availability of
                         pain medications for patient care while minimizing diversion and abuse, and to support a global
                         communications program to improve access to information on pain relief, palliative care and policy.
Key Activities       •   PPSG primarily focuses on identifying and addressing barriers to the medical use of opioid
                         analgesics (narcotic drugs), which are essential to chronic pain management and palliative care. This
                         is accomplished through a University program that includes:
                     •   Research
                              Methods to evaluate policy and barriers
                              Surveys of regulators, clinicians
                              Analysis of laws, regulations and other policy
                     •   Education
                              Programs for clinicians, regulators, and policy makers
                              Fellowships for regulators
                              Internships for University students
                     •   Communication
                              Publication of articles and monographs
                              Newsletter publication
                              Websites

  Source: About PPSG; PPSG
                                                                                                                                     134
The PPSG Case:
          targets    legislators,
               1:17-md-02804-DAP     drug
                                 Doc #:       regulators,
                                        2364-56                 and
                                                Filed: 08/14/19 136 of 279.                  PageID #: 385297
healthcare practitioners

Key Activities         •   The US program of the PPSG is primarily involved in the collection and evaluation of state policies
                           that govern pain management, especially prescribing controlled substances to treat chronic,
                           moderate to severe pain.
                               Evaluations are conducted periodically to identify potential barriers to adequate patient pain
                                  care.
                               This is accomplished through the development of a criteria-based research methodology to
                                  analyze national and state policies and a methodology to grade and compare states based on
                                  the quality of their policy content.
                               From this information, it provides recommendations and technical assistance to those who
                                  want to improve the content of drug control or professional practice policies in their state.
Key Target             •   The study group targets legislators, drug regulators, healthcare practitioners, and members of
Audience                   associations for pain and palliative care.
Geographic
                       •   The society is based in the US and has a global presence.
Presence
Headquarters           Pain & Policy Studies Group
                       406 Science Drive, Suite 202
                       Madison, WI 53711
                       Phone: 608.263.7662
                       Fax: 608.263.0259
                       Email: ppsg@med.wisc.edu




  Source: About PPSG
                                                                                                                                  135
It collaborates    with the WHO
          Case: 1:17-md-02804-DAP Doc #:and   develops
                                         2364-56             methods,
                                                 Filed: 08/14/19 137 of 279. PageID #: 385298
models, and resources to examine opioid availability trends

Key Message: It collaborates with the World Health Organization (WHO) to evaluate and influence global government
policies related to pain management.

World Health Organization (WHO) Collaborating Center
• The PPSG has been designated the World Health Organization (WHO) Collaborating Center for Policy and
  Communications in Cancer Care since 1996.
       Its International Program, which guides the activities of the WHOCC, has been involved with evaluation of
        legislation, policy analysis and development, demonstration projects, outcomes monitoring, education and
        communications.
       The International Program develops methods, models, and resources to examine opioid availability trends, identify
        barriers to opioid availability in national laws, regulations and distribution systems, develop collaborative national
        projects to diagnose barriers and develop action plans to improve national policy, and monitor outcomes.
       It led to the creation of WHO "Guidelines for Achieving Balance in National Opioids Control Policy," issued by the
        WHO in 2000.
       Formally endorsed by the International Narcotics Control Board, this important tool, consisting of 16 Guidelines,
        provides the background and rationale for national policy and systems evaluation and revision to improve availability
        and patient access to opioid analgesics.




  Source: WHO collaboration
                                                                                                                             136
The studyCase:
          group     supports wider
               1:17-md-02804-DAP          accessibility
                                 Doc #: 2364-56 Filed: 08/14/19of opioid-
                                                                138 of 279. PageID #: 385299
based analgesics through advocacy and support initiatives

Key Message: The study group supports wider accessibility of opioid based analgesics for pain relief through
various initiatives
Advocacy and Support Initiatives
• The PPSG conducts opioid availability workshops, which convene stakeholders in regional action planning workshops to
  identify and address barriers to opioid availability and access.
       Since 2000, the PPSG has hosted or taken part in 8 regional opioid availability workshops for 41 countries.
• It also provides International Pain Policy Fellowship (IPPF), inaugurated in 2006, with funding from the International
  Palliative Care Initiative of the Open Society Institute.
       This program trains competitively selected experts in pain management and palliative care from developing
          countries on how to evaluate and improve opioid availability policy and distribution in their country.
       Following a 5-day training session in Madison, Wisconsin, the Fellows return home with partial salary support to
          implement their action plan with close technical assistance from PPSG staff and other volunteer expert mentors.
• The PPSG accomplishes its international communications work in several ways:
       Through Cancer Pain Release, a quarterly WHO newsletter and website that provides health professionals, policy
          makers, and regulators throughout the world with updates on issues and developments in the field.
       Through the PPSG website, which includes individual Country Profiles that provide data and trend graphs for the
          national reported consumption of principal opioids, and news alerts.




  Source: Advocacy & Support Initiatives, Cancel Pain Release
                                                                                                                            137
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 139 of 279. PageID #: 385300




                        American Occupational Therapy
                                 Association
The American    OccupationalDocTherapy
         Case: 1:17-md-02804-DAP            Association
                                 #: 2364-56 Filed: 08/14/19 140 was
                                                                of 279. set up#: 385301
                                                                        PageID
to improve the quality of occupational therapy services

Overview          •    The American Occupational Therapy Association (AOTA) is the national professional association
                       established in 1917.
                  •    The Association was established to represent the interests and concerns of occupational therapy
                       practitioners and students of occupational therapy and to improve the quality of occupational therapy
                       services.
                  •    Occupational therapy practitioners help people to cope and manage their pain.
                  •    Occupational therapy practitioners can guide people with chronic pain to redirect their pain so that it
                       interferes less in their daily lives.
Vision            •    The AOTA advances occupational therapy as the preeminent profession in promoting the health,
                       productivity, and quality of life of individuals and society through the therapeutic application of occupation.
Mission           •    To advance the quality, availability, use, and support of occupational therapy through standard-setting,
                       advocacy, education, and research on behalf of its members and the public.
Key Activities    •    AOTA’s major programs and activities are directed towards:
                          Assuring the quality of occupational therapy services
                          Improving consumer access to health care services
                          Promoting the professional development of members




  Source: About AOTA
                                                                                                                                    139
The AOTACase:
         has1:17-md-02804-DAP
              an international       presence
                              Doc #: 2364-56        with ~36,000
                                             Filed: 08/14/19 141 of 279. PageID #: 385302
members

Number of       •     The current AOTA membership is approximately 36,000, including occupational therapists, occupational
Members               therapy assistants, and occupational therapy students.
And Key
Target
Audience
Geographic      •     The Association operates in the US.
Presence        •     The AOTA members reside in all 50 states of the US, the District of Columbia, Puerto Rico, and
                      internationally.
Headquarters    4720 Montgomery Lane
                PO Box 31220
                Bethesda, MD 20824-1220
                Phone: 301-652-2682
                TDD: 1-800-377-8555
                Fax: 301-652-7711




 Source: About AOTA
                                                                                                                             140
The strategic   goal of the AOTA
          Case: 1:17-md-02804-DAP        is to link
                                  Doc #: 2364-56 Filed: occupational
                                                        08/14/19 142 of 279. PageID #: 385303

therapy research, education, and practice communities

                                          Strategic Goals & Objectives 2006–2009
•    Building the profession’s capacity to fulfill its potential and mission
         Prepare occupational therapists and occupational therapy assistants for the 21st century
         Ensure a diverse workforce for multiple roles
         Increase the profession’s research capacity and productivity
         Strengthen our capacity to influence and lead
         Enhance collaboration with international partners and state affiliates
•    Demonstrating and articulating its value to individuals, organizations and communities
         Increase public understanding of the profession and its value in meeting diverse health and participation needs
         Support traditional occupational therapy roles and foster the development of emerging practice areas to help meet
           society’s health, wellness and quality of life needs
         Engage proactively with key external organizations and decision makers to assert occupational therapy leadership in
           essential areas of societal need
•    Linking education, research and practice
         Promote stronger linkages and collaboration among the occupational therapy research, education and practice
           communities
         Facilitate dissemination of occupational therapy knowledge to foster innovation in research, education and practice
         Promote the dissemination and application of evidence-based knowledge
•    Creating an inclusive community of members
         Work to meet the needs of members across the diverse professional roles in practice, education and research and
           increase member satisfaction
         Expand outreach to occupational therapists, occupational therapy assistants, and students to grow membership
         Foster opportunities for active member participation, recognition and leadership, and promote and develop volunteer
           leadership excellence
•    Securing the financial resources to invest in the profession’s ability to respond to societal needs
         Actively monitor internal and environmental trends affecting operations
         Monitor current and prospective members’ needs and expectations
         Exercise transparency and accountability in management practices
         Work to expand and diversify revenue streams

    Source: AOTA Goals & Objectives
                                                                                                                            141
The Association    provides membership
         Case: 1:17-md-02804-DAP                    to08/14/19
                                 Doc #: 2364-56 Filed: occupational
                                                               143 of 279. PageID #: 385304

therapy health professionals and students

                                                  Types of Membership
•    The AOTA provides memberships for various people such as:
         Occupational Therapist: Individuals who have completed a 4-year degree or master's program and are certified to
          practice occupational therapy in the US.
         Occupational Therapy Assistant: Individuals who have completed a 2-year degree and are certified to practice
          occupational therapy as an assistant in the US.
         Student-Plus: Students enrolled in OT or OTA programs accredited or granted developing program status by the
          Accreditation Council for Occupational Therapy Education (ACOTE®) who have not yet taken the National Board for
          Certification in Occupational Therapy, Inc. (NBCOT) examination.
         Standard Student: Students must meet the same criteria listed above for Student-Plus membership.
         Individual Associate Membership: The AOTA’s Individual Associate Memberships are ideal for health
          professionals who work alongside occupational therapy professionals. This membership also keeps occupational
          therapists certified in foreign countries in touch with the profession in the US.
         Organizational Associate Membership: This membership is designed for other health organizations and
          institutions, nonprofit facilities, libraries, and educational programs.
         The AOTA also provides some other types of membership such as New Practitioner - First Year, New Practitioner -
          Second Year, Retired OT or OTA, Post-Professional Master's Degree and Post-Professional Doctorate Degree.




    Source: Types of Membership
                                                                                                                        142
Members of  the
         Case:     AOTA are provided
               1:17-md-02804-DAP Doc #: 2364-56with   subscription
                                               Filed: 08/14/19 144 of 279. to its#: 385305
                                                                           PageID
newsletters, continued education, and other benefits

                                                      Membership Benefits
•    Benefits provided to life time members of the AOTA:
        Subscriptions for various newsletters published by AOTA such as:
                American Journal of Occupational Therapy (6 issues/year)
                OT Practice (22 issues/year)
                Special Interest Section Quarterly (1 printed quarterly subscription of your choice; online access to all 11 plus
                   archives)
                AOTA's 1-Minute Update e-newsletter (25 issues/year)
                Scope of Practice Issues Update e-newsletter (12 issues/year)
                Federal Legislative Issues Update e-newsletter (12 issues/year)
        Continuing Education through:
                Online Courses, Self-Paced Clinical Courses, AudioInsightTM Seminars, Conferenece Session Webcasts,
                   and more
                Discounted AOTA Annual Conference & Expo registration
                Discounted National Student Conclave registration
        Professional Resources
        Advocacy
        Discounts
        Career Resources
        Special Interest Sections




    Source: Benefits of Membership
                                                                                                                                 143
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 145 of 279. PageID #: 385306

Key Partners/Sponsors

                                                         Sponsorship Opportunities
The AOTA offers many marketing opportunities for corporates to help them in promoting their product, service, job openings,
continuing education program, and others through:
• Print Advertising: The following AOTA publications offer print advertising opportunities:
        Special Interest Section (SIS) Newsletters
        American Journal of Occupational Therapy (AJOT)
        OT Practice Magazine
        Conference Program Guide
• Online Advertising: The online advertising opportunities available with AOTA are listed below:
        OT Practice Buyer's Guide Online
        OTjobLink.org
        AOTA's 1-Minute Update E-Newsletter
        Web Button and Banner Ads
• Sponsorship: The AOTA Sponsorship offerings are extensive and include print, online, conference, meetings, and
   seminars. The sponsorship is available for its various offerings such as:
        Special Interest Section (SIS) Newsletters
        AOTA's 1-Minute Update E-Newsletter
        Conference Photo Gallery
        Conference & Expo
        Exhibitor-Sponsored Seminars
        OT Month
        Program Directors' Meeting
        Student Conclave



  Source: Print Advertising, Online Advertising, Sponsorship
                                                                                                                              144
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 146 of 279. PageID #: 385307

Key Partners/Sponsors

                                                     Types of Partnership
•    The AOTA is offering four levels of sponsorship for corporate sponsors to partner with AOTA’s Annual Conference & Expo,
     to be held in Houston, Texas between April 23–25, 2009.
•    Four levels of sponsorships and benefits given by AOTA:
•    Bronze-Level Sponsorship & Benefits
          Additional booth points toward booth selection
          Recognition in the Conference Program Guide
          Recognition in the Exhibit Hall Pocket Guide
          Recognition in the Pre-Conference,
          Conference, and Post-Conference issues of OT Practice magazine
          Signage in the Exhibit Hall entrance and the Exhibit Hall Member Resource Center
          Recognition in the Welcome Ceremony screen*
          Ribbons for staff badges
•    Silver-Level Sponsorship & Benefits: The Silver level benefits includes Bronze-Level benefits along with additional
     booth points toward booth selection (3 pts.), and an invitation to VIP reception.
•    Gold-Level Sponsorship & Benefits: The Gold level benefits includes Silver Level benefits along with additional booth
     points toward booth selection (5 pts.), Pre- and post-show registered attendee mailing lists in electronic format, and
     sponsors logo in the Exhibit Hall Pocket Guide.
•    Platinum-Level Sponsorship & Benefits: The Platinum benefits include Gold Benefits along with additional booth points
     toward booth selection (7 pts.), Press releases in the “Products and Practice” section of OT Practice, OT Practice Buyer’s
     Guide listing with highlight, description, logo, and Web link, and Premium placement of advertisements in OT Practice
     (upon availability).




    Source: Conference & Expo Sponsorship
                                                                                                                                  145
Its Board Case:
          Certification      andDoc
                1:17-md-02804-DAP Specialty     Certifications
                                    #: 2364-56 Filed:                  serve
                                                      08/14/19 147 of 279.     as#: 385308
                                                                           PageID
a framework for the professional development of OT

                                 Relationship with/Influence on Occupational Therapy Practitioners

AOTPAC
• The American Occupational Therapy Political Action Committee (AOTPAC) is a voluntary, non-profit, unincorporated
  committee of members of AOTA.
• The AOTPAC was authorized by the Representative Assembly in 1976 and has been operational since the Spring of 1978.
• The purpose of the AOTPAC is to further the legislative aims of the Association by influencing or attempting to influence the
  selection, nomination, election, or appointment of any individual to any Federal public office, and of any occupational
  therapist, occupational therapy assistant, or occupational therapy student member of the AOTA seeking election to public
  office at any level.
• The committee is not affiliated with any political party.


Board Certification & Specialty Certification for Practitioners
• The AOTA Board Certification and Specialty Certifications serve as a framework for professional development that is
  specifically geared to occupational therapy.
• The programs are voluntary and are intended to assist practitioners to continually build their capacity for meeting identified
  competencies in an identified area of practice.
• The Board Certification and Specialty Certification programs of the AOTA provides formal recognition for those who have
  engaged in a voluntary process of ongoing, focused, and targeted professional development.
• Both programs are voluntary—neither certification is required for practice.




  Source: AOTPAC, Board Certification
                                                                                                                                   146
The AOTA’s   initiatives
          Case:              include
                1:17-md-02804-DAP Doc #:an image-building
                                        2364-56                     campaign
                                                Filed: 08/14/19 148 of 279. PageID #: 385309
to explain occupational therapy to a variety of audiences

Key Message: To develop initiatives for image-building of occupational therapy

The AOTA’s Key Initiatives
• The AOTA has developed some key initiatives for 2006-2009 which are:
      Developing a major image-building campaign to more effectively explain occupational therapy to a variety of
        audiences
      Engaging in broad-based advocacy to ensure funding for occupational therapy in traditional and emerging practice
        areas
      Making stronger linkages among occupational therapy research, education, and practice to enable effective
        communication within and about the profession
      Building a cutting-edge research agenda for the profession
      Developing a model curriculum for occupational therapy and occupational therapy assistant educational programs to
        ensure consistency in how practitioners are prepared for the 21st century workforce
      Developing occupational therapy outcome measures to meet the growing demands of consumers, payors, and
        policymakers for demonstrating the value of occupational therapy.




  Source: AOTA Key Initiatives
                                                                                                                       147
As part of Case:
           a long-term        strategy,
                 1:17-md-02804-DAP          the AOTA
                                   Doc #: 2364-56           created
                                                  Filed: 08/14/19 149 of a fund
                                                                         279.      to#: 385310
                                                                              PageID
raise awareness of occupational therapy

Key Message: To create public understanding and utilization of occupational therapy services

The AOTA’s Fund To Promote Awareness of Occupational Therapy
• The AOTA created The Fund To Promote Awareness of Occupational Therapy as part of a long-term strategy to raise
   awareness of occupational therapy.
• The Fund is a 501 (c) (3) organization offering a tax-advantaged venue for donations and other support.
• The Fund is committed to ongoing resource development to support targeted education, research, and professional
   development opportunities that will increase the public's understanding and utilization of occupational therapy services.
• The Fund facilitates society's understanding of and demand for occupational therapy and the profession's capacity to bring
   its virtues to more people in existing and future practice and policy environments.
• The Fund's potential and current projects include:
        Awareness Toolkits covering various occupational therapy practice settings
        National Awareness initiatives, including OT Month efforts, School Backpack Awareness Day, AOTA and Rebuilding
            Together and Older Drivers Media Campaign
        An Annual Silent Auction Fundraiser
        Baseline consumer research regarding occupational therapy perceptions




  Source: AOTA Fund
                                                                                                                           148
The AOTACase:
         has1:17-md-02804-DAP
              developed aDoc  body   for the
                                #: 2364-56 Filed: accreditation
                                                  08/14/19 150 of 279. of
                                                                       PageID #: 385311
occupational therapy educational programs

Key Message: To provide accreditation to occupational therapy educational programs for quality assurance, and
institutional and program improvement

Accreditation Council for Occupational Therapy Education (ACOTE) Accreditation
• The AOTA has a 85-year history of accrediting occupational therapy educational programs and its current accrediting body,
  the ACOTE, accredits approximately 275 occupational therapy and occupational therapy assistant educational programs.
• The ACOTE, an active member of the Association of Specialized and Professional Accreditors (ASPA), is recognized and
  fully compliant with all requirements of both the US Department of Education (USDE) and the Council for Higher Education
  Accreditation (CHEA).
• The ACOTE is committed to the establishment, promotion and evaluation of standards of excellence in occupational
  therapy education.
• The mission of the ACOTE is to foster the development and accreditation of quality occupational therapy education
  programs.
• By establishing rigorous standards for occupational therapy education, ACOTE supports the preparation of competent
  occupational therapy practitioners.




  Source: ACOTE Overview, ACOTE Mission
                                                                                                                          149
The Association    publishes aDocjournal
         Case: 1:17-md-02804-DAP  #: 2364-56 in   the
                                              Filed:    field151
                                                     08/14/19 ofof 279.                    PageID #: 385312
occupational therapy

Key Message: To provide educational material on issues related to occupational therapy

AOTA Publications
• AJOT: The American Journal of Occupational Therapy (AJOT) is an official publication of the AOTA and is published 6
  times annually. This peer reviewed journal focuses on research, practice, and healthcare issues in the field of occupational
  therapy.
• OT Practice Magazine: OT Practice covers professional information on all aspects of occupational therapy practice and
  the features of the magazine include everything from hands-on techniques to continuing education, legislative issues to
  career advice and job opportunities, to the latest professional news.
• Special Interest Section Quarterlies: The AOTA publishes 11 different SIS Quarterly newsletters and each SIS Quarterly
  focuses on a specific practice area and is published 4 times per year.
• E-Newsletters




  Source: AOTA Publications
                                                                                                                             150
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 152 of 279. PageID #: 385313




                      American College of Occupational
                        and Environmental Medicine
The American    College of Occupational
         Case: 1:17-md-02804-DAP                    and
                                 Doc #: 2364-56 Filed:     Environmental
                                                       08/14/19 153 of 279. PageID #: 385314
Medicine is dedicated to promoting workers’ health

Overview          • Founded in 1916, the American College of Occupational and Environmental Medicine (ACOEM) is a
                    medical society in the US dedicated to promoting the health of workers through preventive medicine,
                    clinical care, research, and education.
                  • A group of physicians encompassing specialists in a variety of medical practices is united via the College
                    to develop positions and policies on vital issues relevant to the practice of preventive medicine both within
                    and outside of the workplace.
Vision            • To become the pre-eminent organization of physicians who champion the health and safety of workers,
                    workplaces, and environments.
Mission           • The ACOEM provides leadership to promote optimal health and safety of workers, workplaces, and
                    environments by:
                          Educating health professionals and the public
                          Stimulating research
                          Enhancing the quality of practice
                          Guiding workplace and public policy
                          Advancing the field of occupational and environmental medicine
Key               • Lay emphasis on physician education
Objectives        • Enhance the specialty of Occupational and Environmental Medicine (OEM)
                  • Strengthen ACOEM.
Key Activities    •   Preventive Medicine
                  •   Clinical care
                  •   Research
                  •   Education




  Source: ACOEM
                                                                                                                                    152
The ACOEM   represents
         Case:               more
               1:17-md-02804-DAP Doc than    5,000
                                     #: 2364-56        physicians
                                                Filed: 08/14/19          and
                                                                154 of 279. PageID #: 385315
other healthcare professionals

Number of        • The ACOEM represents more than 5,000 physicians and other healthcare professionals specializing in the
Members And        field of occupational and environmental medicine (OEM).
Key Target
Audience
Geographic       • ACOEM is present in the US and Canada through 30 component societies.
Presence

Headquarters     25 Northwest Point Blvd, Suite 700
                 Elk Grove Village, IL 60007-1030




 Source: ACOEM
                                                                                                                        153
Its members Case:are  classified Doc
                 1:17-md-02804-DAP as:#: Regular      Active,
                                         2364-56 Filed:          Associate,
                                                        08/14/19 155 of 279. PageID #: 385316
Affiliate, Student, Direct Members, and Fellowship

                                                  Membership Criteria
• Regular Active Membership: Open to doctors of medicine or osteopathic medicine who have an interest in occupational
  and/or environmental medicine.
• Associate Membership: Open to non-physicians who have attained the doctorate level degree of PhD, ScD, DrPH, or
  EdD in occupational and environmental health disciplines.
• Affiliate Membership: Open to non-physicians with a masters-level degree working in a field related to occupational and
  environmental medicine, certified Physician Assistants (PA), licensed Nurse Practitioners (NP) or Certified Occupational
  Health Nurses (COHN).
• Student/Resident Membership: Open to full-time medical students, interns, or residents with an interest in occupational
  and environmental medicine.
• ACOEM Component Societies: All ACOEM members are required to be members of a component society where one is
  available. The American College of Occupational and Environmental Medicine has 30 component societies.
       Members residing outside the US, Canada, and Puerto Rico are considered “Direct” members and pay no
           component dues.
• Fellowship: The status of Fellow is the highest classification of membership at the ACOEM. Fellowship distinguishes and
  recognizes members of the College for their training, accomplishments, and experience in occupational medicine at the
  national, component, and local levels, as well as the member’s academic and scientific contributions. It provides ACOEM
  members the opportunity to serve it at the highest levels and is a qualification for leadership positions such as council
  chairs and officers of the Board of Directors.




 Source: Membership Criteria
                                                                                                                              154
The ACOEM   provides
         Case:            its members
               1:17-md-02804-DAP             networking
                                 Doc #: 2364-56 Filed: 08/14/19 opportunities
                                                                156 of 279. PageID #: 385317
via newsletters, list serves, and in-person meetings

                                                   Membership Benefits
• Career Development: The ACOEM’s Career Center provides information to help members advance their careers, search
  for jobs, or post an ad through ACOEM’s on-line recruitment resource. The Center is a member of HEALTHeCAREERS, a
  network of healthcare associations. The association’s online Doctor Finder Service provides professional information about
  each occupational medicine physician member who elects to participate in this public listing service. Conference calls of
  professionals in the field of Occupational and Environmental Medicine are offered free to all interested healthcare
  professionals who are entering, or considering entering, the profession of Occupational and Environmental Medicine.
• Education: The ACOEM promotes continuing medical education through its annual spring conference, the American
  Occupational Health Conference (AOHC), a meeting of OEM professionals globally. Numerous courses, webinars, and
  conferences throughout the year provide a wide range of in-depth professional development opportunities specially
  designed by and for OEM physicians and related professionals.
• Leadership: Its members steer the direction of the College through service as a delegate to ACOEM’s House of Delegates,
  on committees and councils, and by achieving Fellow status – the highest classification of membership within the College
  and the first step in eligibility to serve on the Board of Directors. The online Leadership Database highlights the volunteer
  force that serves on ACOEM’s councils and committees. It also supports continued efforts to stimulate research and
  education through the OEHF – Occupational & Environmental Health Foundation.
• Networking: The ACOEM is a forum for the exchange of new ideas, bringing together members to share their experiences.
  20 Special Interest Sections – from Academic Occupational Medicine, Administrative Management in OEM, and Arts
  Medicine to Resident and Recent Graduates, Transportation, and Work Fitness & Disability – provide networking
  opportunities via newsletters, list serves, and in-person meetings relevant to particular areas of interest. The ACOEM gives
  members the added bonus of participation in one of its affiliated Component Societies.




 Source: Membership Benefits
                                                                                                                             155
It also provides     members with
           Case: 1:17-md-02804-DAP        savings
                                   Doc #: 2364-56 Filed:on  publications,
                                                         08/14/19 157 of 279. PageID #: 385318
member mailing lists, conferences, and educational courses

                                                     Membership Benefits
•    Representation & Resources: The ACOEM supports a pro-active governmental affairs program by tracking issues
     affecting the practice of OEM, advocating sound public policy in Washington, DC, and by keeping its members abreast of
     the latest legislative and regulatory developments. ACOEM’s Occupational Medicine Practice Guidelines, 2nd ed., and its
     ongoing revisions, provides information in effective treatment of occupational injuries and illnesses providing essential
     evidence-based guidance that addresses the injured worker’s functional impairment and safe return to work. The Health
     and Productivity Toolkit provides information for the development of integrated health and wellness programs in the
     workplace. The ACOEM has also developed the Occupational Health Disaster Expert Network (OHDEN), creating
     resources for health professionals dealing with emergency situations, including terrorism, infectious outbreaks, and
     geological catastrophes.
•    Professional Liability Insurance: ACOEM members have access to a comprehensive professional liability insurance
     program offered by NIA Insurance Services and underwritten by Lloyds of London. This program is specifically designed
     for OEM physicians and available only to members of the ACOEM.
•    Savings & Benefits: The ACOEM provides its members with substantial savings on publications, member mailing lists,
     conferences, and educational courses. Additional value-added benefits include products and services such as complete
     online access to JOEM with full-text articles from 1996 to present, as well as receipt of a complimentary print copy of JOEM
     every month. The monthly E-News – ACOEM’s electronic newsletter – dispenses pertinent information about College
     activities and significant OEM issues. Members also receive significant savings on the courses and conferences offered by
     the College and publications such as the Occupational Medicine Practice Guidelines, 2nd ed., MRO Update (a newsletter
     published 10 times a year covering the regulatory and technological trends impacting medical review officers), and CDME
     Review (a quarterly newsletter for healthcare professionals who perform medical examinations on more than 8 million
     commercial drivers).




    Source: Membership Benefits
                                                                                                                               156
                    Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 158 of 279. PageID #: 385319
Key Partners/Sponsors

                                                  Key Partners/Sponsors


•       Medem

•       Medical Marketing Services




    Source: Key Partners
                                                                                                          157
Through its special
         Case:          interestDoc
               1:17-md-02804-DAP groups,
                                    #: 2364-56 the
                                               Filed: ACOEM      promotes
                                                      08/14/19 159 of 279. PageID #: 385320
communication opportunities among physicians

                               Relationship with/Influence on Primary Care Physicians

The ACOEM Promotes a Dialogue On Occupational and Preventive Health Among Physicians
• In the ACOEM, the OEM physician is part of a team that includes: nurse, physician assistant, private physician, physical
   therapist, epidemiologist, clinic, and hospital.
• The ACOEM consists of 20 special interest sections to promote dialogue on various topics:
       The Physicians in the Pharmaceutical Industry section promotes dialogue pertaining to the occupational and
          preventive health issues of the pharmaceutical industry.
       The Private Practice in Occupational Medicine section focuses on information exchange, education and state-of-the-
          art care in occupational and environmental medicine.




  Source: Physician; Sections; Physician
                                                                                                                         158
The ACOEM   conducts
         Case:             education
               1:17-md-02804-DAP          and Filed:
                                 Doc #: 2364-56 research
                                                     08/14/19 activities    to #: 385321
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promote healthcare for workers

Key Message: The ACOEM promotes the health of workers through research, and education

Education and Research Initiatives
• The ACOEM’s continuing medical education program, includes the American Occupational Health Conference - a meeting
  of occupational and environmental professionals. This conference also provides researchers in occupational and
  environmental medicine and related disciplines, such as occupational epidemiology and toxicology, with a forum to present
  their current research.
• It also offers a series of regularly scheduled courses in OEM.
• The College also provides distance learning opportunities.
       The ACOEM is accredited by the Accreditation Council for Continuing Medical Education (ACCME) to sponsor
          continuing medical education for physicians.
• The ACOEM also offers grants for research studies.
• In order to maintain the level of excellence in programming and to continue to develop opinions on the latest scientific
  advances in occupational and environmental health, the College looks to both individuals and corporations for financial
  backing. By supporting these educational initiatives, sponsors get recognized at ACOEM's meetings and in its publications.
• ACOEM’s website also provides tools for occupational health professionals such as practice guidelines, ACOEM Utilization
  Management Knowledgebase (UMK) a tool for managing treatment plans and patient care, and PowerPoint presentations,
  Its website also provides a list of guidelines, survey results, and other resources that can be purchased online.
• The ACOEM publishes the monthly Journal of Occupational and Environmental Medicine, ACOEM E-News, MRO Update
  (a (newsletter for medical review officers), CDME Review (a newsletter for commercial driver medical examiners), and
  books including the Occupational Medicine Practice Guidelines.
• It also conducts surveys to study various occupational and preventive health issues.




  Source: Education Initiatives; Research; Grants;
                                                                                                                           159
                  Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 161 of 279. PageID #: 385322
In 2008, the ACOEM published chronic pain guidelines

Key Message: The ACOEM provides medical treatment guidelines to take care of workers with chronic pain

Education Initiatives
• In 2008, the ACOEM published new medical treatment guidelines for providing care to workers with chronic pain. The new
  chronic pain guidelines are available in the Occupational Medicine Practice Guidelines 2nd Edition, 2008 Revision as well
  as electronically.
       The new evidence-based guidelines include more than 200 recommendations for chronic pain, developed by a
         multidisciplinary expert panel and reviewed by medical and health organizations. The recommendations focus on
         diagnostic and other testing and treatments for several chronic pain conditions, including: complex regional pain
         syndrome (CRPS), neuropathic pain, trigger points/myofascial pain, chronic persistent pain, fibromyalgia and
         chronic low back pain.
       Other highlights of the new chronic pain guidelines include:
              An in-depth review of over 20 medications (prescription, over-the-counter, complementary and alternative)
                used to treat patients with chronic pain, including an extensive appendix on guidance for the use of opioids.
              Detailed recommendations regarding the use of appliances (e.g., magnets), skilled allied-health provided
                medical therapies (e.g., acupuncture, manipulation/mobilization, myofascial release), electrical therapies
                (e.g., PENS, TENS).
              Uses and limitations of injection therapies (e.g., diagnostic and therapeutic facet joint injections,
                trigger/tender point injections, botulinum injections, intrathecal drugs).
              A discussion of spinal cord stimulation for CRPS and other painful conditions.
              A detailed review of psychological services (e.g., evaluation and behavior therapy) and rehabilitation for
                delayed recovery, including biofeedback, work conditioning/work hardening/early intervention programs, and
                interdisciplinary pain rehabilitation programs.
              A focus on functional restoration, including an active exercise program and behavioral program.




  Source: Chronic Pain Guidelines
                                                                                                                                160
The College  is1:17-md-02804-DAP
          Case: committed to     Docenhancing
                                     #: 2364-56 Filed:the  quality
                                                       08/14/19         of
                                                                162 of 279.                PageID #: 385323
practice in terms of preventive and clinical care

Key Message: The College is devoted to the prevention and management of occupational and environmental injury

Initiatives for Preventive Medicine and Clinical Care
• The College periodically issues position papers and committee reports that set practice guidelines for a variety of
    workplace/environmental settings.
         These position papers/committee reports cover topics such as spirometry, mold, environmental tobacco smoke,
            noise-induced hearing loss, multiple chemical sensitivities, workplace drug screening, confidentiality of medical
            information, depression screening, and reproductive hazards.
         The ACOEM has also established a Code of Ethical Conduct to guide occupational and environmental physicians.
• The ACOEM members are knowledgeable and capable of treating job-related diseases, recognizing and resolving
    workplace hazards, instituting rehabilitation methods, and providing well-managed care.
• Its website provides a link to The American Board of Preventive Medicine. This organization issues "certificates of special
    knowledge" in the specialty of Preventive Medicine. These certificates are what is referred to in the US as "Board
    Certification," and is generally recognized as verification of a physician's professional capabilities in that area.




  Source: Research Initiatives
                                                                                                                                161
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 163 of 279. PageID #: 385324




                        American Back Pain Association
The American     Back Pain Association
          Case: 1:17-md-02804-DAP                promotes
                                  Doc #: 2364-56 Filed:           effective,
                                                        08/14/19 164 of 279. PageID #: 385325

affordable, and least invasive treatments for back pain

Overview             •   The American Back Pain Association (ABPA) was organized to promote back pain relief by finding
                         and promoting the most effective, most affordable, and least invasive treatments for back pain
                         sufferers.
Mission              •   To provide information about various options available such as drugs, surgeries with focus on spinal
                         decompression as an option for back pain relief.

Key Target           •   The Association primarily targets back pain sufferers.
Audience
Geographic           •   The Association operates in the US.
Presence
Headquarters         P.O. Box 135
                     Pasadena, MD 21122-0135




 Source: ABPA; Address
                                                                                                                                163
The Association    provides detailed
         Case: 1:17-md-02804-DAP             information
                                 Doc #: 2364-56                 onofback
                                                Filed: 08/14/19 165        pain#: 385326
                                                                     279. PageID

treatments, especially spinal decompression

Key Message: To provide information on options available for back pain relief, especially spinal decompression.

ABPA provides detailed information on back pain and various treatments available, especially spinal decompression
• The ABPA website has separate pages for back pain, spinal surgery and spinal decompression that provide detailed
  information.
• A section of the website provides a list of back care clinics across the US.
• Patients can also receive free spinal decompression report titled, “Get Your Back, Back on Track” by registering on the
  website.




  Source: Spinal surgery, Spinal decompression, Back pain, clinics, Free report
                                                                                                                        164
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 166 of 279. PageID #: 385327




                                     Arthritis Foundation
The Arthritis
          Case:Foundation      works
               1:17-md-02804-DAP         to prevent,
                                 Doc #: 2364-56            control,
                                                Filed: 08/14/19          and
                                                                167 of 279. PageID #: 385328

cure arthritis and related diseases

Overview            •   The Arthritis Foundation is the only national not-for-profit organization that supports more than 100 types
                        of arthritis and related conditions.
                    •   It was founded in 1948 and has multiple service points located throughout the US.
                    •   According to the Foundation’s website, it is the largest private, not-for-profit contributor to arthritis
                        research in the world, funding more than $380 million in research grants since 1948.
Mission             •   To improve lives through leadership in the prevention, control and cure of arthritis and related diseases.
Key Activities      •   The Foundation helps people take control of arthritis by providing public health education; pursuing
                        public policy and legislation; and conducting evidence-based programs to improve the quality of life for
                        those living with arthritis. It offers brochures, a monthly newsletter, physician referral lists, and a video
                        tape lending library.
Strategic           •   In addition to work in the areas of research, public health and public policy, the Arthritis Foundation
Partnerships            partners with other organizations in the fight against arthritis.
                    •   The partners of the Arthritis Foundation include:
                             Centers for Disease Control and Prevention (CDC): The Arthritis Foundation works with the
                               CDC to promote public health efforts for arthritis and to implement objectives outlined in the
                               National Arthritis Action Plan: A Public Health Strategy to improve the quality of life for people with
                               arthritis and change people's attitudes and behaviors related to self-management.
                             National Institutes for Arthritis, Muscoloskeletal and Skin Diseases (NIAMS): The Arthritis
                               Foundation and NIAMS have partnered on many projects through the years, including a funding
                               agreement, where the Arthritis Foundation has committed almost $500,000 to fund new genetic
                               research that could find the way in which rheumatoid arthritis is diagnosed and treated.
                             Childhood Arthritis and Rheumatology Research Alliance (CARRA): To expedite the process
                               of answering questions related to childhood arthritis, a national network of pediatric rheumatology
                               centers, called the Childhood Arthritis and Rheumatology Research Alliance (CARRA), was
                               established in 2001. In April 2005, the Arthritis Foundation signed an agreement to provide a total
                               of $525,000 over 3 years.


  Source: Overview and Objective, Mission, Partnerships; Newsletter
                                                                                                                                        166
The Arthritis
          Case:Foundation      isDoc
               1:17-md-02804-DAP  a supporter
                                     #: 2364-56 Filed:of the worldwide
                                                       08/14/19 168 of 279. PageID #: 385329
Bone and Joint Decade

                          The American College of Rheumatology (ACR): The Arthritis Foundation and the American
                             College of Rheumatology (ACR) have a long-standing partnership concentrating on increased
                             patient and professional education, government funding of arthritis research through NIAMS, access
                             to appropriate healthcare from qualified pediatric and adult rheumatologists, and aiding access to
                             effective medication and other treatment options.
                          The Bone and Joint Decade: The Arthritis Foundation is a supporter of the worldwide Bone and
                             Joint Decade (2000-2010), a concerted global effort to help people affected by musculoskeletal
                             disorders, such as arthritis.
                  •     The Arthritis Foundation, the Association of State and Territorial Health Officials, and the Centers for
                        Disease Control & Prevention have developed the National Arthritis Action Plan (NAAP) to become active
                        on the public health challenges of arthritis.
Key Target        •     The Foundation targets arthritis patients and healthcare professionals.
Audience
Geographic        •     The Foundation has a national presence with 46 local offices in the US.
Presence

Headquarters      1330 W. Peachtree St.
                   Suite 100
                  Atlanta, GA 30309
                  Tel: 404-872-7100




 Source: Partnerships
                                                                                                                               167
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Key Partners/Sponsors

                                                 List of Key Partners/Sponsors
•    The Arthritis Foundation develops outreach, awareness and fundraising initiatives with the dedication, commitment and
     support of corporate partners.
•    These partnerships provide an opportunity for companies and their employees to join in the fight against arthritis and help
     millions of women, men and children take control of arthritis and live fulfilling lives.
•    In addition to sharing their resources in support of the Arthritis Foundation, these companies are encouraged to engage
     their employees in taking steps to prevent arthritis through regular physical activity, proper nutrition and maintaining a
     healthy weight.
•    The sponsors of the Arthritis Foundation make an annual commitment to directly support the foundation’s mission.
•    The premier-level sponsors of Arthritis Foundation are:




    Source: Sponsors
                                                                                                                                   168
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Key Partners/Sponsors

                                                     Types of Sponsors
• The Arthritis Foundation offers several types of sponsorships for Corporate to get associated with it such as:
Proceeds Sponsors
• Proceeds sponsors are those companies which make a minimum commitment to share a portion of the purchase price of
    goods or services to support the mission of the Arthritis Foundation and the company associated with this is Tomboy Tools.
Special Sponsored Initiatives
• The Arthritis Foundation often works with corporate partners to implement specific programs and initiatives that otherwise
    might not be possible. Bristol Myers Squibb is the sponsor of Let’s Talk RA program of Arthritis Foundation.
Event Sponsors
• The Arthritis Foundation organizes various special events such as the Arthritis Walk, Jingle Bell Run-Walk, the Bone Bash
    and Dinners and Galas. The list of sponsors sponsoring these type of events include:
        Biomet (Arthritis Walk)
        Enbrel (Arthritis Walk)
        Nature Made® TripleFlex™ (Arthritis Walk)
        ThermaCare (Jingle Bell Run/Walk)
Meeting/Conference Sponsors
• Genzyme (SNOW/Pain Conference)
• Columbus Medical Research (SNOW/Pain Conference)
In-kind and Other Corporate Gifts
• The Arthritis Foundation welcomes corporate sponsorship on a number of levels including in-kind sponsorships (i.e. the
    donation of products or services). The in-kind sponsorships include:
        HealthSouth
        Hilton
        Intercontinental Hotel Group
        Surgical Care Affiliates
        Uplift Technology


  Source: Types of Sponsorships
                                                                                                                             169
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Key Partners/Sponsors

                                                 Corporate Alliances
Platform Sponsors                 Proud Sponsors                              Conferences Sponsors
$500,000+                         $100,000 - $175,000                         up to $100,000
• Bristol-Myers Squibb            • Abbott                                    • Amgen Inc.
National Event & Program          • Amgen Inc.                                • Genzyme
Sponsors                          • Bristol-Myers Squibb                      • Wyeth Pharmaceuticals
$200,000 - $650,000               • Centocor Inc.                             Community Sponsors
• Amgen Inc.                      • Collections Etc.                          • Abbott
• Bayer HealthCare LL C           • Genentech Inc. and Biogen Idec Inc.       • Amgen Inc.
• Biomet Inc.                     • Joint Juice Inc.                          • Bayer HealthCare LL C
• Delta Air Lines                 • Merck & Co. Inc.                          • Biogen Idec Inc.
• McNeil Consumer & Specialty     • Novartis Pharmaceuticals Corporation      • Bristol-Myers Squibb
  Pharmaceuticals                 • Pharmavite LL C                           • Centocor Inc.
• NutriSystem Silver              • ProCaps Laboratories Inc.                 • DePuy Orthopaedics Inc.
• Pfizer Animal Health            • Schiff Nutrition International            • Genentech Inc.
• Pharmavite LL C                 • U.S. Nutrition                            • Genzyme
• Roche                           • Watkins Manufacturing Corporation         • HealthSouth Corporation
• Smith & Nephew Inc.             • Wyeth Pharmaceuticals                     • Johnson & Johnson
• ThermaCare Arthritis            • National Meeting and                      • Merck & Co. Inc.
• UCB Inc.                                                                    • Pfizer Inc.
• Wyeth Pharmaceuticals                                                       • Stryker Orthopaedics
                                                                              • Wyeth Pharmaceuticals




  Source: Annual Report 2007
                                                                                                          170
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Key Partners/Sponsors

                                             Ease of Use Sponsors – $25,000
•   Abbott                                • HydraBrush Inc.                     • ThermaCare Arthritis
•   Amgen Inc.                            • Johnson & Johnson Consumer          • Whirlpool Corporation
•   Antioch Company                         Companies Inc.                      • Wyeth Consumer Healthcare
•   Bayer HealthCare LL C                 • MasterBrand Cabinets Inc.
•   Braun, A Division of P&G              • Maxwell House Instant Coffee
•   Cardinal Brands Inc.                  • McNeil Consumer & Specialty
•   CastivaTM                               Pharmaceuticals
•   Coakley Cane Company LL C             • NuStep Inc.
•   DJO Inc.                              • Okamoto USA Inc.
•   Duracell® EasyTab® Hearing Aid        • Oreck Corporation
    Batteries                             • Pactiv Corporation
•   Eaton Corporation                     • Pentel of America Ltd.
•   Fiskars Garden & Outdoor Living       • Pfizer Consumer Healthcare
•   Flexon Industries                     • Pfizer Inc.
•   Folgers Coffee Company                • Pilot Pen Corporation of America
•   Footjoy® Golf Gloves                  • Rexam Plastic Packaging
•   GearWrench®                           • Roche
•   Grabber Performance Group             • Schering-Plough Corporation
•   HEALTHPOINT Ltd., a DFB Company       • SonicScrubbers LL C
•   Hillerich & Bradsby Company           • Solofex Inc.
•   Hoveround Corporation                 • Swingline®
                                          • Tempur-Pedic North America



    Source: Annual Report 2007
                                                                                                              171
The ArthritisCase:
              Foundation        Research
                   1:17-md-02804-DAP          Program
                                     Doc #: 2364-56         supports
                                                    Filed: 08/14/19        scientists,
                                                                    173 of 279. PageID #: 385334
physicians, and health professionals for arthritis research

                                 Relationship with/Influence on Primary Care Physicians (PCPs)

   Arthritis Foundation Research Program
   • The Arthritis Foundation has invested more than $380 million on research to support more than 2,200 scientists, physicians
      and health professionals involved in cutting-edge arthritis research.
   • During the current research year, the foundation has awarded 179 grants, including 69 new and 110 continuing grants to
      researchers in over 100 academic institutions.
   • The Research Program complements government and industry-based arthritis research by focusing on training new
      investigators and pursuing innovative strategies for preventing, controlling and curing arthritis.
   • The Arthritis Foundation funds three major types of grant mechanisms:
           Career development and training programs: These grants encourage scientists to begin research careers in the
              arthritis field and then helps them nurture their development into independent arthritis researchers.
           Investigator-initiated: These grants support basic, clinical and health services research relevant to arthritis.
           Special targeted research initiatives: These grants focus on promising areas of arthritis research or on specific
              types of arthritis.
   • The Arthritis Foundation within its focused grant mechanisms, funds a broad spectrum of types of research and scientific
      disciplines.
   • The Foundation's research includes studies relevant to many forms of arthritis and related conditions as well as studies
      that focus on specific conditions.
   • Its research portfolio comprises:
           Basic "bench" research in such areas as genetics, immunology, biochemistry and cell biology to identify the genes
              that cause arthritis and the underlying disease processes
           Clinical "bedside" and behavioral studies that utilize human subjects to develop and test new medical, rehabilitation,
              surgical and psycho educational treatments
           To research in the "trenches" including epidemiology studies to increase understanding of patterns of disease and
              health services research to improve quality of care and ensure that scientific advances in treatment are integrated
              into practice.


     Source: Research Program
                                                                                                                                 172
The Foundation’s     health magazine,
         Case: 1:17-md-02804-DAP Doc #: 2364-56Arthritis     Today,
                                                Filed: 08/14/19          provides
                                                                174 of 279. PageID #: 385335
news reports on treatment and research of arthritis

Key Message: To provide self-education and self-help to people suffering from chronic illness

Arthritis Today Magazine
• Arthritis Today, a national consumer health magazine, is published by the Arthritis Foundation to help people with arthritis
   take control of their lives and their health.
• Arthritis Today’s mission is to give readers the information, resources and inspiration they need to live better with arthritis.
• The magazine provides news reports and analyses of the latest trends in treatment and research, with perspective from
   the top minds in the field.
• It also finds intriguing ways to present self-management techniques that can improve energy levels, range of motion,
   outlook, compliance with treatment plan and motivation.


Key Message: To activate people who can benefit from exercise, especially those influencing people with arthritis

Let's Move Together
• Let's Move Together is a nationwide movement led by the Arthritis Foundation that encourages people to move every day
   to prevent or treat arthritis.
• The movement aims to activate anyone and everyone who can benefit from exercise, especially those who can influence
   and inspire those with arthritis.
• People can join the movement by committing to participate in their local Arthritis Walk and to move daily for better health.




  Source: Arthritis Today, Let’s Move Together
                                                                                                                                     173
The Advocacy      and Kids’ Summit
           Case: 1:17-md-02804-DAP          is anFiled:
                                   Doc #: 2364-56  event     organized
                                                        08/14/19              by #: 385336
                                                                 175 of 279. PageID
Arthritis Foundation for children

Key Message: To create awareness and provide education to children and their parents about arthritis

2009 Advocacy and Kids’ Summit!
• The Arthritis Foundation organized the Advocacy and Kids’ Summit as an opportunity for advocates to rally together as one
   voice on Capitol Hill, March 2 - 4, 2009.
• In the summit activity sessions were specifically designed for children, including preparations for Capitol Hill visits, along
   with sessions for adults.
• Children from grades nine through twelve attended the training sessions with their parents.
• During the summit, advocates met personally with their Members of Congress and their staff to share their personal story
   of living with arthritis.
• Activities for advocates during the summit:
         Training workshop
         How best to communicate with their elected officials
         Network with fellow advocates




  Source: 2009 Advocacy Kids Summit
                                                                                                                               174
The Arthritis
          Case:Foundation      raises
               1:17-md-02804-DAP         moreFiled:
                                 Doc #: 2364-56 than   $8 million
                                                    08/14/19 176 of 279.                    PageID #: 385337
annually by organizing dinners and parties

Key Message: The Arthritis foundation organizes various events and programs for education and awareness of
Arthritis among people

Some of its key events include:
The Arthritis Walk®
• The Arthritis Walk is the Arthritis Foundation’s annual nationwide event that raises awareness and funds to fight arthritis,
   the nation’s most common cause of disability.
Arthritis Foundation’s Life Improvement Series
• The Arthritis Foundation’s Life Improvement Series empowers people with arthritis through aquatic, exercise and self-help
   programs.
• The programs are run by nationally certified instructors to increase mobility reduce pain and stiffness and physician visits
   for people who participate in these informative group programs.
• These programs are specifically designed for people with arthritis, and the Life Improvement Series includes following
   programs:
        Arthritis Foundation Aquatic Program
        Arthritis Foundation Exercise Program
        Arthritis Foundation Self-Help Program
        Tai Chi Program
        Walk With Ease program
• Some of the other events organized by Arthritis Foundation includes the Joints in Motion marathon training program and
   the Jingle Bell Run/Walk.
• The Arthritis Foundation also hosts a variety of events, from traditional black-tie galas and testimonial dinners to themed
   parties and wine events, raising more than $8 million annually.




  Source: Events & Programs
                                                                                                                                 175
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 177 of 279. PageID #: 385338




                              Neuropathic Pain Network
The Neuropathic      Pain Network
          Case: 1:17-md-02804-DAP         is focused
                                  Doc #: 2364-56          on
                                                 Filed: 08/14/19                  178 of 279. PageID #: 385339
the treatment of neuropathic pain

Overview               •   The Neuropathic Pain Network (NPN), formed in 2004, today has 14 member organizations
                           representing Europe, North America, South America, and Australia.
                               The NPN is the first global coalition of organizations established to support people with
                                 neuropathic pain.
Mission                •   The NPN is a coalition of organizations that exists to actively support people with neuropathic pain,
                           by enabling them to better cope with their pain, to obtain the best treatment and, ultimately, to
                           improve the quality of their lives.
Key Objectives         •   To raise awareness and educate those organizations who have the ability to impact the treatment (by
                           society and medical management) of people with neuropathic pain.
                       •   To help people with neuropathic pain access the most appropriate treatment and provide them the
                           support to improve their lives.
Key Activities         •   NPN’s key activities include:
                              Arranging workshops, meetings and conferences for its members.
                              Support patients by providing access to information
                              Providing resource tools for patients and physicians
Key Target             •   It aims to reach local media, healthcare professionals and the public through its awareness
Audience                   programs.
Geographic             •   The group has an international presence.
Presence
Headquarters           Frankfurt, Germany




  Source: Neuropathic Pain Network, Foundation Overview
                                                                                                                                   177
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Members

                                                     List of Members
•     Canadian Pain Coalition, Canada
•     Chile Diabetic Association, Chile
•     Danish Chronic Pain Association, Denmark
•     European League of Diabetics, Spain
•     Finnish Pain Patient Association, Finland
•     Italian Peripheral Neuropathy Association (AINP-onlus), Italy
•     The Mexican Association for the Study and Treatment of Pain (AMETD), Mexico
•     Peruvian Association of Diabetes (APDI), Peru
•     Portuguese Association for the Study of Pain, Portugal
•     French Association of Diabetes




    Source: Membership; Corporate Members
                                                                                                         178
The NPN provides        educational
           Case: 1:17-md-02804-DAP Doc #: information        on neuropathic
                                          2364-56 Filed: 08/14/19 180 of 279. PageID #: 385341

pain to its members and patients

Key Message: The NPN promotes education and patient care in the field of neuropathic pain and associated
disorders

Education Initiatives Targeted at Patients
• The network website provides information on neuropathic pain, about the signs and symptoms of neuropathic pain as well
  as identify measures to combat the condition, targeted at patients.
• The website has versions available in English, Deutsch, French and Spanish.
Education Tools Targeted at Member Organizations
• It also provides a Neuropathic pain toolkit for its members, which includes brochures, presentations and other documents
  on Neuropathic pain.
• This website also provides links to its member organisation spread over various countries, which are themselves groups of
  doctors, nurses, nutrition specialists, psychologists, podologists, scientists and other pain specialists.




  Source: Initiatives; Education; Pain Program
                                                                                                                          179
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 181 of 279. PageID #: 385342




                                American Cancer Society
The American     Cancer Society
          Case: 1:17-md-02804-DAP     is2364-56
                                  Doc #: dedicated        to eliminating
                                                Filed: 08/14/19 182 of 279. PageID #: 385343
cancer as a major health problem

Overview         •   Founded in 1913, the American Cancer Society (ACS) is a nationwide (US), community-based voluntary
                     health organization.
                 •   The ACS has established an entity The American Cancer Society Foundation to accelerate the control and
                     cure of cancer by securing major gifts and endowments from individuals, corporations, and foundations to
                     support research, programs, and services of the ACS and its Chartered Divisions.
                 •   The Society consists of a National Home Office with 13 chartered Divisions throughout the US and a
                     presence in most communities.
                         The National Home Office: The office is responsible for overall planning and coordination of the
                            Society’s programs for cancer information delivery, cancer control and prevention, advocacy,
                            resource development, and patient services. The National Home Office also provides technical
                            support and materials to Divisions and local offices, and administers the intramural and extramural
                            research programs.
                         The Divisions: The Society’s 13 Divisions are governed by Division Boards of Directors composed
                            of both medical and lay volunteers throughout the US and Puerto Rico. The Divisions are
                            responsible for program delivery in their regions.
                         Local Offices: More than 3,400 local offices nationwide are organized to deliver cancer prevention,
                            early detection, and patient services programs at the community level.
                         Volunteers: More than two million volunteers donate their time to further cancer research; educate
                            the public about early detection and prevention; advocate for responsible cancer legislation in the
                            local, state, and federal governments; and serve cancer patients and their families as they manage
                            their cancer experience.
Mission          •   To eliminate cancer as a major health problem by preventing cancer, saving lives, and diminishing
                     suffering from cancer, through research, education, advocacy, and service.
                 •   Its international mission concentrates on capacity building in developing cancer societies and on
                     collaboration with other cancer-related organizations throughout the world in carrying out shared strategic
                     directions.



 Source: American Cancer Society; Mission
                                                                                                                                   181
The ACS aims    to reduce cancer
         Case: 1:17-md-02804-DAP         incidence
                                 Doc #: 2364-56         and mortality,
                                                Filed: 08/14/19                and
                                                                183 of 279. PageID #: 385344
improve the quality of life of people suffering from cancer

Key Objectives       •   Goals for the year 2015: Reducing cancer incidence and mortality and improving quality of life for
                         people touched by cancer.
Key Activities       •   The society’s key activities include:
                             Conducting research in cancer
                             Educating the public about early detection and prevention of cancer
                             Advocating for responsible cancer legislation in the local, state, and federal governments
                             Serving cancer patients and their families as they manage their cancer experience.
Geographic           •   The ACS has a national presence.
Presence             •   It has state divisions and more than 3,400 local offices in the US.
Headquarters         250 Williams St., Ste. 600
                     Atlanta, GA 30303




  Source: American Cancer Society; Mission; Objective
                                                                                                                              182
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Key Partners/Sponsors

                                                 List of Key Partners/Sponsors
•     The ACS’s goal is to build lasting relationships with major US companies by offering and implementing products and
      services that help employers meet their business goals while increasing mission and income returns to the Society. These
      business goals are a combination of sales, health and wellness, employee recruitment and retention, corporate 'good
      citizen,' philanthropy, and community involvement activities.
•     The ACS recognized these community leaders and expressed sincere gratitude for their contributions by awarding each
      corporation listed below with the 2008 Corporate IMPACT Award during its annual meeting.
         AstraZeneca
         AT&T
         dressbarn, inc.
         HSBC - North America
         International Business Machines Corporation (IBM)
         Merrill Lynch
         MetLife
         Novartis Corporation
         PartyLite Gifts, Inc.
         Pfizer, Inc.
         Sanofi-Aventis
         The Longaberger Company
         Wal-Mart Stores, Inc.,/Sam’s Club
         Walgreens
         Wells Fargo




    Source: Partners
                                                                                                                             183
The ACS offers    research grants
         Case: 1:17-md-02804-DAP         to individuals
                                 Doc #: 2364-56 Filed: 08/14/19interested      in #: 385346
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pursuing academic careers in primary care specialties

                             Relationship with/Influence on Primary Care Physicians

The ACS Offers Research Grants such as the Cancer Control Career Development Awards for Primary Care
Physicians
• This program is intended to encourage and assist in the development of promising individuals who will pursue academic
   careers in primary care specialties with an emphasis on cancer control. Through the Cancer Control Career Development
   Award, the Society seeks to support primary care physicians in supervised programs that will develop the candidate's
   clinical and teaching expertise and his/her capacity to perform independent research in cancer control.
• It is anticipated that medical school faculty trained under these awards will promote cancer control activities and
   methodology to students and physicians in the academic setting, as well as those in private practice, and enhance the
   cancer control knowledge base through scholarly activity.
• Candidates must have a full-time faculty appointment and generally be no more than 10 years beyond training at the
   beginning of the award. Awards are for 3 years and for up to $100,000 per year. A maximum of $10,000 per year for the
   mentor (s) may be included in the budget.

The ACS Conducted A Research Study Among Primary Care Physicians
• In 2007, the ACS and Columbia University collaborated and conducted a study to assess the efficacy of an intervention,
   academic detailing, a brief, frequently repeated educational program, on increasing recommendations for colorectal cancer
   screening among primary care providers by comparison to a service-as-usual control.




  Source: Award; Research Study; Grant Program
                                                                                                                           184
The ACS isCase:
           the1:17-md-02804-DAP
                largest source      of2364-56
                                Doc #:  private,     non-profit
                                              Filed: 08/14/19         cancer
                                                              186 of 279. PageID #: 385347

research funds in the US

Key Message: The Society’s research efforts are directed towards determining the causes of cancer and to support
efforts to prevent and cure the disease.

Research Initiatives
• The ACS is claimed to be the largest source of private, nonprofit cancer research funds in the US, second only to the
  federal government in total dollars spent.
• The research program focuses primarily on peer-reviewed projects initiated by beginning investigators working in leading
  medical and scientific institutions across the US.
• The program consists of three components: extramural grants, intramural epidemiology and surveillance research, and the
  intramural behavioral research center.
       The extramural program supports investigator-initiated projects taking place in leading centers across the country,
        as well as training grants in selected health professions.
       Intramural epidemiologic research at the Society publishes descriptive information about trends in cancer incidence,
        cancer mortality, cancer risk factors, and cancer patient care, and studies the causes and prevention of cancer in
        large prospective studies.
             Since 1998, the department has collaborated with the National Cancer Institute (NCI) and the Centers for
                Disease Control and Prevention (CDC) -- including the National Center for Health Statistics - to produce the
                Report to the Nation on progress related to cancer prevention and control in the US.
             Internationally, the department collaborates with the World Health Organization to publish tobacco control
                country profiles, plus a monograph on tobacco consumption, production, and trade in 197 countries. The
                department also analyzes patterns of cancer causation in large prospective studies.
       Behavioral Research Center (BRC): The Center was established in 1995 to conduct original behavioral and
        psychosocial cancer research, provide consultation to other parts of the Society, and facilitate the transfer of
        behavioral and psychosocial research and theory to improve cancer control policies.




  Source: Research; Research
                                                                                                                           185
Its education   programs areDoc
          Case: 1:17-md-02804-DAP directed    at educating
                                   #: 2364-56 Filed: 08/14/19 187 ofthe
                                                                     279. PageID #: 385348
public about cancer risks, detection, and prevention

Key Message: The ACS takes initiatives to educate the public about cancer management

Education Initiatives
• The Society offers programs to help educate the public about cancer risks, early detection methods, and prevention.
  Educational efforts include: tobacco control; relationship between diet and physical activity and cancer; sun safety; and
  comprehensive school health education.
• The Society also focuses on a variety of early detection programs and encourages regular medical checkups and
  recommended cancer screenings.
• It seeks to provide the public and health care professionals with the latest cancer resources to help them make informed
  decisions. Through national conferences and workshops, a website (www.cancer.org), the National Cancer Information
  Center, workshops, multimedia, and print publications, the Society provides valuable information to deal with Cancer. The
  Society also has a toll-free information line.
• The ACS has a Press Room on its website which provides the society's press releases, including details about its most
  recent announcements and events.
• It also offers newsletters providing insightful information. These include:
       New Connections an electronic newsletter, published every other month, designed to benefit anyone touched by
          cancer.
       The IMPACT Newsletter recognizes and supports the efforts of corporations engaged with the Society. This
          newsletter is written from the employer's perspective using quotes and interviews to share insight into the decision
          making process when a company decides to work with the Society.
• The ACS website offers information, tools, resources on cancer pain as well as links to other websites that provide
  information on local cancer pain initiatives. These include:
       Pain Control: A Guide for People With Cancer and Their Families: Includes information about pain control
          methods, medicines for cancer pain, and non-drug treatments for managing cancer pain.
       Pain Diary : The ACS offers a pain diary on its website which includes a chart to where patients can rate their pain
          and keep a record of how well the medicine is working.
       The ACS News Center: Provides information on cancer pain related issues.

  Source: Education; Education; Newsletter; IMPACT; Cancer Pain
                                                                                                                                 186
The ACS’sCase:
          advocacy       and support
               1:17-md-02804-DAP           activities
                                 Doc #: 2364-56           are 188
                                                Filed: 08/14/19 directed     at #: 385349
                                                                   of 279. PageID
improving the quality of life of cancer patients

Key Message: The society supports patients by providing support and service programs

Patient Support and Services
• The patient support activities cover a wide range of needs—from connecting patients with other survivors to providing a
   place to stay when treatment facilities are far from home.

Key Message: The ACS’s advocacy initiatives are directed at promoting beneficial policies, and regulations for those
affected by cancer
Advocacy Initiatives
• The Society has identified advocacy as one of its top corporate priorities and works nationwide to promote beneficial
  policies, laws, and regulations for those affected by cancer. Its advocacy efforts work in concert with its research,
  education, and service initiatives to strengthen the nation’s laws, regulations, and programs in a way that will:
     Increase federal funding for cancer research
     Help more people benefit from advances in prevention, early detection, and treatment
     Make it easier for patients to navigate the health care system
     Improve the quality of life of cancer patients, survivors, and their families
• Its advocacy initiatives rely on the combined efforts of a community-based, grassroots network of cancer survivors and
  caregivers, ACS volunteers and staff, healthcare professionals, public health organizations, and other collaborative
  partners.
• The ACS has also established a sister issue advocacy organization, the American Cancer Society Cancer Action
  Network(SM) (ACS CAN) (www.acscan.org). The ACS CAN is dedicated to eliminating cancer as a major public health
  problem through voter education and issue campaigns aimed at influencing candidates and lawmakers to support laws and
  policies that will help people fight cancer.




  Source: Patient Services and Advocacy;
                                                                                                                            187
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                        Southern California Cancer Pain
                              Initiative (SCCPI)
The SCCPICase:
           is a1:17-md-02804-DAP
                 major forceDoc  in #:the  US Filed:
                                       2364-56 in advocating          forPageID #: 385351
                                                     08/14/19 190 of 279.
better pain relief for cancer patients

Overview             •   Founded in 1993, the Southern California Cancer Pain Initiative (SCCPI) is a nonprofit volunteer
                         interdisciplinary organization made up of physicians, nurses, pharmacists, social workers and many
                         other professionals dedicated to the relief of cancer pain.
                     •   The SCCPI works closely with other professional and regulatory agencies to remove barriers to
                         optimum pain relief.
Mission              •   To promote optimum pain relief for all people with cancer
Key Objectives       •   Increase knowledge of professionals about pain due to cancer
                     •   Increase knowledge of patients/public about pain due to cancer
                     •   Eliminate systems/regulatory barriers
Key Activities       •   Provide pain education to professionals and the patients/public
                     •   Conduct advocacy activities to eliminate systems/ regulatory barriers
Number of            •   The SCCPI includes approximately 3,000 individual members and three active committees:
Members And                  Non-Malignant Pain Task Force to help promote awareness of long-term chronic pain
Key Target                     sufferers.
Audience                     Professional Education to improve knowledge of healthcare professionals involved in cancer
                               pain management.
                             Regulatory Affairs to identify and overcome regulatory barriers in pain management.
Geographic           •   The central office is located in the Los Angeles region with additional regions located in San Diego,
Presence                 Inland Empire, Orange and Ventura Counties.
Headquarters         SCCPI
                     c/o City of Hope
                     1500 E. Duarte Road
                     Duarte, CA 91010



  Source: SCCPI; SCCPI
                                                                                                                                 189
The Initiative
           Case: has   three types
                 1:17-md-02804-DAP     of2364-56
                                   Doc #:  members:         SCCPI,
                                                 Filed: 08/14/19 191 of Individual
                                                                        279. PageID #: 385352
Sponsorship, and Corporate and Institution Sponsorship

                                                     Membership Criteria
•   SCCPI Member: Membership is free and includes a subscription to the newsletter and notification of SCCPI sponsored
    educational activities.
•   Individual Sponsorship: Membership involves a donation of $25 or more. Membership benefits include a subscription to
    the newsletter, notification of educational activities and a certificate noting SCCPI membership.
•   Corporate and Institution Sponsorship: Membership involves a donation of $500—$1000 donation. Membership benefits
    include a subscription to the newsletter, Corporate or Institution name will be listed in 3 SCCPI newsletter editions under
    “Corporate Sponsors” and also on the SCCPI website, in addition to a certificate noting the SCCPI corporate membership.




    Source: Membership
                                                                                                                              190
It offers its members
            Case:             access
                  1:17-md-02804-DAP Docto   the SCCPI
                                        #: 2364-56           newsletter,
                                                   Filed: 08/14/19             which
                                                                   192 of 279. PageID #: 385353
includes articles on pain and pain education conferences

                                                      Membership Benefits
 •     The SCCPI newsletter, which is published and mailed three times a year.
         It includes articles related to pain, pain education conferences and special events, and regulatory and legislative
           updates
 •     The SCCPI Awards Gala which honors individuals and groups who have contributed substantially to cancer pain relief
 •     The Equianalgesic Pocket Card - a quick reference aid for pain management.
 •     Access to the SCCPI website at http://sccpi.coh.org




     Source: Benefits; Pocket Card
                                                                                                                                191
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 193 of 279. PageID #: 385354
Key Partners/Sponsors

                                              Corporate Partners/Sponsors
•      Peter White, MD
•      Pain Management Medical Corporation
•      Pomona, CA

                                             Institutional Partners/Sponsors
•      USC/Norris Cancer Hospital




    Source: Sponsors
                                                                                                         192
The SCCPICase:
           comprises       physicians,
               1:17-md-02804-DAP            nurses,
                                 Doc #: 2364-56         pharmacists,
                                                Filed: 08/14/19              and #: 385355
                                                                194 of 279. PageID
other professionals dedicated to relieving cancer pain

                             Relationship with/Influence on Primary Care Physicians

The SCCPI includes Physicians As its Members and it Also Participates in Various Conferences Targeted at Them
• The SCCPI, a nonprofit volunteer organization, is made up of physicians, nurses, pharmacists, social workers and many
   other professionals dedicated to the relief of cancer pain.
       The SCCPI and City of Hope were the co-sponsors of the May 2008, Women in Pain: Gender Matters, a conference
          at the City of Hope Medical Center, in the US.
               The conference focused on the gender inequalities in the treatment and research of pain.
               The conference was targeted at physicians, nurses, pharmacists, social workers, lawmakers, women in pain
                 and many others dedicated to the awareness of chronic pain issues affecting women.




  Source: SCCPI;
                                                                                                                       193
The SCCPICase:
           works     to improve
               1:17-md-02804-DAP Doc the   knowledge
                                     #: 2364-56               of195
                                                Filed: 08/14/19  healthcare
                                                                    of 279. PageID #: 385356
professionals involved in cancer pain management

Key Message: The SCCPI focuses on increasing pain education among professionals
Education Initiatives
• In medical and nursing schools and organizations with social workers, the SSCPI is taking these initiatives:
     Collaboration with Boards of Medicine and Nursing
     Inclusion of medical and nursing faculty in SCCPI education programs
     Communication with medical educators and other curriculum deans for dialogue, planning and follow-up to the laws
       requiring pain management and End of Life (EOL) education
• For pain management and End of Life (EOL) education:
     runs the annual PRN course (since 1993)
     co-sponsors the EPEC course and other courses scheduled in Southern California
     sponsored the Women in Pain Conference in 2008
• To develop other educational strategies other than conferences:
     distributed 3,500 pocket cards in 2008
     publishes and distributes the thrice-a-year SCCPI newsletter (with articles on cancer pain, survivorship, culture, end-
       of-life care, pediatrics, and regulatory)
• To assist/collaborate in the formation of the Northern California Pain Initiative (NCPI):
     Selects board members to participate in NCPI conference calls
     SCCPI Director attended 2005-2008 NCPI strategic planning meetings
• To recognize professionals:
     organized the SCCPI Gala in November 2008
     Recognizes professionals in SCCPI newsletter and on website




  Source: SCCPI
                                                                                                                                194
The SCCPICase:
           also   works to improve
               1:17-md-02804-DAP            theFiled:
                                 Doc #: 2364-56  knowledge         of279.
                                                      08/14/19 196 of                    PageID #: 385357
patients about cancer pain

Key Message: The SCCPI focuses on increasing the knowledge of patients/public
Education Initiatives
• For a media campaign focused on demystifying use of opioids and other misconceptions the SCCPI is:
     providing news releases about SCCPI Gala and Awardees’ accomplishments
     publications by SCCPI Board members
     publishing a collaborative press release with NCPI on cancer pain management (2004-2008)
• To educate patients and the public through its website, the SCCPI:
     updated its website with greater content with PDF access to newsletter, and increased links to various organizations.
• To more effectively disseminate existing patient education materials and develop new materials:
     Holds patient public education conference through ACS CAR grant
     Attends multiple End-of-Life Nursing Education Consortium (ELNEC) courses, EPEC (Education in Palliative and End-
       of-life Care), and Pain Resource Nurse (PRN) training course 2004-2008
     Disseminates pain materials in conjunction with City of Hope Pain/Palliative Resource Center
     Provides Link to City of Hope Pain/Palliative Resource Center on the SCCPI website
• To more aggressively disseminate and develop culturally sensitive materials:
     Created a Hispanic brochure through ACS CAR grant now disseminated in the US through ACS
     Had a special section in SCCPI newsletter that focused on Sickle Cell disease 2005
• The SCCPI has affiliations with pain management and end-of-life groups and organizations such as:
     Alliance of State Pain Initiatives (ASPI)
     American Cancer Society (ACS) member on SCCPI Board
     Oncology Nurses Society (ONS) members on SCCPI Board
     California Hospice Association members on SCCPI Board
     SCCPI added American Society of Pain Management Nurses (ASPMN) as an affiliate organization in 2007



  Source: SCCPI
                                                                                                                          195
It works with   regulatory agencies
         Case: 1:17-md-02804-DAP             toFiled:
                                 Doc #: 2364-56 remove08/14/19barriers
                                                               197 of 279. to
                                                                           PageID #: 385358
optimum pain relief

Key Message: The SCCPI focuses on eliminating systems/regulatory barriers
•    To develop a community outreach program which will incorporate the patient’s voice into SCCPI’s mission and future
     activities:
       A sub-committee was developed to explore the patient’s perspective of SCCPI
       Invited patient’s from various backgrounds, ages, and ethnicities to participate in focus group
•    To identify organizations than can work with SCCPI in eliminating regulatory barriers:
       SCCPI leads a large group on proposed legislation each year & consistently establishes new contacts
       SCCPI serves as a resource for legislators on various topics related to cancer pain management
       SCCPI disseminates educational materials and information on regulatory barriers
       Fortifies relationships with legislators and regulators
•    To monitor and advocate for changes in regulatory barriers to pain management:
       SCCPI supported POLST (Physician Orders for Life-Sustaining Treatment) legislation in 2008
       The Board approved endorsing the National Pain Care Policy Act of 2007. There was an article in the SCCPI July
           2007 newsletter.
       Information on HR1020, reimbursement on pain and palliative care research, was in the November 2006 SCCPI
           newsletter




    Source: SCCPI
                                                                                                                          196
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                       Association for Repetitive Motion
                                  Syndromes
The ARMSCase:
           supports    at-riskDoc
              1:17-md-02804-DAP workers
                                  #: 2364-56 or  workers
                                             Filed:           injured
                                                    08/14/19 199 of 279. PageID #: 385360
by repetitive motion syndromes

Overview         •   Founded in 1990, the Association for Repetitive Motion Syndromes (ARMS) is a not-for-profit
                     organization committed to assisting workers at-risk or injured by repetitive motion syndromes.
                         The term "repetitive motion syndromes" refers to a group of injuries that result from performing the
                           same physical motion over and over again.
                 •   It operates solely through the efforts of volunteers and without paid staff. Funding is provided through
                     memberships, individual and corporate contributions, and paid advertising in the association's newsletter.
                 •   The Association has received national coverage from such publications as Time Magazine and the
                     Congressional Quarterly Researcher and is the only international Repetitive Strain Disorders (RSI)
                     resource listed in Dr. Koop's Self-Help Advisor, written by the former Surgeon General of the US.
Key Activities   •   Services available through ARMS include:
                       Comprehensive quarterly newsletter with current information on such topics as medical research,
                          treatment alternatives, insurance and legal issues, and ergonomic concerns.
                       Information packets on a wide variety of topics, including specific injuries, ergonomics, medical
                          treatments, and legal assistance.
                       Assistance and advice in the formation of regional support groups for those affected by repetitive
                          motion syndromes and referral to local resources.
                       Access to ARMS' comprehensive collection of articles and studies catalogued by periodical, type of
                          injury, profession, and location.
                       Sponsorship of support meetings and presentations, including seminars.
Key Target       •   The ARMS provides assistance to employers, workers compensation specialists, and healthcare
Audience             professionals.
Geographic       •   The Association provides assistance in the US and abroad through the internet, by telephone, and
Presence             through written information packets.
Headquarters     P.O. Box 471973
                 Aurora, CO 80047-1973


  Source: ARMS; Founded
                                                                                                                              198
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                          Reflex Sympathetic Dystrophy
                              Syndrome Association
The RSDSA aims
        Case:      to create awareness
              1:17-md-02804-DAP                   about
                                Doc #: 2364-56 Filed:       the
                                                      08/14/19 201 of 279.                     PageID #: 385362
Complex Regional Pain Syndrome

Overview              • The Reflex Sympathetic Dystrophy Syndrome Association (RSDSA) was founded in 1984 to promote
                        public and professional awareness of Reflex Sympathetic Dystrophy Syndrome (RSD or RSDS), also
                        known as Complex Regional Pain Syndrome (CRPS).
                      • The RSDSA is affiliated with the following organizations:
                              Partners for Understanding Pain
                              National Organization for Rare Disorders (NORD)
                      • The association’s sponsors represent a very diverse group and include pharmaceutical and medical
                        device companies, insurance companies, representatives from the printing and production industries,
                        and private citizens. Two of the association’s sponsors are Medtronic and RR Donnelley.
Mission               • To promote public and professional awareness of CRPS and to educate those afflicted with the
                        syndrome, their families, friends, insurance and healthcare providers on the disabling pain it causes.
                        The association encourages individuals with CRPS to offer each other emotional support within affiliate
                        groups.
                      • It is also committed to raising funds for research into the cause and cure of CRPS.
Key Objectives        • The association’s key goals are education, awareness, and research.
Number of             • The association has more than 7,000 members, (731, or 10%, receive free membership).
Members And           • Its members include patients, family and friends, healthcare professionals, attorneys, and
Key Target              businesspeople who understand the effects of CRPS.
Audience              • In 2007, the association’s electronic alert list had more than 4,000 participants, and its website
                        continues to host more than 30,000 unique visitors each month.
Geographic            •   The Association has presence in the US.
Presence
Headquarters          P.O. Box 502
                      Milford, CT 06460


 Source: Association; Sponsors
                                                                                                                              200
The RSDSA    provides
          Case:           its members
                1:17-md-02804-DAP            with
                                  Doc #: 2364-56     benefits
                                                 Filed:            such
                                                        08/14/19 202 of 279.as
                                                                             PageID #: 385363

access to its newsletter and articles

                                                      Membership Benefits
 •     RSDSA Review, a quarterly newsletter, provides up-to-date information on treatment, research, legislation and legal
       issues.
 •     RSDSA Review Digest, compendium of research and treatment articles from 2006 to 2008
 •     Pen Pal Service, a patient support program exclusively for RSDSA members
 •     Referral Service to physicians and other services
 •     Special mailings announcing timely news about discounts on RSDSA literature and conferences




     Source: Membership Benefits
                                                                                                                             201
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Key Partners/Sponsors

•    The RSDSA published a new edition of CRPS guidelines titled Complex Regional Pain Syndrome: Treatment Guidelines.
•    The guidelines have been written for a professional audience and the funding was provided by grants from the following
     organizations:
         National Organization of Rare Disorders
         Purdue Pharma L.P.
         The Celgene Corporation
         The Medtronic Foundation
•    On March 28, 2009, the RSDSA is organizing an all-day live course on New Perspectives on CRPS Research, Diagnosis,
     Treatment.
•    The target audience for the all-day course are Clinicians on the front line of diagnosing the syndrome, such as
     anesthesiologists, neurologists, primary care physicians, neurologists, internists, nurse practitioners, and other healthcare
     professionals.
•    The course activity is sponsored by educational grants from:
         Celgene
         Endo Pharmaceuticals
         Medtronic, Inc.
         Medtronic Foundation
         Nippon Zoki
         Advanced Bionics, a Boston Scientific Company




    Source: CRPS Treatment Guidelines, RSDSA Conference
                                                                                                                                     202
It provides members
          Case:            with a
                1:17-md-02804-DAP   referral
                                  Doc #: 2364-56 service      to 204 of 279.
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physicians and links to websites targeted at them

                           Relationship with/Influence on Primary Care Physicians
RSDSA Provides Several Resources on its Website that Provide Information on Physicians
• RSDSA members are provided with a referral service to physicians.
• The RSDSA committee that assesses research proposals for grants is composed of physicians, researchers, and clinicians
  that evaluate each grant proposal.
• The RSDSA website also provides to its patients links to other websites with a database of physicians.
• Its website also provides links to websites that are targeted at physicians. These include:
       The National Foundation for the Treatment of Pain provides support for people suffering from intractable pain, their
         families, friends, and the physicians who treat them.
       The American Academy of Physical Medical and Rehabilitation is the national medical society representing more
         than 7,500 physicians who are specialists in the field of physical medicine and rehabilitation (PM&R).
       The American Academy of Pain Management (AAPM) is a multidisciplinary pain society and a physician-based pain
         society in the US.

The RSDSA Allows its Collaterals to be Placed in Physicians Offices Under the ‘That's the Spirit’ Campaign
• That's the Spirit Campaign: Under this campaign, the association allows students of the Ball Satte University in the US, to
   take copies of RSDSA materials, such as the newsletter, brochures, to their physician's office or medical center.




  Source: Physician
                                                                                                                                203
Through awareness,       education,
         Case: 1:17-md-02804-DAP         and advocacy
                                 Doc #: 2364-56 Filed: 08/14/19initiatives,     the
                                                                205 of 279. PageID #: 385366

RSDSA promotes public and professional awareness of CRPS

Key Message: The Association promotes public and professional awareness of CRPS and educates those afflicted
with the syndrome, their families, friends, insurance and healthcare providers on the pain it causes
Awareness and Education Initiatives
• The RSDSA Review, a quarterly newsletter contains interviews with healthcare professionals, patients, and other influential
  individuals.
• The website houses treatment guidelines, educational brochures, videos or PowerPoint presentations from past
  international Conferences, scientific articles on the diagnosis, treatment, and management of CRPS that have appeared in
  its quarterly newsletter or in peer reviewed journals, and links to other professional and consumer sites.
       The RSDSA website also offers Physical and Occupational Therapy publications and articles.
       The ‘In Pain, Out of Work, and Can't Pay the Bills’ directory on the RSDSA website offers advice to those who suffer
         financial hardship as a result of their pain.
       Medifocus Guide to Reflex Sympathetic Dystrophy Syndrome on the RSDSA website is a resource guide for a
         person with CRPS. Each guide has current and relevant CRPS research organized into categories for easy reading.
       The website also provides Complex Regional Pain Syndrome: Treatment Guidelines for professionals.
       The website also provides information on the diagnosis and treatment of Complex Regional Pain Syndrome.
       The website also offers brochures with an array of patient stories.
• The website’s events section provides details of upcoming events that the RSDSA hosts or participates in. It also provides
  access to a database of support groups that are present throughout the US.
• The website’s Patient Resources section, provides links to websites that promote awareness, education, and
  communication of CRPS and other pain conditions. It also provides links to brochures, books, websites that provide a
  database of physicians, information on insurance, advocacy as well as awareness activities of the association.
• The ‘Ways to give” section of the website provides information on ways in which people can donate which allows RSDSA
  to maintain its website, and produce educational materials for people with CRPS and the healthcare community.




  Source: Publications; Annual Report; Events; Guidelines; Donations
                                                                                                                            204
The RSDSA  collects
         Case:          funds to
               1:17-md-02804-DAP Docsupport      research,
                                     #: 2364-56 Filed:           and
                                                       08/14/19 206     provides
                                                                    of 279. PageID #: 385367

information on research studies on CRPS on its website

Key Message: The Association is committed to research into the cause and cure of CRPS

Research Initiatives
• The RSDSA is committed to encouraging research into the cause and cure of CRPS.
      Since 1992, RSDSA has funded $1,255,740 in fellowships and grants.
      In 2008, it funded $65,896 in grants.
• The research section of the RSDSA website provides information on research studies conducted by RSDSA, evidence
  reports, clinical research studies, and clinical trials that are currently recruiting patients.




  Source: Research Initiatives
                                                                                                                    205
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                                     American Society of
                                      Anesthesiologists
The American      Society of Anesthesiologists
           Case: 1:17-md-02804-DAP                           advocates
                                   Doc #: 2364-56 Filed: 08/14/19 208 of 279. PageID #: 385369
for all patients who require anesthesia or relief from pain

Overview                •   Founded in 1905, the American Society of Anesthesiologists (ASA) is an educational, research and
                            scientific association of physicians organized to raise and maintain the standards of the medical
                            practice of anesthesiology and improve the care of the patient.
                        •    The Society advocates for all patients who require anesthesia or relief from pain.
Mission                 •   The ASA is dedicated to elevating the standards of the specialty by fostering and encouraging
                            education, research and scientific progress in anesthesiology.
                        •   The Division of Scientific Affairs has been designated the major continuing educational component of
                            the Society and the Committee on Professional Education Oversight has overall responsibility for
                            programs. The mission is to ensure that the educational offerings of the Society provide continuing
                            medical education for anesthesiologists, pertinent to the practice of anesthesiology in all of its diverse
                            aspects, including, but not limited to:
                                The assessment and preparation of patients for anesthesia
                                The management of procedures for rendering a patient insensible to pain and emotional stress
                                  during surgical, obstetrical, therapeutic and diagnostic procedures
                                The support of life functions during the perioperative period
                                The management of critically ill patients
                                The management of problems in acute, chronic and cancer-related pain
                                The management of cardiac and pulmonary resuscitation
                                The evaluation of respiratory function and application of specific methods in respiratory care
                                The conduct of clinical, translational and basic science research
                                The supervision, teaching and evaluation of performance of personnel involved in
                                  perioperative care
                                The administration of health care facilities and organizations




 Source: Mission; ASA
                                                                                                                                     207
The ASA’sCase:
          key1:17-md-02804-DAP
               objective is to Doc raise    and
                                   #: 2364-56     maintain
                                              Filed: 08/14/19 209 of 279. PageID #: 385370
the standards of the medical practice of anesthesiology

Key Activities   •   Education
                 •   Research
                 •   Advocacy
Key Objectives   •   To raise and maintain the standards of the medical practice of anesthesiology and improve the care
                     of the patient.
Number of        •   The ASA is a national association.
Members And      •   It has approximately 43,000 members from around the world engaged or especially interested in the
Key Target           medical specialty of anesthesiology. More than 90% of all practicing anesthesiologists in the US
Audience             belong to ASA.
                 •   Members of the ASA are Doctors of Medicine or Osteopathy who are licensed practitioners and have
                     successfully completed a training program in anesthesiology approved by the Accreditation Council
                     for Graduate Medical Education (ACGME) or the American Osteopathic Association (AOA).
Geographic       •   ASA has a national presence.
Presence
Headquarters     520 N. Northwest Highway
                 Park Ridge, IL 60068-2573




  Source: ASA
                                                                                                                          208
Its membership     types are: Active,
           Case: 1:17-md-02804-DAP           Retired,
                                   Doc #: 2364-56          Affiliate,
                                                  Filed: 08/14/19         Resident,
                                                                  210 of 279. PageID #: 385371
Medical Student, Educational, and Educational Student

                                                        Membership Criteria
  •    Active: Anesthesiologists practicing in the US.
  •    Retired: Active and/or Affiliate members who qualify for retired status according to ASA’s bylaws.
  •    Affiliate:
          Anesthesiologist residing outside the US
          Anesthesiologists in service of US Government, including V.A.
          Research scientist interested in anesthesiology
          Physician not in clinical practice of anesthesiology
  •    Resident: Physician in full-time training in anesthesiology residency in the US
  •    Medical Student: Individual in full-time training in a US medical school
  •    Educational:
          Anesthesiologist assistants (AA)
          Certified Registered Nurse Anesthetist’s (CRNAs)
  •    Educational Student:
          AA Students
          CRNA Students




      Source: Membership
                                                                                                            209
The ASA offers     its members
          Case: 1:17-md-02804-DAP   subscription
                                  Doc                    to its 211
                                      #: 2364-56 Filed: 08/14/19 newsletter
                                                                    of 279. PageID #: 385372
and its peer-reviewed journal, Anesthesiology

                                                    Membership Benefits
•     Subscription to ASA's peer-reviewed journal, Anesthesiology (monthly)
•     Access to the ASA Directory of Members (online)
•     Subscription to ASA Newsletter (monthly)
•     Online searchable Calendars for Meetings
•     Free registration for the ASA Annual Meeting (45 CME hours)
•     Annual updates on ASA Standards, Guidelines and Statements (online)
•     Representation and updates on federal and state legislative and regulatory issues
•     Development of state-of-the-art practice parameters
•     Physician booklets and practice management materials
•     Patient education support
•     Services and literature searches by the Wood Library-Museum




    Source: Member Benefits
                                                                                               210
ASA members     are providedDoc
         Case: 1:17-md-02804-DAP with   information
                                  #: 2364-56 Filed: 08/14/19and
                                                             212 of 279.                     PageID #: 385373
counsel services for the ASA Annual Meeting

                                                       Member Services
•     ABA-ASA In-Training Examination: Jointly sponsored by the American Board of Anesthesiology and the American
      Society of Anesthesiologists, the In-Training Examination is available to physician-trainees in approved anesthesiology
      residency programs. It also serves as the entry examination to the certification system of the American Board of
      Anesthesiology.
•     ASA Scientific Meetings: The major portion of the ASA Annual Meeting is devoted to exhibits and scientific meetings.
      These include the annual Refresher Course Lectures and scientific papers by eminent anesthesiologists and guest
      lecturers. ASA Workshops and Seminars are also scheduled in various locations.
•     Information and Counsel: The Executive Office acts as a clearing-house for members who want answers to specific
      questions and advice on professional matters. Approximately 70 committees are readily available to supply needed
      information and advice.
•     Liaison with Medical and Non-medical Organizations: This is maintained, through the Society's committees, with other
      specialty organizations, the American Medical Association and other organizations.
•     Medem's Your Practice On-Line: ASA provides its members with,’ Your Practice Online’. This service allows members to
      build customized practice Web sites with clinical content from leading medical societies and the ASA.
•     National Library and Museum: The Wood Library-Museum of Anesthesiology, serves not only the medical profession but
      historians and interested members of the lay public. The principal library collection includes approximately 9,000 books on
      anesthesiology and biomedical sciences relating to the specialty. Among the many services offered to members are:
         Lending of books (except rare items).
         General reference services.
         Photocopying service on reference material at the library available at nominal cost.
         Publishing of classical works pertaining to the history of anesthesia.




    Source: Member Services
                                                                                                                               211
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 213 of 279. PageID #: 385374
Key Partners/Sponsors

                                               Corporate Partners/Sponsors
Following were the sponsors of the 2007 Annual Meeting, held in San Francisco, California, to provide anesthesiologists with
information on the latest developments in anesthesiology and other related medical fields.
•    Achi Corporation                                    •   EKR Therapeutics, Inc.                •   Pajunk Medical
•    Adolor Corporation/GSK                              •   Engineered Medical Systems                Systems
•    ANS                                                 •   GE Healthcare                         •   Philips Medical
•    Arrow International                                 •   Helio Medical                             Systems, Inc.
•    Aspect Medical System                               •   Hospira                               •   Saudi Aramco
•    Augustine Biomedical and Design                     •   iMDsoft                               •   Somanetics
•    B. Braun Medical                                    •   IngMar Medical, Ltd.                  •   Somnia
•    Baxter Pharmaceutical Products, Inc.                •   JoyOther Medical                      •   Sonosite
•    Boston Scientific                                   •   JV Park                               •   St. Jude Medical
•    Cardinal                                            •   Karl Storz Endoscopy                  •   Stryker
•    Cephalon, Inc.                                      •   King Systems                          •   Tensys Medical, Inc.
•    Cincinnati Sub-Zero Products                        •   Laerdal                               •   U.S. Army Recruiting
                                                                                                       Command
•    Clarus Medical                                      •   LLC
                                                                                                   •   Verathon
•    CompOne Services, LTD                               •   LMA
                                                                                                   •   Vitaid
•    Conmed Corporation                                  •   Masimo Corp.
                                                                                                   •   Wellan Medical
•    Cook Critical Care                                  •   Medtronic
                                                                                                   •   Zonare
•    Coridien                                            •   Merit Medical • MicroVision Medical
•    Cosman                                              •   Mobile Anesthesiologists
•    Covidien                                            •   Neuromodulation
•    Datascope Corp.                                     •   Ohmeda-GE Healthcare
•    Draeger Medical, Inc.                               •   Olympus



    Source: Sponsors
                                                                                                                               212
The ASA provides      educational
          Case: 1:17-md-02804-DAP Doc #:information         targeted
                                         2364-56 Filed: 08/14/19          atPageID
                                                                 214 of 279. its #: 385375
physician members

                                 Relationship with/Influence on Primary Care Physicians

•    The ASA members include physicians.
•    The Society offers information targeted at physicians such as articles in its newsletter, physician booklets and practice
     management materials.
•    Its website also lists some organizations that offer research grants, for physicians who are in need of funding.




    Source: Physician
                                                                                                                                 213
The ASA conducts      several educational
         Case: 1:17-md-02804-DAP                    activities
                                 Doc #: 2364-56 Filed: 08/14/19 215for
                                                                    of 279.                              PageID #: 385376
professionals and the public

Key Message: The ASA focuses on fostering and encouraging education in anesthesiology

Education Initiatives
• Through the ASA's Committee on Patient Safety and Risk Management, the Society provides education, training,
  applications of current and developing technologies and the acquisition of new knowledge about the causes and prevention
  of mishaps. The Society has developed a series of videotapes which provide important information on current trends in
  patient safety techniques.
• The ASA provides its members, standards, guidelines, statements and practice parameters that are based on scientific
  evidence.
• The ASA sponsors an annual educational program for anesthesiologists, the five-day Annual Meeting, to provide
  anesthesiologists with information on the newest developments in anesthesiology and other related medical fields.
• The ASA also offers formal refresher courses of continuing education for the practicing anesthesiologist at the Annual
  Meeting and in regional courses throughout the year.
• The ASA website provides information and resources for patient education.
• The ASA was the first medical organization to create a foundation to focus on patient safety -- the Anesthesia Patient
  Safety Foundation, founded in 1985. The objective was to raise the levels of consciousness and knowledge of patient
  safety issues.
• Its press room on its website, provides stories about surgical anesthesia, pain management, simulation, critical care,
  transplantation, and many other areas of medicine.
• The Society’s website also provides a wide variety of materials related to managing an anesthesiology practice, including
  information as to reimbursement for anesthesiology services in both the public and private insurance sectors.
• ASA’s website provides a list of publications that can be purchased and also provides links to other related organizations.
• Its website serves as a starting point for access to information on ASA’s Resident Component, Medical Student Delegation
  and information about career opportunities in anesthesiology.
     The ASA’s Resident Component website has up-to-date information on what residents are doing, what opportunities
        are available in the ASA, and links to other anesthesiology.



  Source: Patient Safety Activities; Education; Patient Education; Press Room; Practice Management; Residents And Medical Students
                                                                                                                                     214
The ASA’sCase:
          website      lists organizations
               1:17-md-02804-DAP                   that
                                 Doc #: 2364-56 Filed:    offer216research
                                                       08/14/19    of 279. PageID #: 385377
grants and also highlights ongoing scientific investigations

Key Message: The ASA focuses on fostering and encouraging research and scientific progress

Research and Scientific Initiatives
• Advancement of research is a critical part of the ASA’s mission. Its website lists some of the many organizations that offer
  research grants, and also highlights ongoing scientific investigations.


Key Message: The Society monitors and engages in advocacy with respect to federal and state legislative and
regulatory activities affecting the practice of medicine

Advocacy Initiatives
• The ASA's Office of Governmental and Legal Affairs is located in Washington, D.C.
     It monitors and engages in advocacy with respect to federal and state legislative and regulatory activities affecting the
        practice of medicine by the Society's members.
     It is also responsible for providing Practice Management assistance and advice for the membership, principally with
        respect to the Medicare program but also with respect to all "business" aspects of the delivery of anesthesia care.
• The American Society of Anesthesiologists Political Action Committee (ASAPAC), a separate segregated fund of the
  Society, is also administered in the Washington Office, as are the Society's internal legal affairs and maintenance of
  relations with outside legal counsel.
           Materials related to federal and state legislation and regulations can be found on the ASA website
           Regulatory materials related to Medicare reimbursement can be found on the Practice Management site.




  Source: Research; ASA
                                                                                                                                 215
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                          American Society of Addiction
                                   Medicine
The American    Society of Addiction
         Case: 1:17-md-02804-DAP              Medicine
                                 Doc #: 2364-56              is 218
                                                Filed: 08/14/19 a of 279. PageID #: 385379
professional organization for physicians treating addiction

Overview       • The American Society of Addiction Medicine (ASAM) is a professional organization for physicians who
                 specialize in the treatment of addiction.
               • Its aims to improve the care and treatment of people with addiction and advance the practice of Addiction
                 Medicine.
Vision         • To be the medical association recognized by all parties as the primary organization assuring that optimal
                 treatment is available to and provided for all patients with the disease of addiction.
Mission        •   Increase access to and improve the quality of addiction treatment, and support research and prevention
               •   To educate physicians (including medical and osteopathic students), other health care providers and the public
               •   To promote the appropriate role of the physician in the care of patients with addiction
               •   To establish addiction medicine as a specialty recognized by professional organizations, governments,
                   physicians, purchasers and consumers of healthcare services, and the general public.
Key            • Definition and Recognition of Addiction Medicine: ASAM will define the basic and clinical science of
Objectives       Addiction Medicine and the scope of its practice. It will also increase access to effective treatment.
               • Medical Education: Addiction Medicine specialists and other physicians and physician trainees will be
                 educated about the identification, diagnosis, treatment, and prevention of addictive disorders.
               • Policy and Communication: ASAM and its members will promote greater awareness and wider
                 understanding of the prevention, recognition and treatment of, and research on addiction and its complications,
                 as well greater awareness and wider understanding of the role of Addiction Medicine.
               • Membership: The ASAM will be a strong, unified national medical specialty society that can easily mobilize its
                 members in the pursuit of its mission and goals, both nationally and locally.
               • Management and Finance: The ASAM will maintain effective governance and fiscal management.
                       Strategic Priority: Develop the capacity to assertively advocate for the interests of its patients,
                          members and the field of addiction medicine.
                       Strategic Challenge: Focus the energy of ASAM as an organization to partner with state and national
                          legislators to advocate for effective public relations campaigns, policy and social change.


  Source: ASAM; Objectives
                                                                                                                                217
Its target Case:
           audience       includes
                 1:17-md-02804-DAP Docphysicians,
                                       #: 2364-56 Filed: other
                                                         08/14/19 healthcare
                                                                  219 of 279. PageID #: 385380
providers, and the public

Key Activities   • Education
                 • Advocacy
                 • Providing resources to physicians to make clinical decisions
Number of        • Its target audience includes physicians (including medical and osteopathic students), other healthcare
Members And        providers and the public.
Key Target
Audience
Geographic       • The society has presence in the US.
Presence
Headquarters     4601 N. Park Avenue
                 Upper Arcade #101
                 Chevy Chase, MD 20815




  Source: ASAM
                                                                                                                            218
Its members   are
           Case:    classified as:
                 1:17-md-02804-DAP Doc Regular,       Retired,
                                       #: 2364-56 Filed:           Med
                                                         08/14/19 220      Student,
                                                                      of 279. PageID #: 385381
International, Resident, and Early Career Physicians

                                                     Membership Criteria
  • Regular: Licensed to practice allopathic or osteopathic medicine in the US.
  • Retired: Completely retired from the practice of medicine or osteopathy.
  • Med Student: Enrolled and in good standing in formally accredited allopathic or osteopathic medical schools.
  • International: Reside or work outside the US or its territories; must maintain valid medical licenses in their country or
    province.
  • Resident: Interns, residents, or fellows serving in an approved hospital or fellowship program. Must have a valid license in
    localities where required or an equivalent certifying document.
  • Early Career Physicians (ECP): Physicians in their first two years after completing an accredited Residency or Fellowship
    program OR is in the first two years of practicing addiction medicine on a full-time basis.




      Source: Membership Criteria
                                                                                                                               219
The ASAMCase:
           provides    its members
              1:17-md-02804-DAP           withFiled:
                                Doc #: 2364-56   discounts
                                                     08/14/19 221on
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publications and courses, and free access to ASAM News

                                                   Membership Benefits
• Receive discounts on ASAM publications, conferences, and courses.
• Advocacy for comprehensive benefits for the treatment of addictive disorders, at full parity with benefits for the treatment of
  other medical disorders.
• Discount on Revised Patient Placement Criteria (ASAM PPC-2R) National Guidelines
• Involvement in a professional society actively seeking to define and expand the field of addiction medicine.
• Save Money – Through Medem’s Your Practice Online physician web site service, members can build a customized web
  site with no start-up, hosting or maintenance fees.
• FREE ASAM News (bimonthly), Journal of Addictive Diseases (quarterly), ASAM’s Annual Membership Directory
• Exert influence on managed care's approach to addictions treatment through development of joint policy statements, use of
  the ASAM PPC-2R, and member involvement in managed care organizations and policies.
• Access to a network of leading experts in the field; meet friends, colleagues, mentors, role models, admired experts, and
  more in ASAM.
• Healthcare Professional and Accrediting Organization Representation in the AMA, AOA, JCAHO, NCQA, to name a few.
• Opportunity to develop treatment guidelines and protocols and to foster clinical research
• Chance to apply for ASAM’s MasterCard Credit Card through MBNA America
• Members can list their professional areas of interest on ASAM’s website for possible referrals
• Access tools to advocate for more effective national and state drug policies
• Formulate and execute the Society's policies and programs, through service in elective office, in Chapters, on committees,
  and to serve on future focus groups to determine members' needs and what members, non-members, and former members
  want from ASAM.
• Save Money and Receive up to 21 CME Credits – attend ASAM’s 35th Annual Medical-Scientific Conference in Washington
  DC.




 Source: Membership Benefits
                                                                                                                               220
The familyCase:
           practice      bulletinDoc
                1:17-md-02804-DAP board      onFiled:
                                     #: 2364-56 ASAM’s08/14/19website
                                                               222 of 279. PageID #: 385383

provides information on addiction and family medicine

                          Relationship with/Influence on Primary Care Physicians
The ASAM Website Provides a Family Practice Bulletin Board
• Over 500 ASAM members are family physicians.
• The ASAM website provides a family practice bulletin board that is accessible to any family physician, including those who
   are not currently members of ASAM.
       The purpose is to present news applicable to addiction and family medicine, including American Academy of Family
          Physicians (AAFP), and Society of Teachers of Family Medicine (STFM).
• ASAM plans to have on its website a section on News, STFM, and Educational Courses for Family Physicians.




  Source: Physician
                                                                                                                               221
The Society  conducts
          Case:             education
                1:17-md-02804-DAP          initiatives
                                  Doc #: 2364-56            to advance
                                                 Filed: 08/14/19 223 of 279. PageID #: 385384

the practice of addiction medicine

Key Message: ASAM focuses on educating physicians, other healthcare providers, and the public on Addiction
Medicine
Education Initiatives
• The ASAM conducts CME programs such as the Annual Medical Scientific Conference, State-of-the-Art in Addiction
  Medicine, Review Course in Addiction Medicine, Medical Review Officer (MRO) Training Course, Buprenorphine Training,
  Tobacco Treatment Training and Alcohol Dependence Training.
• It also conducts online continuing medical education programs. These include Buprenorphine and office-based treatment of
  opioid dependence and tobacco treatment training.
• The ASAM certificate is recognized throughout the world as signifying excellence in the practice of Addiction Medicine.
       It demonstrates that a doctor has met vigorous standards through intensive study, assessment, and evaluation.
       Certification is designed to assure the public that a medical specialist has successfully completed an approved
          educational program and an evaluation, including a secure examination designed to assess the knowledge,
          experience, and skills requisite to the provision of high-quality patient care.
       Recertification for an ASAM Certified Physician is required every 10 years. Recertification process can assess how
          a physician is evolving his or her knowledge and skills after the initial certificate is awarded.
• It offers ASAM news that provides information on meetings of the ASAM Board of Directors and Committees. It also offers
  various publications that can also be purchased online including:
       Principles of Addiction Medicine which provides a comprehensive overview of the diagnosis and treatment of
          addictive disorders, as well as the management of co-occurring medical and psychiatric conditions.
       Journal of Addiction Medicine: The Journal is published quarterly and provided free to ASAM members.
• ASAM also offers links to other websites providing information on Addiction Medicine and pain in addiction medicine.




  Source: Education Initiatives; Certification; Recertification
                                                                                                                         222
It is committed     to establish
          Case: 1:17-md-02804-DAP   addiction
                                  Doc               medicine
                                      #: 2364-56 Filed:            as
                                                        08/14/19 224    a
                                                                     of 279.                PageID #: 385385
specialty and improve the quality of treatment

Key Message: The ASAM is committed to establish addiction medicine as a specialty recognized by professional
organizations, governments, physicians, consumers of healthcare services, and the general public.

Advocacy Initiatives
• The ASAM relies heavily on its grassroots advocacy network to advance addiction prevention, treatment, and recovery
  policies with the US state and federal legislatures.
       ASAM organizes annual "lobby days" in Washington, DC, issues ASAM Action Alerts that activate immediate
         grassroots action regarding a particular policy, produces a monthly Advocacy Newsletter that keeps ASAM members
         apprised of the various legislative issues it is supporting, and maintains a website that provides detailed and timely
         policy and special event information as well as an "advocacy toolkit" to facilitate its members' grassroots efforts.
       ASAM also organizes Capitol Hill policy briefings in an effort to educate Congress about the health, economic, and
         legal benefits of implementing pro-addiction treatment policies. In order to amplify its efforts, the ASAM routinely
         works within mental health and addiction coalitions that represent a broad spectrum of public and private mental
         health and addiction issues.
• The ASAM website also provides links to various advocacy and government relation websites.



Key Message: The Society is devoted to promoting the appropriate role of the physician in the care of patients with
addiction
Initiatives to Promote High Quality Clinical Care
• The ASAM Practice Guidelines are intended to assist physicians in making clinical decisions.
         The ultimate judgment regarding any specific treatment must be made by the physician with consideration of the
           pertinent scientific and patient information, and in light of the diagnostic and treatment options available.




  Source: Practice; Advocacy; Newsletter
                                                                                                                              223
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 225 of 279. PageID #: 385386




                           American Academy of Family
                                   Physicians
The American    Academy of Family
         Case: 1:17-md-02804-DAP            Physicians
                                 Doc #: 2364-56               focuses
                                                Filed: 08/14/19 226 of 279.on
                                                                            PageID #: 385387

the promotion of family medicine

Overview              •   The American Academy of Family Physicians (AAFP), founded in 1947, to preserve and promote the
                          science and art of family medicine and ensure high-quality, cost-effective healthcare for patients of all
                          ages.
                      •   The Congress of Delegates of the AAFP passed a resolution to establish the AAFP Foundation as
                          “an educational and research foundation for the support of research on medical economic aspects of
                          general practice” in 1958.
Values                The AAFP and its members are committed to care that is:
                      • Equitable for all people
                      • Centered on the whole person within the context of family and community
                      • Based on science, technology, and best available evidence
                      • Supported by lifelong professional learning
                      • Grounded in respect and compassion for the individual.
Vision                •   To transform healthcare to achieve optimal health for everyone.
Mission               •   To improve the health of patients, families, and communities by serving the needs of members with
                          professionalism and creativity.

Key Activities        •   Advocacy
                      •   Practice Enhancement
                      •   Education
                      •   Public Health
Number of             •   The Academy represents more than 94,000 family physicians, family medicine residents, and medical
Members And               students nationwide.
Key Target
Audience



  Source: AAFP, AAFP Foundation
                                                                                                                                  225
It promotes  high-quality
          Case: 1:17-md-02804-DAPstandards
                                  Doc #: 2364-56 for
                                                  Filed:family
                                                         08/14/19 doctors     who #: 385388
                                                                  227 of 279. PageID
provide comprehensive healthcare to the public

Key Objectives        •   To provide responsible advocacy for and education of patients and the public in all health-related
                          matters
                      •   To preserve and promote quality and cost-effective health care
                      •   To promote the science and art of family medicine and to ensure an optimal supply of well-trained
                          family physicians
                      •   To preserve the right of family physicians to engage in medical and surgical procedures for which
                          they are qualified by training and experience
                      •   To provide advocacy, representation and leadership for the specialty of family medicine
                      •   To maintain and provide an organization with high standards to fulfill the above purposes and to
                          represent the needs of its members.
                      •   To promote and maintain high standards among physicians who practice family medicine
Geographic            •   The Academy has 53 local chapters in the US.
Presence
Headquarters          11400 Tomahawk Creek Parkway
                      Leawood, KS 66211-2680




 Source: Aim & Purpose, Headquarters
                                                                                                                               226
The AAFP Case:
          classifies    its members
               1:17-md-02804-DAP           as: Active,
                                 Doc #: 2364-56             Resident,
                                                Filed: 08/14/19 228 of 279.                PageID #: 385389
Student, and Life Members

                                                   Membership Criteria
Active    •   Physicians elected to active membership after Dec. 31, 1988 must meet one of the following criteria:
Member           Be three-year, Accreditation Council for Graduate Medical Education (ACGME) Family Practice – residency
                    trained
                 Have completed either an AOA-approved one-year rotating general or FP internship plus two years of an
                    AOA-approved general or FP residency, or an AOA-approved three-year general or FP residency
                 Have completed an FP residency program approved by the College of Family Physicians of Canada (CFPC)
                    and subsequently board-certified by the CFPC and practice exclusively within the US
                 Have held Active membership prior to or as of Dec. 31, 1988.
          •   Additionally, applicants must be duly licensed, meet continuing medical education (CME) requirements for entry
              into the active category, and meet one of the following criteria:
                 Physicians engaged in the practice of family medicine.
                 Physicians applying after Dec. 31, 1988 who are engaged in the practice of emergency medicine.
                 Physicians engaged in full-time teaching of family practice or full-time medical administration.
Resident •    Physicians training in ACGME-accredited three-year FP residencies.
Member •      Physicians training in AOA-approved rotating general or FP internships and AOA-approved general or FP
              residencies.
          •   Graduates of ACGME or AOA FP residencies immediately extending training or entering fellowships.
Student   •   Students enrolled in allopathic or osteopathic medical schools that are approved by appropriate US accrediting
Member        institutions as defined by the AAFP Commission on Education.
Life      •   Members who have continued membership for a minimum of 20 years and who meet one of the following
Member        requirements:
                  Age 70 or over
                  Completely retired from the practice of medicine


  Source: Membership
                                                                                                                               227
It also classifies    its members
           Case: 1:17-md-02804-DAP     as:
                                   Doc #:    Supporting,
                                          2364-56 Filed: 08/14/19               229 of 279. PageID #: 385390
International, and Inactive Members

                                                     Membership Criteria
Supporting     •   Non-Family Physician (FP) member:
Member               If applicant has never been a Supporting FP member CME credits are not required.
                     Physicians in specialties other than family medicine must meet criteria established by the AAFP Board
                       of Directors. Criteria are based on activities that support and enhance the family medicine specialty.
                     Physicians must also be licensed to practice in a geographic area in which a constituent chapter exists.
               •   FP member:
                     If the applicant has held Supporting FP membership within the last two years, the applicant must
                       provide evidence of 100 approved CME credits completed during the two years immediately preceding
                       application.
                     Physicians who have been actively engaged in the practice or teaching of family medicine or in medical
                       administration for the previous six years must have during the three years immediately preceding
                       application for supporting membership completed 150 hours of CME, all of which must be AAFP
                       prescribed credit, acceptable to the Commission on Continuing Professional Development.
International •    Physicians engaged in family medicine, the teaching of family medicine, or medical administration who are
Member             licensed to practice in countries or territories outside the US in which no constituent chapter exists and who
                   are not eligible for membership in the Uniformed Services Chapter.
               •   Medical students and physicians in training in countries and territories outside the US in which no
                   constituent chapter exists and who are not eligible for membership in the Uniformed Services chapter may
                   be elected to international membership.
Inactive       •   Members who are incapacitated by reason of illness, accident or infirmity.
Member         •   Members who are completely retired from the practice of medicine with less than twenty years continued
                   membership.
               •   Active, resident and (FP) supporting members who interrupt their practice or residency training due to
                   extenuating circumstances.


  Source: Membership
                                                                                                                                228
The Academy    offers educational
         Case: 1:17-md-02804-DAP           andFiled:
                                 Doc #: 2364-56 professional
                                                     08/14/19 230 of 279.                  PageID #: 385391
resources to its members

                                                    Membership Benefits
•     Continuing Medical Education - Access to relevant, high-quality, peer-reviewed continuing medical education to physicians
•     Practice Management - useful resources on coding and practice enhancement for physicians
•     Member Discounts -- member discounts on loan consolidation, on-hold messaging, magazine subscriptions, customized
      financial solutions, office supplies, car rentals and more.
•     Journals – provides the award-winning journal American Family Physician twice a month and Family Practice Management
      monthly.
•     Virtual FMIG Web site – students can explore family medicine, residency programs, and medical schools.




    Source: Benefits
                                                                                                                             229
                Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 231 of 279. PageID #: 385392
Key Partners/Sponsors

                                                    Pinnacle Level

           Amgen                      AstraZeneca                         Lilly                        Purdue Pharma




                                               President’s Circle Level

  Abbott            Boehringer Ingelheim       Bristol-Myers Squibb       Endo Pharmaceuticals             Forest Laboratories




  Roche               McNeil Pediatrics             MedImmune             Merck/Schering-Plough               Novo Nordisk
                                                                             Pharmaceuticals




  Pfizer        The Pharmaceutical Research      GlaxoSmithKline
                and Manufacturers of America



                                                                          Note: The corporate partners mentioned are those of AAFP
                                                                          Foundation


 Source: AAFP Foundation
                                                                                                                                 230
                Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 232 of 279. PageID #: 385393

Key Partners/Sponsors

Grand Patron Level                                                                                 Friends of the Foundation
                                                 Sustaining Level
• Alpharma Pharmaceuticals                                                                          Level
                                                 Allergan
• deCODE                                                                                           • American Family Physician
                                                 • Answers Media
• General Mills                                                                                    • C. Duryee Consulting, LLC
                                                 • California Academy of Family
• Merck & Co., Inc.                                                                                • California Table Grape
                                                     Physicians
• National Dairy Council                                                                              Commission
                                                 • Campbell Soup Company
• NeuroMetrix, Inc.                                                                                • Cerner Corporation
                                                 • CECity.com, Inc.
• Novartis Pharmaceutical                                                                          • Cultural Horizons
                                                 • Chlorine Chemistry Division
   Corporation                                                                                     • Genova Diagnostics
                                                 • Conceptus Incorporated
• Pharmavite LLC                                                                                   • iMedica Corporation
                                                 • Covidien
• Procter & Gamble                                                                                 • Promise
                                                 • The Dow Chemical Company
• sanofi-aventis
                                                 • Ethicon Women's Health and Urology
• sanofi pasteur
                                                 • McDonald's Corporation
• Takeda Pharmaceuticals North
   America                                       • McKesson
• Return to top                                  • MinuteClinic
                                                 • National Cattlemen's Beef Association
Patron Level                                     • Nestle USA, Inc., Nutrition Division
• Coca-Cola North America                        • Nordic Naturals
• Daiichi Sankyo                                 • PepsiCo
• Sage Software Healthcare                       • Quantum Health, LLC
• Welch Allyn, Inc.                              • Weight Watchers Foundation
• Wyeth Pharmaceuticals                          • Wyeth Consumer Healthcare
• Return to top
                             Note: The corporate partners mentioned are those of AAFP Foundation

 Source: AAFP Foundation
                                                                                                                             231
The Academy    provides tools
         Case: 1:17-md-02804-DAP Docand    resources
                                     #: 2364-56            to advocate
                                                Filed: 08/14/19               for #: 385394
                                                                233 of 279. PageID
family medicine and promote leadership

Key Message: The AAFP shapes healthcare policy through interactions with the government, the public, and the
healthcare industry.

•    Advance healthcare for all:
        The AAFP supported the national launch of Pharmaceutical Research and Manufacturers of America’s (PhRMA) new
          Partnership for Prescription Assistance (PPA) service, which hopes to facilitate easy access to pharmaceutical
          companies’ existing and emerging Patient Assistance Programs (PAPs) that help needy patients afford prescription
          drugs by providing access to 275 such programs via a single point of entry.
        This is an enhancement of current PAP services, and should provide greater ease not only to patients and their care
          givers, but also to physicians and physician office staff in obtaining prescription medications for needy patients by
          increasing utilization of pharmaceutical company sponsored PAPs through PhRMA’s new toll-free nationwide, one-
          stop call center and user-friendly Web site.
        The PPA service also assists in accessing other private, public and state prescription medication programs.
•    Increase payment to family physicians
•    Increase family physician workforce




    Source: AAFP
                                                                                                                                  232
The AAFP Case:
          enhances       its relationship
               1:17-md-02804-DAP Doc #: 2364-56with   physicians
                                               Filed: 08/14/19          through
                                                               234 of 279. PageID #: 385395

practice management, education & communication

Key Message: The AAFP enhances physicians’ abilities to fulfill their practice and career goals.

•    The AAFP assists members to become designated Patient Centered Medical Homes (PCMH):
         PCMH is a more effective and efficient model of health care delivery that produces better care and lower costs.
         In a PCMH:
              Patients have a relationship with their personal physician.
              Practice-based care team takes collective responsibility for patients' ongoing care.
              Care team is responsible for providing and arranging for the healthcare needs of all patients.
              Patients can expect care to be coordinated across care settings and disciplines.
              Patients experience enhanced access and communication.
•    The Academy provides continuing medical education to family physicians with clinically based scientific evidence. The
     AAFP’s continuing medical education (CME) programs have been developed to meet family physicians’ needs and
     expectations and academy’s high standards for CME. Many AAFP programs offer double credit for evidence-based CME
     that provide physicians with the following benefits:
         Opportunity to partner with the AAFP on year-long initiatives
         Visibility in American Family Physician and Family Practice Management
         Acknowledgement on AAFP Web site
         Connection to a highly rated AAFP membership benefit
•    The Academy also promotes ongoing imperative for practice change through education and communication.
•    It assists physicians to achieve financial success through optimal practice management.
•    More than 75% of all family physicians are AAFP members.




Note: The academy interacts with family physicians only. This slide covers the AAFP’s relationship with/Influence on Primary Care Physicians

    Source: Journals, Web site
                                                                                                                                               233
Innovative  education
          Case:             at the
                1:17-md-02804-DAP DocAAFP     encompasses
                                      #: 2364-56 Filed: 08/14/19 235the   art,
                                                                     of 279. PageID #: 385396

science, evidence, and socioeconomics of family medicine

Key Message: The AAFP promotes high-quality and innovative education for physicians, residents, and medical
students.
•    Increase the number of members and non-members who utilize the AAFP’s Continuing Medical Education in pursuit of
     lifelong learning.
•    Increase funding streams for undergraduate, graduate, and continuing medical education.
•    Develop mechanisms that will increase Part II Maintenance of Certification passing rate of family medicine residency
     graduates.
•    The Degree of Fellow recognizes AAFP members who have distinguished themselves among their colleagues, as well as
     in their communities, by their service to family medicine, by their advancement of healthcare to the American people, and
     by their professional development through medical education and research.




    Source: AAFP
                                                                                                                                 234
The AAFP Case:
          provides     up-to-date
               1:17-md-02804-DAP Doc #: information        about
                                        2364-56 Filed: 08/14/19      family
                                                                236 of 279. PageID #: 385397

medicine through its publications and public health activities

Key Message: The AAFP assumes a leadership role in health promotion, disease prevention, and chronic disease
management.

•    The AAFP involves family physicians in targeted public health activities, specifically tobacco, obesity, exercise, and
     immunizations.
        Americans In Motion (AIM) - AIM is designed to improve the health of all Americans by implementing a multifaceted
          fitness program addressing physical activity, nutrition and emotional well-being in the individual, family and
          community.
        Brief Alcohol Screening and Intervention in Family Medicine -- Screening for alcohol problems can be accomplished
          quickly and, for both patients and physicians, comfortably.
        Chronic Disease - As a leader in the promotion of disease prevention, the AAFP advocates the management of
          chronic disease.
        Tobacco Cessation -- Information, CME and practice resources physicians and their practice teams can use to help
          patients quit using tobacco.
•    Increase member and patient awareness of resources on www.familydoctor.org through the following publications, tools
     and programs:
        AAFP Family Health Facts -- Preprinted brochures on the topics most needed in family medicine. Order information
          available.
        Family Medicine Brochures -- Preprinted brochures that communicate the value of family medicine to your patients.
          Order information available.
        Physician-Patient Counseling Tools -- Tools to facilitate shared decision-making regarding screening for breast cancer
          and prostate cancer.
        TarWars -- Tobacco-free education program and poster contest, supported by the AAFP and targeted at fourth-and
          fifth-grade students.




    Source: Public Health Issues, Patient Education
                                                                                                                              235
The AAFP’s CME
         Case:      series addresses
               1:17-md-02804-DAP            theFiled:
                                 Doc #: 2364-56  challenges
                                                      08/14/19 237 of
                                                                   of 279.                       PageID #: 385398

managing patients with chronic pain

Key Message: The AAFP’s Video/Online CME series on pain management addresses the challenges of managing
patients with chronic pain.
Education Initiatives
Management of Chronic Pain Series: This Video/Online CME series provides an overview of the evidence-based recommendations about
assessment and management of patients with chronic pain. This series is supported by educational grant from Ortho-McNeil Janssen
Scientific Affairs and Purdue Pharma LP.
Series Objectives
  • Review evidence-based guidelines for assessment and management of acute and chronic non-malignant pain
  • Provide tools to assist with the assessment of pain in clinical practice
  • Review non-pharmacological treatment options
  • Discuss available analgesics (opioid, nonopioid, adjuvant) and their use in pain management
  • Discuss issues and misconceptions in the management of acute and chronic non-malignant pain
  • Discuss approaches to monitoring treatment response, managing adverse effects and optimizing outcomes in pain patients
  • Identify challenges and barriers to the effective management of pain and provide insight regarding potential solutions
  • Discuss strategies for pain management in patients with risk factors for substance abuse or a current or past history of substance
     abuse
CME Activities
  • Assessment and Management of Chronic Pain: This webcast provides an overview of the issues in managing chronic, non-
     malignant pain in a family practice. Evidence-based guidelines are reviewed and two PDA tools are provided.
  • Managing the Chronic Pain Patient At Risk or With a History of Addiction: Managing chronic pain in patients who are at risk or have
     a history of addiction presents a particular treatment challenge for many family physicians. The expert faculty address common
     concerns and offer advice on managing these patients.
  • Challenging Issues in Pain Management: A family physician and a pain specialist discuss practical strategies for dealing with the
     most common challenges of managing chronic pain.
  • Disparities in Care: Special Populations (Early 2009): This video presentation focuses on important - and often problematic -
     disparity of care issues affecting patients in special populations.
  • Video Case Studies (Spring 2009): This program features patient cases that integrate the evidence-based recommendations,
     practice tips, and management strategies presented in the preceding activities.

  Source: AAFP
                                                                                                                                      236
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                          American Academy of Physical
                           Medicine and Rehabilitation
The American     Academy of Physical
          Case: 1:17-md-02804-DAP Doc #: 2364-56Medicine       and
                                                 Filed: 08/14/19 239 of 279. PageID #: 385400

Rehabilitation promotes excellence in physiatric practice

Overview           •   The American Academy of Physical Medicine and Rehabilitation (AAPM&R) is the national medical
                       specialty society for physiatrist and physicians who specialize in Physical Medicine and Rehabilitation
                       (PM&R).
Vision             •   To be the leader in assisting PM&R physicians
                   •   To acquire the continuing education, practice knowledge, leadership skills, and research findings needed
                       to provide quality patient care.
                   •   To represent the best interests of patients with, or at risk for, temporary or permanent disabilities.
Mission            •   To serves its member physicians by:
                           Advancing the specialty of physical medicine and rehabilitation
                           Promoting excellence in physiatric practice
                           Advocating on public policy issues related to persons with disabling conditions
Key Objective      •   To advance AAPM&R members’ ability to serve patients
Key Activities     •   Some of the key activities of AAPM&R include:
                          Providing continued medical education
                          Organizing meetings and events
                          Providing an Advocacy Action Center
                          Publishing Journals and Newsletters




  Source: About AAPM&R, Vision & Mission
                                                                                                                                 238
The AAPM&R    has over 7,500
        Case: 1:17-md-02804-DAP Doc members,
                                    #: 2364-56 Filed:and    provides
                                                      08/14/19 240 of 279.             PageID #: 385401
membership to physiatrists and their patients

Number of       •   AAPM&R has more than 7,500 members.
Members and     •   The AAPM&R provides membership to physiatrists and their patients, and other healthcare
Key Target          professionals.
Audience
Geographic      •   The AAPM&R has an international presence.
Presence        •   The Academy represents more than 87% of US physiatrists and international colleagues from 37
                    countries.
Headquarters    330 North Wabash Ave., Suite 2500
                Chicago, IL 60611-7617
                Telephone: (312) 464-9700
                Fax: (312) 464-0227
                E-mail: info@aapmr.org




 Source: About AAPM&R,
                                                                                                                   239
Its member benefits
        Case:            include
              1:17-md-02804-DAP Docaccess
                                   #: 2364-56 to   the
                                               Filed:    AAPM&R
                                                      08/14/19 241 of 279.               PageID #: 385402

Membership Directory and Resource Guide

                                                  AAPM&R Membership
Types of Membership
• Senior Membership, Life Membership and Fellow Membership
• Associate Membership, Academic/Researcher Membership and Corresponding Membership
• Inactive Membership, Honorary Membership and Affiliate (Resident) Membership
• Part-Time Fellow Membership and Medical Student Membership
Membership Benefits
• Members are provided with Continuing Medical Education through its acadeME, AAPM&R’s educational resource
• Members receive discounts for AAPM&R educational conferences and programs including the Annual Assembly
• Subscription to PM&R – a monthly, scientific, peer-reviewed journal created by AAPM&R specifically for the physical
   medicine and rehabilitation physician.
• Participation in AAPM&R legislative advocacy activities
• Access to AAPM&R Membership Directory and Resource Guide
• AAPM&R provides members with grassroots tools for assistance in local marketing efforts while building awareness and
   recognition of the specialty at a national level.
• Members can attend the Academy’s Coding and Billing Workshop for physicians and staff which offers up-to-date
   information and advice on reimbursement issues that affect the practice of PM&R.
• Access to more than 50 position statements and white papers that have been developed in response to specific legislative,
   regulatory, economic, and technological issues.
• Involvement of members in practice guideline activities to assure high-quality care for patients.
• Subscription to The Physiatrist – AAPM&R newsletter which is published 10 times each year and provides updates on
   Academy activities and programs, legislative actions, practice and socioeconomic issues, educational courses, and
   specialty developments.
• Member Discounts on Patient and Professional Education Resources



  Source: Membership Types, Membership Benefits
                                                                                                                          240
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 242 of 279. PageID #: 385403

Key Partners/Sponsors

•    List of commercial supporters of the AAPM&R who contributed in 2009:
•    Platinum Level $75,000+
          Allergan Inc.
          Medtronic, Inc.
•    Gold Level $45,000 - $74,999
          Purdue Pharma L.P.
•    Silver Level $15,000 - $44,999
          Cephalon, Inc.
          GE Healthcare Surgery – OEC
          National Rehabilitation Hospital
          Spaulding Rehabilitation Hospital Network




    Source: Corporate Sponsors
                                                                                                         241
AcadeME, Case:
          an AAPM&R         online
               1:17-md-02804-DAP     education
                                 Doc #: 2364-56 Filed: platform,
                                                       08/14/19 243 ofprovides
                                                                      279. PageID #: 385404
opportunity for physiatrists to obtain CME credits

Key Message: To provide an online education platform for physiatrists

AcadeME
• AcadeME is the AAPM&R's online education platform that allows physiatrists to access educational services and obtain
  and manage CME credits via the internet, 24 hours a day, 7 days a week.
• The AcadeME provides education through:
      Its Lifelong Learning through Online Courses, Slide Lectures, Podcasts, Cases Studies and Journal Based CME.
      Its Self-Assessment exercises through Self-Assessments Overview, Study Guides, Self-Assessment Exams for
        Practitioners (SAE-P) and Self-Assessment Exam for Residents (SAE-R)



Key Message: To organize meetings and events for physiatrists
Meetings & Events
• The AAPM&R’s meetings and events comprise:
       Annual Assembly
       Workshops/Courses such as:
             Sports Medicine Board Examination Review Course
             Spinal Procedures Workshop Series
             Coding & Billing Workshop
       Non-Academy Educational Opportunities such as Conferences & Educational Opportunities of Interest to PM&R
         Physicians




  Source: Medical Education
                                                                                                                         242
The AAPM&R’s       online advocacy
          Case: 1:17-md-02804-DAP          center
                                  Doc #: 2364-56     implements
                                                 Filed:                  a
                                                        08/14/19 244 of 279.               PageID #: 385405
proactive approach to grassroots advocacy

Key Message: To develop a congressional lobbying software tool for assistance in advocacy
AAPM&R Advocacy Action Center
• The AAPM&R Advocacy Action Center is a web-based congressional lobbying software tool that provides:
       Assistance in grassroots lobbying and political advocacy by providing a simple way to contact members of
         Congress.
       Help in mobilizing academy members to participate in legislative action alerts and contact US senators and
         representatives on important health policy issues.
       Offers strategic targeting to legislative chambers, congressional committees or individuals.
       Provides updated contact information for elected officials.
• The online Advocacy Action Center implements a proactive approach to grassroots advocacy which is built upon a ‘state-
  of-the-art,’ convenient, practical system for communicating with its members of Congress.
• Using an online database, members also receive “Call to Action” e-mails that incorporate links to specific issues, alerts,
  and advocacy campaigns.

Key Message: Developed a foundation to enhance health through education in the field of physical medicine and
rehabilitation
Foundation for Physical Medicine and Rehabilitation
• The Foundation for Physical Medicine and Rehabilitation's mission is to enhance health and function through education
  and research in the field of physical medicine and rehabilitation (PM&R).
• The Foundation’s focus areas are:
      Research
      Professional Education
      Recruitment, Professional Development, and Leadership
      Public Awareness and Education
• The Foundation is committed to developing programs that advance traditional values and stimulate innovation.


  Source: Advocacy Action Center, Foundation for PM&R
                                                                                                                               243
PM&R Journal,      the official Doc
          Case: 1:17-md-02804-DAP scientific
                                     #: 2364-56 journal     of 245
                                                Filed: 08/14/19 theof AAPM&R,
                                                                      279. PageID #: 385406
is focused on principles of injury, function and rehabilitation

Key Message: To provide education through journals and newsletters on physical medicine and rehabilitation

PM&R Journal
• PM&R Journal is the official scientific journal of the AAPM&R.
• It is a monthly, peer reviewed, scholarly publication that advances education and impacts the specialty of physical medicine
   and rehabilitation through the timely delivery of clinically relevant and evidence-based research and review information.
• Topics covered in the journal include acute and chronic musculoskeletal disorders and pain, neurologic conditions involving
   the central and peripheral nervous systems, rehabilitation of impairments associated with disabilities in adults and children,
   and neurophysiology and electrodiagnosis.
• The PM&R journal emphasizes principles of injury, function and rehabilitation, and is designed to be relevant to
   practitioners and researchers in a variety of medical and surgical specialties and rehabilitation disciplines.
The Physiatrist
• The Physiatrist is the official membership publication of the AAPM&R.
• It is published 10 times each year and the newsletter provides updates on Academy activities and programs, legislative
   actions, practice and socioeconomic issues, educational courses, and specialty developments.
AAPM&R Connection E-Newsletter
• AAPM&R Connection is an electronic member communication providing academy updates.
• The e-message is delivered to all members’ e-mail inboxes twice a month and its content includes updates on events,
   Academy and specialty news, AAPM&R product advertisements, information on policy and legislation related to PM&R,
   and more.
PM&R Resident E-Newsletter
• The PM&R Resident E-Newsletter is published on the academy web site quarterly and its role is to provide information that
   permits AAPM&R members to develop informed opinions on subjects that will affect their professional and, in some
   instances, their personal lives.




  Source: PM&R Journal, AAPM&R Publications
                                                                                                                                244
PASSOR, the
        Case:official  musculoskeletal
             1:17-md-02804-DAP                  council
                               Doc #: 2364-56 Filed: 08/14/19of the
                                                              246 of 279. PageID #: 385407
AAPM&R, represents more than 1,100 PM&R specialists

Key Message: To develop a program representing the special needs of the musculoskeletal medical practitioner

Physiatric Association of Spine, Sports and Occupational Rehabilitation (PASSOR)
• The PASSOR is the official musculoskeletal council of the AAPM&R representing more than 1,100 physical medicine and
  rehabilitation specialists.
• PASSOR represents the special needs of the musculoskeletal medical practitioner.
• It is also the AAPM&R’s representative to the Council of Spine Societies, a coalition of leading spine care organizations to
  develop research, education, and patient care strategies.
• Benefits of PASSOR membership and ongoing PASSOR projects:
        Earmarked $20,000 per year for research in the fields of spine, sports, and occupational rehabilitation.
        Developed a step-by-step guide to establishing non-accredited training programs (fellowships).
        Developed a scope of practice document for physical medicine and rehabilitation.
        Developed a resource center for post residency training, both for fellowships and for short-term elective placement
           to learn specific skills.
        Developed a document, Musculoskeletal Practice After Residency, for residents graduating from PM&R residency
           training programs to assist in their career choices for musculoskeletal medicine.




  Source: PASSOR, PASSOR Benefits
                                                                                                                                 245
Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 247 of 279. PageID #: 385408




                       American Pharmacist Association
The American     PharmacistsDoc
          Case: 1:17-md-02804-DAP Association
                                    #: 2364-56 Filed:assists   pharmacists
                                                      08/14/19 248 of 279. PageID #: 385409
in improving medication use and advancing patient care

Overview           •   The American Pharmacists Association (APhA), founded in 1852 as the American Pharmaceutical
                       Association, represents practicing pharmacists, pharmaceutical scientists, student pharmacists,
                       pharmacy technicians, and others interested in advancing the profession.
                   •   The APhA, is dedicated to helping all pharmacists improve medication use and advance patient care.
                   •   The Association provides professional information and education for pharmacists and also an advocate
                       for improved health of the American public through the provision of comprehensive pharmaceutical care.
Vision             •   To be recognized in society as essential in all patient care settings for optimal medication use that
                       improves health, wellness, and quality of life.
Mission            •   To provide information, education, and advocacy to empower its members to improve medication use
                       and advance patient care.
Key Activities     •   Some of the key activities of APhA include:
                          Providing Continuing Education Programs
                          Information on Pharmacy Practice
                          Medication Therapy Management (MTM)
                          Drug News
                          Advocacy
                          Publication of journals, newsletters, magazines and books




  Source: About APhA, Vision & Mission
                                                                                                                               247
The APhA Case:
          has1:17-md-02804-DAP
               over 60,000 Doc members     and08/14/19
                                #: 2364-56 Filed: has presence      in #: 385410
                                                       249 of 279. PageID

the US only

Number of        •    The APhA has more than 60,000 members.
Members and      •    The APhA targets practicing pharmacists, pharmaceutical scientists, student pharmacists, pharmacy
Key Target            technicians, and others interested in advancing the profession.
Audience
                 •    All members choose one of these three Academies when they join APhA:
                           APhA Academy of Pharmacy Practice and Management (APhA–APPM)
                           APhA Academy of Pharmaceutical Research and Science (APhA–APRS)
                           APhA Academy of Student Pharmacists (APhA–ASP)
Geographic       US
Presence
Headquarters     1100 15th Street NW, Suite 400
                 Washington, DC 20005-1707
                 Phone: 1-800-237-APhA (2742)
                 (202) 628-4410
                 Fax: (202) 783-2351




 Source: About APha
                                                                                                                          248
Its major Case:
          levels    of membership
                1:17-md-02804-DAP         are pharmacist,
                                  Doc #: 2364-56 Filed: 08/14/19 250new
                                                                     of 279.      PageID #: 385411
practitioner, retired pharmacist and technician

                                                APhA Membership
The Levels of membership:
• Pharmacist – Memberships Fees: $235
• New Practitioner (2006 Graduate) – Memberships Fees: $192
• New Practitioner (2007 Graduate) – Memberships Fees: $144
• New Practitioner (2008 Graduate) – Memberships Fees: $79
• Federal/Uniformed Service Pharmacist – Memberships Fees: $117
• Spouse Pharmacist – Memberships Fees: $117
• Retired Pharmacist – Memberships Fees: $114
• Postgraduate/Resident – Memberships Fees: $79 (excludes $50 Annual Meeting coupon)
• Technician – Memberships Fees: $62
• Non-Pharmacist – Memberships Fees: $235 (no voting rights)




  Source: APhA Levels of Membership
                                                                                                     249
The APhA Case:
         members         are offered
               1:17-md-02804-DAP         Free Filed:
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Education, and in-depth certificate training programs

                                                   APhA Membership
APhA member benefits include:
• Medication Therapy Management (MTM) and Medicare Resources that Advance a members’ Practice: APhA's MTM
  and Medicare Resource Center provides comprehensive information on medication therapy management and Medicare
  Part D, as well as an exclusive members-only MTM e-community.
• Free Continued Education (CE) on a Multitude of Topics: More than 80 CE activities and in-depth certificate training
  programs are provided online, in print and live.
• Reliable Drug Information for members at Discounted Member Prices: The APhA publishes and distributes a variety
  of publications that provide up-to-date information and references to help a member’s practice succeed.
• APhA DrugInfoLine: Provides drug therapy developments for busy professionals.
• Access to News and Practice Developments: Provides subscription of Pharmacy Today newsletter and the Journal of
  the American Pharmacists Association to its members.
• Networking with Peers at APhA: Provides a platform to know about how all members from around the US manage their
  practices and come away with ideas to incorporate into a member’s practice by participating in any of the nine Academy
  Sections based on a APhA members practice.
• Valuable Member Discounts: APhA members receive special savings and features from affinity partners such as
  Healthcare Providers Service Organization (HPSO) for professional liability insurance (free to 4th year pharmacy student
  members), GEICO for automobile insurance, HERTZ car rentals, and VISA for credit cards.




  Source: APhA Member Benefits
                                                                                                                         250
                   Case: 1:17-md-02804-DAP Doc #: 2364-56 Filed: 08/14/19 252 of 279. PageID #: 385413

Key Partners/Sponsors

•    The APhA is able to provide its members with educational programs, networking forums, and a rewarding Annual Meeting
     through the generous support of the following companies:




    Source: APhA Supporters
                                                                                                                            251
The APhA Pain    ManagementDoc
           Case: 1:17-md-02804-DAP Partnership
                                    #: 2364-56 Filed: offers
                                                       08/14/19 legal,   clinical,
                                                                253 of 279. PageID #: 385414
business, and the patient's perspective of pain management

 Key Message: To provide continuing education for pharmacists on different aspects of pain management

 Pain Management Partnership
 • The APhA Pain management Partnership provides an Online Continued Education Center named as Pain Management
    Library which offers comprehensive information and interactive tools for the School of Pharmacy faculty member,
    preceptor, and practicing pharmacist on different aspects of pain management.
 • The resources featured in the library cover various integral domains of pain management: legal, clinical, business, and the
    patient's perspective.
 • The continuing education materials provided under various integral domains:
        Legal
                Controlled Substance Prescriptions and Pain Management: Striking a Balance - A Multimedia CE Program for
                  Pharmacists
                Pharmacists’ Responsibilities in Managing Opioids: 2005 Update
        Clinical
                Overcoming Race-Based Disparities in Pain Management
                Pharmacotherapy for Pain Management: New Treatment Approaches
                Medication Therapy Management Services: Pain Management Issues in the MTM Patient
                Palliative and End-of-Life Care
        Business
                Implementing Pain Management Services in Pharmacy Practice
 • The Platinum Level sponsors of the Pain Management Partnership is Purdue and the Silver Level sponsors are Alpharma
    Pharmaceuticals and Endo Pharmaceuticals.




   Source: Pain Management Partnership
                                                                                                                             252
The APhA Case:
         Annual      Meeting offers
               1:17-md-02804-DAP           education
                                 Doc #: 2364-56             and254training
                                                Filed: 08/14/19               for#: 385415
                                                                   of 279. PageID
pharmacy professionals

Key Message: To organize an annual meeting offering education and training for professionals on pharmacy

APhA Annual Meeting
• The APhA Annual Meeting and Exposition, an annual meeting organized by the APhA, offers the latest trends and best
  practices in pharmacy, and also a platform for sharing experiences and ideas with pharmacy professionals.
• The APhA 2009 Annual Meeting & Exposition will be held between April 3–6, 2009, at the Henry B. Gonzalez Convention
  Center in San Antonio.
• The APhA2009 meeting offers education and training for professionals from every facet of pharmacy.
• Programs offered at APhA2009:
      Selection from over 80 education sessions and an opportunity to earn more than 20 hours of continuing pharmacy
         education.
      Sessions to learn the latest about medication therapy management, self-care strategies, medication safety, new
         therapeutic entities, and more.
      Opportunity to participate in and attend the APhA House of Delegates.
      Gain knowledge and insights to aid patients better and advance pharmacist career.
      Network with APhA peers for learning about tools, techniques, and new prospects.
      Discover new products and services from more than 200 of the industry's leading manufacturers at the APhA
         Exposition.
      Explore potential new job opportunities by participating in the APhA Employment Exchange.




  Source: APhA 2009
                                                                                                                        253
Pharmacy Today,     its monthlyDoc
           Case: 1:17-md-02804-DAP newsmagazine,           features
                                    #: 2364-56 Filed: 08/14/19 255 of 279.coverage
                                                                           PageID #: 385416
of advances in medications, therapies, and patient care

  Key Message: To provide education on pharmacy trends through its journals, newsletters, magazines

  Journal of the American Pharmacists Association
  • The Journal of the American Pharmacists Association (JAPhA) is the official peer-reviewed journal of APhA.
  • It provides information on pharmaceutical care, drug therapy, diseases and other health issues, trends in pharmacy
     practice and therapeutics, informed opinion, and original research.
  Pharmacy Today
  • Pharmacy Today is the monthly newsmagazine of the APhA, features extensive coverage of advances in medications,
     therapies, and patient care.
  • The publication also tracks healthcare-related policy, legislation, and regulation.
  APhA DrugInfoLine
  • APhA DrugInfoLine is a monthly newsletter of interpreted drug and pharmacotherapeutic information designed to keep
     frontline pharmacists up-to-date on the latest trends in the biomedical literature.
  Student Pharmacist Magazine
  • Student Pharmacist Magazine is published bimonthly and is the premier publication that the US PharmD candidates rely on
     for information regarding their pharmacy career planning.
  • Student Pharmacist Magazine provides news and information that affects readers’ daily lives, including: career advice from
     practicing professionals, practice-setting profiles, student viewpoints on today’s hot issues, professionalism tips, political
     advocacy in action news, tools for improved pharmacist-patient communication, information on technological advances,
     and the latest from the APhA and APhA Academy of Student Pharmacists (APhA–ASP) chapters.
  Journal of Pharmaceutical Sciences
  • The Journal of Pharmaceutical Sciences (JPharmSci) focuses on two major questions of importance to pharmaceutical
     scientists:
          What are the physical and biological barriers that limit the access of drugs to their therapeutic targets and
          How can drugs, dosage forms, and delivery systems be designed to maximize therapeutic efficacy?



    Source: JAPhA, Pharmacy Today, APhA DrugInfoLine, Student Pharmacist Magazine, JPharmSci
                                                                                                                                  254
The APhA Case:
          foundation       is a not
               1:17-md-02804-DAP     for
                                 Doc #:    profit
                                        2364-56 Filed:organization
                                                       08/14/19 256 of 279.and
                                                                            PageID #: 385417
conducts research demonstration projects

Key Message: To create a foundation for improving the quality of consumer health outcomes that are affected by
pharmacy
APhA Foundation
• The APhA Foundation is a not for profit 501 (c)(3) organization headquartered in Washington, DC and is affiliated with the
  APhA
• The APhA Foundation provides innovative programs and projects that contribute to new information and fresh ideas for
  pharmacists to use in retooling their practices to satisfy the contemporary health needs of their patients.
• The mission of the foundation is to improve the quality of consumer health outcomes that are affected by pharmacy.
• The Foundation conducts research demonstration projects, such as its Project ImPACT, and other initiatives such as, the
  Patient Self Management Program, a project that aims to combat the effects that chronic diseases have on America's
  workforce.
• The Foundation also offers programs to pharmacists such as the Advanced Practice Institute, the National Clinical Issues
  Forum and the Incentive Grants for Practitioner Innovation in Pharmaceutical Care.
• These programs encourage pharmacists to advance their professional practice with further training to establish, market
  and provide patient care services within their practice setting.


Key Message: To create a service for patients which advices them on the safe and effective use of medications
Medication Therapy Management (MTM)
• MTM is a partnership between the pharmacist, the patient or their caregiver, and other health professionals that promotes
  the safe and effective use of medications and helps patients achieve the targeted outcomes from medication therapy.
• The MTM services provided by a pharmacist or other health professional gives several benefits to patients such as:
      A clear understanding of their medicines
      A thorough review of all their medicines
      A personal medication record
      A medication action plan



  Source: APhA Foundation, MTM
                                                                                                                               255
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                                                 Appendix
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                            The Neuropathy Association
The Neuropathy      Association
         Case: 1:17-md-02804-DAP Docworks
                                    #: 2364-56to  serve
                                               Filed:       the259peripheral
                                                      08/14/19     of 279. PageID #: 385420
neuropathy community

Overview             •   Headquartered in New York City, The Neuropathy Association is a public, non-profit organization serving
                         the peripheral neuropathy community.
                     •   It was established in 1995 by people with neuropathy and their families and friends, as well as experts
                         in the field, to help those who suffer from disorders that affect the peripheral nerves.
Mission              •   To help and heal people with neuropathy. It’s mission encompasses providing neuropathy awareness,
                         education, support, advocacy and research.
Key Objectives       •   Key objectives and activities of the association:
                             Awareness: Increase public awareness of the nature and extent of neuropathy.
                             Education: Educate the public and healthcare providers on the need for early intervention.
                             Support: Support patients by providing platforms for exchanging information and experiences.
                             Advocacy: Urge legislators, government agencies and medical providers to deliver proper
                               coverage, care and treatment for people with neuropathy.
                             Research:
                                   Support and fund research to find neuropathy’s causes, treatments and cures.
                                   Encourage government and private industry alike to increase the resources dedicated to
                                      conducting neuropathy research.
Key Activities       •   The association provides support and education, advocate’s for patients’ interests, and promotes
                         research into the causes of and cures for neuropathy.




  Source: Overview
                                                                                                                               258
The Association    has 50,000Doc
         Case: 1:17-md-02804-DAP active   members
                                  #: 2364-56              and
                                             Filed: 08/14/19 260 of 279.                    PageID #: 385421

supporters

Number of          •   The association has 50,000 active members and supporters, with approximately 120 support groups
Members And            throughout the US and abroad, providing public awareness, patient support, education and advocacy.
Key Target         •   The association targets professional, civic or religious organization’s, for The Neuropathy Association
Audience               Membership Program.
                            This program not only helps members stay informed about neuropathy but also helps the
                             association support its mission through financial contributions received from members. The
                             association's members are investors in the Association’s efforts to generate greater awareness
                             and understanding of peripheral neuropathy, provide patient support programs, and fight for a
                             cure.
Geographic         •   The association has presence throughout the US.
Presence           •   At present, the association has seven Neuropathy Centers at major university hospitals across the
                       country, serving patients with neuropathy by providing treatment and conducting research into the
                       causes and cure of neuropathy.
                   •   It also has 120 support groups in the US and abroad.
Headquarters       The Neuropathy Association, Inc.
                   60 East 42nd Street, Suite 942
                   New York, NY 10165




 Source: Overview; Partners; Membership Overview
                                                                                                                                 259
The Association     provides aDoc
          Case: 1:17-md-02804-DAP listing   of Filed:
                                     #: 2364-56 physicians       with
                                                      08/14/19 261 of 279. PageID #: 385422

expertise in caring for patients with peripheral neuropathy

                                Relationship with/Influence on Primary Care Physicians

Published an Article that Encouraged Patients to Visit Physicians for Treatment of Diabetic Neuropathy
• In 2008, an article titled ‘Preventing Diabetic Neuropathy’ in the Neuropathy Association’s website encourages patients with
  symptoms of diabetic neuropathy, to visit a primary care doctor, who will refer them to a neurologist for a neurological
  evaluation to see if they have neuropathy and, if yes, to confirm the cause.
• The article also encourages patients to work with their primary care physicians and nutritionists to develop a realistic diet
  for lowering blood glucose and minimizing large fluctuations in blood glucose.
• The article encourages patients to work with their primary care physician’s to control their diabetes and encourages them
  to consult their primary care doctor before they initiate an exercise regime.

The Association’s Website Provides a Listing of Physicians with Expertise in Caring for Patients with Peripheral
Neuropathy
• The association’s website also provides a listing of neurologists and other physicians in the US and abroad with expertise
   or expressed interest in caring for patients with peripheral neuropathy.
        This listing is provided by The Neuropathy Association as a service to its members who have difficulty in locating a
          physician in their area who is knowledgeable about peripheral neuropathy and neuropathy treatment options.




  Source: Physicians; Article
                                                                                                                                260
It supports patients
          Case:           by providing
                1:17-md-02804-DAP            platforms
                                  Doc #: 2364-56             for262
                                                 Filed: 08/14/19 exchanging
                                                                    of 279. PageID #: 385423

information and experiences

Key Message: The association supports patients by providing a platform to exchange ideas and information to raise
awareness of neuropathy and the need for improved medical care and research
Awareness and Support
• The Neuropathy Association has approximately 120 support groups across the US and abroad that meet on an ongoing
  basis. Support groups serve as a resource and an opportunity to raise awareness of neuropathy and the need for improved
  medical care and research.
      By bringing together members of the neuropathy community, support groups provide a critical resource for learning
         to live with neuropathy.
• The Bulletin Board on the company’s website provides an open forum where participants can meet and talk to one another
  about living with neuropathy.

Key Message: The association carries out initiatives to persuade legislators, medical providers, researchers, and the
general public, to deliver proper coverage, care and treatment for people with neuropathy
Advocacy, Research, and Education Initiatives
• An annual tax-deductible membership contribution of $35 or more annually enables the association to support research
  and expand its programs to help those affected by peripheral neuropathy.
• A strong membership base not only supports the association financially, but also gives it strength as a community at large.
      The membership numbers help it validate for legislators, commercial industry, researchers, and the general public
         alike how pervasive neuropathy is, the toll it is taking on the community as well as the healthcare system, and how
         important it is that this disease finally be recognized as a critical healthcare issue.
• The Neuropathy Association has 12 affiliate neuropathy centers at major university hospitals across the US. These centers
  serve patients by providing treatment, education, support and conduct research into the causes and cures for peripheral
  neuropathies.
• The association has an online store, ‘The Neuropathy Store’ where people can make purchases and the association
  receives a donation for every purchase made, which helps it to continue to fund research and education on peripheral
  neuropathy.

  Source: Initiatives; Support
                                                                                                                            261
The Neuropathy       Association
          Case: 1:17-md-02804-DAP Docfunds     research
                                      #: 2364-56              to 263
                                                 Filed: 08/14/19  find
                                                                     of 279.                  PageID #: 385424

causes, treatments and cures for neuropathy

Key Message: The association encourages and supports research into the causes of and treatments for neuropathy
with the goal of one day finding a cure
Specific Research Initiatives
• The Neuropathy Association encourages and supports research into the causes of and treatments for neuropathy with the
  goal of one day finding a cure.
       It provides annual research grants to promising researchers and projects that support its mission.
               Each year, The Neuropathy Association solicits research proposals into the causes of and treatments for
                  peripheral neuropathies. Up to two research grants, each for $ 40,000 per year for two years, are awarded.
       The association has seven Neuropathy Centers at major university hospitals across the US, serving patients with
          neuropathy by providing treatment and conducting research into the causes and cure of neuropathy.
       The association’s website has a section which provides information on clinical trials that are currently going on. The
          website also gives access to sources that provide information for research professionals and for patients looking to
          participate in clinical trials.
       Donors can also contribute to The Association’s Mary Ann Donovan Memorial Research Fund. Such gifts are used
          to support research to help find a cure.

Key Message: The association works to educate people with neuropathy, their families and care providers
Specific Education Initiatives
• The association’s members, receive newsletters such as Neuropathy News, Neuropathy E-news and a Explaining
  Peripheral Neuropathy booklet.
       Neuropathy News is a member newsletter published three times a year for people with neuropathy, their families
          and care providers. It features a number of articles and updates from the Association.
       Launched in August 2007, Neuropathy E-News is a free, monthly e-newsletter that is available to the associations
          members and to its online visitors interested in receiving alerts about neuropathy and tips for living with neuropathy.




  Source: Initiatives; Research
                                                                                                                                    262
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                             American Headache Society
The American      Headache Society’s
           Case: 1:17-md-02804-DAP             goal
                                   Doc #: 2364-56 Filed:is08/14/19
                                                           to improve
                                                                   265 of 279.the
                                                                               PageID #: 385426

lives of headache sufferers

Overview                •   Founded in 1959, American Headache Society (AHS) is a professional society of healthcare
                            providers dedicated to the study and treatment of headache and face pain.
                        •   AHS brings together physicians and other health providers from different fields and specialties to
                            share concepts and developments about headache and related conditions.
Mission                 •   To improve the lives of headache sufferers
Key Objective           •   The objectives of AHS are to:
                                Develop effective methods to reach and train primary care physicians as well as specialists
                                   interested in the field of headache.
                                Raise awareness and support of headache diagnosis and treatment among headache
                                   sufferers, their families, managed care organizations, etc.
                                Garner increased support for research in headache – from medical schools, the National
                                   Institutes of Health, industry, clinical departments and private sources.
                                Develop relationships with key governmental, business and healthcare agencies and
                                   officials to communicate the economic, political, and human importance of headache.
                        •   The educational objectives of AHS are to continue to improve the knowledge, skills and
                            professional performance of physicians, psychologists and other health professionals involved with
                            patients with head, neck and orofacial pain .




 Source: About American Headache Society
                                                                                                                                 264
The AHS targets     healthcareDocprofessionals
         Case: 1:17-md-02804-DAP                      as well
                                  #: 2364-56 Filed: 08/14/19 266 ofas
                                                                    279.                     PageID #: 385427

patients

Key Activities           •   Annual scientific meeting
                         •   Comprehensive postgraduate symposia and workshops
                         •   Headache: The Journal of Head and Face Pain, the official, peer-reviewed journal of AHS,
                             published ten times each year
                         •   Headache Currents, featuring scientific and clinical reviews in the field of headache medicine and
                             co-published with the International Headache Society six times each year
                         •   Scientific research
                         •   Socioeconomic research to measure the impact of headache as it affects headache patients and
                             physicians
Key Target               •   Headache sufferers
Audience                 •   Healthcare professionals
Number of                •   Over 1,500 healthcare professionals with backgrounds as diverse as the hospitals, universities,
Members                      clinics and practices they represent from around the world
Geographic               US and other parts of the world
Presence
Contact Address          19 Mantua Road
                         Mount Royal, NJ 08061




  Source: About American Headache Society
                                                                                                                                  265
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Key Partners/Sponsors

      Key Partners/Sponsors                                                    Description
GlaxoSmithKline                            •   GlaxoSmithKline is one of the leading research-based pharmaceutical and
                                               healthcare companies.




Ortho-McNeil Pharmaceutical, Inc.          •   Ortho-McNeil, Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc, is a
                                               healthcare company that focuses on areas such as pain management, acid reflux
                                               disease and infectious diseases.



Pfizer, Inc.                               •   Pfizer is the leading research-based biomedical and pharmaceutical company.
                                           •   The company discovers, develops, manufactures and delivers quality, safe and
                                               effective prescription medicines for patients.



Merck & Co., Inc.                          •   Merck & Co., Inc,. with corporate headquarters in Whitehouse Station, NJ (US), is
                                               a leading research-driven pharmaceutical products and services company.
                                           •   Merck discovers, develops, manufactures, and markets a broad range of innovative
                                               products to improve human and animal health.




  Source: AHS Sponsors, GSK, Ortho-McNeil, Pfizer, Merck & Co.
                                                                                                                               266
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Key Partners/Sponsors

      Key Partners/Sponsors                                                      Description
Endo Pharmaceuticals                       •   Endo Pharmaceuticals Inc. is a specialty pharmaceutical company with a broad
                                               portfolio of branded and generic prescription products focused on providing relief
                                               from pain.


Allergan, Inc.                             •   Allergan, Inc. is a multi-specialty healthcare company focused on discovering,
                                               developing and commercializing innovative pharmaceuticals, biologics and medical
                                               devices.




  Source: AHS Sponsors, Endo Pharmaceuticals, Allergan
                                                                                                                                    267
The AHS conducts       educational
          Case: 1:17-md-02804-DAP Doc #: and
                                         2364-56research      activities
                                                 Filed: 08/14/19 269 of 279. PageID #: 385430
targeted at physicians

                               Relationship with/Influence on Primary Care Physicians (PCPs)

AHS Conducts Several Activities Targeted at Physicians
• The provision of quality CME is a primary mission of the AHS and its educational objectives are to continue to improve the
  knowledge, skills and professional performance health professionals, including physicians.
• AHS conducts socioeconomic research to measure the impact of headache, as it affects headache patients and
  physicians.
• AHS also conducts regional symposia’s for family practice physicians.




  Source: CME Mission, Symposia’s
                                                                                                                               268
The AHS conducts       several activities
          Case: 1:17-md-02804-DAP Doc #: 2364-56 to  promote
                                                 Filed:            scientific
                                                        08/14/19 270 of 279. PageID #: 385431
research related to head pain

Key Message: AHS encourages scientific research in the study of headache
Research Initiatives
• In the research section of its website, AHS provides clinical trial information and funding opportunities currently available for research
   projects.
• Each year AHS also offers awards:
      AHS offers two fellowship awards:
            AHS/Merck US Human Health Headache Specialty Fellowship Award: This is a $55,000 fellowship to support the recipient
              during a 12-month period, offered in honor of the UCNS Headache Medicine subspecialty.
            AHS/Merck US Human Health Clinical Fellowship Award: This is a $20,000 fellowship to support the recipient during a 12-
              month period to obtain advanced clinical training in all aspects of headache diagnosis, management, and prevention and to
              pursue clinical research participation.
      Harold G. Wolff Lecture Award: The AHS is also offering the 2009 Harold G. Wolff Lecture Award. This award is for the best
        paper on headache, head or face pain, or the nature of pain itself.
           The recipient of this award will receive $10,000 plus complimentary meeting registration and expenses for travel, hotel
              accommodations and meals for the 14th International Headache Congress to be held, September 10, 2009 to Sunday,
              September 13, 2009. The recipient will be invited to present the paper at this meeting.
      Scholarships: There are five scholarship opportunities available for the 14th International Headache Congress. Critieria for
        selection are based on the:
            Quality of the research proposal.
            Potential for the proposal, study or thesis to contribute to the advancement of knowledge and future research in the field of
              headache medicine.
      Research Awards:
           The American Headache Society and the Migraine Research Foundation will give the Thomas E. Heftler Migraine
              Research Award in April 2009. The $10,000 award will recognize the most innovative research proposal in migraine by a
              neurology resident or headache medicine fellow in an accredited program. Both clinical and basic science proposals will be
              considered. Reviewers will look for innovation, impact, and importance to the field of migraine research.
           2009 AHS/Merck US Human Health Migraine and Women's Health Junior Investigators' Research Award - This one-
              year $20,000 award is for the best proposal for basic or clinical research on the relationship between women's health
              issues and migraine.


  Source: AHS Awards; Harold; Scholarship; Research Award; Merck US; Research
                                                                                                                                          269
It develops  educational
          Case:                activities
                1:17-md-02804-DAP            to Filed:
                                  Doc #: 2364-56 improve
                                                       08/14/19the  quality
                                                                271 of          of#: 385432
                                                                       279. PageID
care for patients suffering from pain

Key Message: The AHS develops educational activities and tools that are designed to improve the quality of care
professionals give to individuals suffering from head, neck and orofacial pain
Professional Education Initiatives
• AHS has committees including AHS Committee for Headache Education (ACHE), Education Committee, Medical
   Economics Committee, Medical School Education Committee, and Strategic Planning Committee.
      In 1990, the Society formed the American Council for Headache Education (ACHE), a partnership between patients
        and healthcare professionals devoted to enhancing public understanding of this widespread and underestimated
        illness. ACHE is now known as the AHS Committee for Headache Education.
• AHS also has Special Interest Sections. Members of the American Headache Society may petition the Board of Directors
   for approval of Special Interest Sections. The objectives and programs of a Section must enhance the scientific,
   educational or patient care goals of the AHS. Some Special interest Sections are Behavioral Issues; Complementary &
   Alternative Medicine; Diagnosis and Classification; Inpatient Headache.
• The AHS website has a “Professional Resources” section that provides:
      Professional Resources/Headache Information for Clinicians
      Practice Parameters, Guidelines and Classification of Headache
      Educational Resources
            Brainstorm Reference Guide – This resource guide includes information about Prevalence and Impact of
              Migraine, Migraine Mechanisms, History, Physical and Diagnosis, and Migraine Management.
            Neurology Ambassador Program – The ability to diagnose and treat headache effectively is a clinical imperative.
              The Neurology Ambassador Program has been developed by the American Headache Society to provide the
              cutting-edge knowledge needed to manage these patients.
            AHS Headache Profiles – It is a newsletter-style publication that presents a detailed vignette. Each issue is
              accompanied by brief articles addressing the issues raised in each case.
      Patient Education
            ACHE Slide Kit: Migraine and You - This r teaching workshop provides an interactive forum for healthcare
              providers.
• AHS publications include Headache: The Journal of Head and Face Pain as well as Headache CME –
      The AHS offers journal-based, online Continuing Medical Education (CME) program as a free feature to all readers.

  Source: Education Committee; Committee; Special Interest Sections; Professional Resources; Publications
                                                                                                                               270
The Society attempts
         Case:             to increase
               1:17-md-02804-DAP            patient
                                 Doc #: 2364-56         knowledge
                                                Filed: 08/14/19 272 of 279.of
                                                                            PageID #: 385433

headache through its educational initiatives

Key Message: AHS supports and conducts educational programs directed at people with head, neck and orofacial
pain
Patient and Public Education Initiatives
• AHS provides news, articles, books, the ACHE 2009 Newsletter, and videos targeted at patients and the public.
• It also provides tools for healthcare professionals and their patients:
      Headache Diaries
      MIDAS Test
      PedMIDAS Headache Tool
      Trigger Avoidance Information
      School Nurse Instruction Form
      Patient Information and Instruction Form
• It also provides resources such as healthcare provider information and links to other websites such as
      Medical Information Websites
      Physician Headache Organizations
      Patient and Physician Organizations and Support Websites
      Clinical Trials for Headache and Migraine




  Source: Resources; Patient Initiatives
                                                                                                                  271
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                   American Academy of Orofacial Pain
The American     Academy of Orofacial
          Case: 1:17-md-02804-DAP Doc #: 2364-56 Pain    is dedicated
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alleviating orofacial pain and associated disorders

Overview             •   The American Academy of Orofacial Pain (AAOP) was founded in 1975 with the goal to improve the
                         understanding and quality of education in temporomandibular disorders (TMDs) and orofacial pain.
                             The basic objectives of the Academy were to improve the knowledge of those interested in
                               temporomandibular disorders and orofacial pain by increased communication and exchange of
                               scientific information as well as to stimulate the profession towards greater awareness of these
                               disorders and their treatment.
Mission              •   The AAOP, an organization of healthcare professionals, is dedicated to alleviating pain and suffering
                         through the promotion of excellence in education, research and patient care in the field of orofacial
                         pain and associated disorders.
Key Activities       •   The academy’s key activities include research, education, and patient care in the field of orofacial
                         pain and associated disorders.
Number of            •   Approximately 400 members in the US and over 1000 members worldwide.
Members And                 75% of its members are in private practice setting
Key Target                  75-100% of private practitioners devote their practice to the management of orofacial pain
Audience
                            25% of educators are based in universities and teaching hospitals
Geographic           •   The academy has an international presence.
Presence
Headquarters         19 Manuta Road
                     Mt. Royal, NJ 08061




  Source: Academy Overview; Academy
                                                                                                                                 273
The key objective    of the AAOP
           Case: 1:17-md-02804-DAP Docis  to increase
                                       #: 2364-56            awareness
                                                  Filed: 08/14/19             and #: 385436
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knowledge of temporomandibular disorders and orofacial pain

  Key Objectives         •   To establish acceptable criteria for the diagnosis and treatment of orofacial pain and
                             temporomandibular disorders
                         •   To stress the significant incidence of orofacial pain problems for both medical and dental professions
                         •   To provide a base for annual meetings for the dissemination of research and treatment for orofacial
                             pain and temporomandibular disorders
                         •   To support the Journal of Orofacial Pain stressing research and current studies on orofacial pain and
                             temporomandibular disorders
                         •   To encourage and stress the study of orofacial pain and temporomandibular disorders at
                             undergraduate and postgraduate levels of dental education
                         •   To provide a common meeting ground for worldwide authorities on orofacial pain and
                             temporomandibular disorders
                         •   To encourage hospitals and dental schools to establish centers for treatment of orofacial pain and
                             temporomandibular disorders
                         •   To encourage research and evaluation of equipment and procedures
                         •   To publish guidelines for practice standards, treatment and research directions for third party
                             involvement
                         •   To organize a speaker's bureau for the purpose of disseminating pertinent information on orofacial
                             pain and temporomandibular disorders to other health professionals




    Source: Foundation Overview;
                                                                                                                                      274
The AAOPCase:
          targets    dentists,Doc
              1:17-md-02804-DAP physicians,
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                                                    08/14/19healthcare
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professionals, and researchers and students for membership

                                                 Membership Criteria and Benefits
AAOP            •      Active Member: Active membership is open to all dentists who have an interest in the treatment of
Membership             temporomandibular disorders and orofacial pain. Active members are licensed dentists (DMD or DDS) who
Categories             are permanent residents of the US, Canada, or Mexico or are members of one of AAOP Sister Academies
                       and meet the membership criteria.
                •      Physician Affiliate Member: Physician affiliate members shall be licensed physicians (MD or DO) who are
                       permanent residents of Canada, Mexico, or the US or a member in good standing of one of the Sister
                       Academies and meet membership criteria.
                •      Affiliate Member: Affiliate members are non-dentist and non-physician allied healthcare professionals or
                       researchers who are permanent residents of Canada, Mexico, or the US or an affiliate member in good
                       standing of one of the Sister Academies.
                •      Student/Initiatory Member: Student/Initiatory members are one of the following:
                           A current full-time participant in a dental post-graduate program in good academic standing
                           A full-time undergraduate dental student
                           A current participant in an accredited post-doctoral orofacial pain residency program
Benefits of     •      Subscription to the Journal of Orofacial Pain
AAOP            •      Orofacial Guidelines, and AAOP News
Membership      •      Scientific knowledge from annual meetings
                •      Access to an on-line directory of all AAOP members
                •      Networking with other distinguished national and international leaders
                •      Opportunities for participation in leadership roles with the Academy
                •      The right to vote for Academy officers and on important policy decisions
                •      Services including patient referrals, patient brochures, forms, slide presentations, website listing, and
                       guidelines



  Source: Membership
                                                                                                                                   275
The AAOPCase:
          provides     details Doc
              1:17-md-02804-DAP of #:conferences        targeted
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at primary care clinicians on its website

                           Relationship with/Influence on Primary Care Physicians

AAOP Targets Physicians for Membership and Also Provides Details of Conferences Targeted at Primary Care
  Clinicians on its Website
• AAOP also targets physician’s for membership.
• In the "Meetings“ section of the website, AAOP has a monthly list of orofacial pain / TMD meetings that are offered locally,
  nationally, and internationally. This section also includes details of conferences targeted at primary care physicians.
       For example, a conference titled, ‘War on Pain Conference’ is being held during April 5-8, 2009, in the US. The
           conference provides an update of pain & palliative medicines for specialists and primary care clinicians.




  Source: Conference
                                                                                                                                 276
The AAOPCase:
          is dedicated      to alleviating
              1:17-md-02804-DAP                pain08/14/19
                                Doc #: 2364-56 Filed: and suffering
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through its educational initiatives

Key Message: AAOP promotes education and patient care in the field of orofacial pain and associated disorders

Education Initiatives Targeted at Patients
• The Academy provides information on specific pain types, their diagnosis and treatments, targeted at patients. These
   include the TMD brochure; neuropathic orofacial pain brochure; headaches brochure; toothaches of non-dental origin
   brochure; and snoring and sleep apnea brochure.
• It also provides a database of AAOP members on its website.
• This website also provides a link to the TMJ and Orofacial Pain Society (TOPS) of America, an advocacy group in the US
   for those who suffer from "TMD" - temporomandibular (joint) disorders.
        The "not-for-profit" TOPS America promotes physical and emotional healing through their efforts in the following
          areas: exchange of experiences, education within both the public and business sectors, public awareness of issues
          surrounding the treatment and recognition of the disorder, legislation to ensure effective policy coverage and
          treatment options for patients, and participation with national "consumer rights" coalitions for the betterment of care.
Other Education and Patient Care Initiatives
• The Physical Therapy Board of Craniofacial and Cervical Therapeutics (PTBCCT) was founded in 1999 by an international
   group of physical therapists, many of whom are members of AAOP, to provide an ongoing educational venue within the
   academy and assist the profession in the disbursement of evidenced-based practice and research.
        The ultimate goal is to improve the delivery of patient care in this specialty area.
        The PTBCCT offers annual certification examinations to physical therapists that meet specific eligibility
          requirements.
• The AAOP’s Newsletter, available on its website, also includes news (publications, appointments, retirements, and honors)
   about its members.
• The AAOP website provides links to other associations and organizations that deal with orofacial pain such as:
        The American College of Prosthodontists
        American Board of Orofacial Pain
        American Pain Society's Decade of Pain Control and Research
• Its website also provides information on the orofacial pain programs available at various universities in the US.


  Source: Initiatives; Education; Pain Program
                                                                                                                                 277
The Academy     offers research
          Case: 1:17-md-02804-DAP     grants
                                  Doc #:         and08/14/19
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studies on orofacial pain

Key Message: The Academy supports research on orofacial pain and temporomandibular disorders

Research Initiatives
• The AAOP also publishes research data in its various publications. Its publications include:
      Journal of Orofacial Pain available through Quintessence Publishing
      Orofacial Pain: Guidelines for Assessment, Diagnosis, and Management
      Orofacial Pain Study Guide
• The Journal of Orofacial Pain stresses research and current studies on orofacial pain and temporomandibular disorders
• The AAOP’s annual meetings provide a base for the dissemination of research and treatment for orofacial pain and
  temporomandibular disorders. The 33rd Scientific Meeting of the AAOP was held during March 5-8, 2009 in Texas, US.
• The academy also offers research funding grants.




  Source: Research Initiatives; Research
                                                                                                                          278
